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                         UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF OREGON

 In re:                                         Bankruptcy Case Nos.:

    15005 NW Cornell LLC; and                   19-31883-dwh11 (Lead Case)
    Vahan M. Dinihanian, Jr.,                   19-31886-dwh11

                         Debtors.               Jointly Administered Under
                                                Case No. 19-31883-dwh11

                                                FIRSTSECOND AMENDED
                                                DEBTORS’ JOINT DISCLOSURE
                                                STATEMENT DATED OCTOBER
                                                13JULY 22, 20202021




       FIRSTSECOND AMENDED DEBTORS’ JOINT DISCLOSURE                         MOTSCHENBACHER & BLATTNER LLP
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        I.       INTRODUCTION AND SUMMARY

                 A.     INTRODUCTION

                 On May 21, 2019, 15005 NW Cornell LLC (“NW Cornell”) and Vahan M. Dinihanian, Jr.

        (“Dinihanian”), filed separate voluntary petitions under Chapter 11 of Title 11 of the United States

        Bankruptcy Code (the “Bankruptcy Code”). On October 18July 13, 2019, NW Cornell and

        Dinihanian (collectively, the “Debtors”) filed this Second Amended Disclosure Statement (the

        “Disclosure Statement”) with the U.S. Bankruptcy Court for the District of Oregon (the

        “Bankruptcy Court”) and their Second Amended Joint Plan of Reorganization (the “Plan”). A
        copy of theThe Plan is attached hereto as Exhibit 1.

                 This Disclosure Statement is being provided to you by Debtors to enable you to make an

        informed judgment about the Plan. This Disclosure Statement has been prepared to disclose

        information that in Debtors’ opinion is material, important, and helpful to evaluate the Plan.

        Among other things, this Disclosure Statement describes the manner in which Claims and Equity

        Securities will be treated. This Disclosure Statement summarizes the Plan, explains how the Plan

        will be implemented, outlines the risks of and alternatives to the Plan, and outlines the procedures

        involved in confirmation of the Plan. The description of the Plan contained in this Disclosure

        Statement is intended as a summary only and is qualified in its entirety by reference to the Plan

        itself. If any inconsistency exists between the Plan and this Disclosure Statement, the terms of the

        Plan shall control. You are urged to review the Plan and, if applicable, consult with your own

        counsel about the Plan and its impact on your legal rights before voting on the Plan.

                 Capitalized terms used but not defined in this Disclosure Statement shall have the

        meanings assigned to such terms in the Plan or the Bankruptcy Code. Factual information

        contained in this Disclosure Statement is the representation of Debtors only and not of their

        attorneys, consultants, or accountants. The information has been obtained from the books and

        records of Debtors as well as other sources deemed reliable. Debtors have prepared the

        information contained herein in good faith, based on information available to Debtors. The

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        information herein has not been subject to a verified audit. No representation concerning Debtors

        or the Plan is authorized by Debtors other than as set forth in this Disclosure Statement.

                 The statements contained in this Disclosure Statement are made as of the date hereof,

        unless another time is specified herein, and the delivery of this Disclosure Statement shall not

        imply that there has been no change in the facts set forth herein since the date of this Disclosure

        Statement and the date the material relied on in preparation of this Disclosure Statement was

        compiled.

                 This Disclosure Statement may not be relied on for any purpose other than to determine
        how to vote on the Plan. Nothing contained herein shall constitute an admission of any fact or

        liability by any party or be admissible in any proceeding involving Debtors or any other party or be

        deemed advice on the tax or other legal effects of the Plan on the holders of Claims or Equity

        Securities.

                 This Disclosure Statement has been approved by Order of the Bankruptcy Court (the

        “Order”) as containing information of a kind and in sufficient detail to enable a hypothetical

        reasonable investor typical of holders of Claims or Interests of the relevant classes to make an

        informed judgment concerning the Plan. The Bankruptcy Court’s approval of this Disclosure

        Statement, however, does not constitute a recommendation by the Bankruptcy Court either for or

        against the Plan.

                 The Bankruptcy Court has scheduled a hearing on confirmation of the Plan to commence

        on _______________, 2020 at _____ Pacificat the time. That hearing will be held at the U.S.

        Bankruptcy Court for the District of Oregon, 1050 SW 6th Ave., 7th Floor, Courtroom 3, Portland,

        Oregon 97204, before the Honorable David W. Hercher and place set forth in the Order. The

        hearing on confirmation may be adjourned from time to time by the Bankruptcy Court without

        further notice except for an announcement made at the hearing on any adjournment thereof.

                 A ballot has been enclosed with this Disclosure Statement for use in voting on the Plan. In

        order to be tabulated for purposes of determining whether the Plan has been accepted or rejected,

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        ballots must be received at the address indicated on the ballot no later than 4:00 p.m. on ________,

        2020the ballot deadline set forth in the Order. Debtors believe that confirmation of the Plan is in

        the best interests of the holders of Claims and urge you to accept the Plan.

                 This Disclosure Statement contains financial information and estimates that demonstrate

        the feasibility of the Plan of Reorganization and Debtors’ ability to complete the steps envisioned

        by the Plan and the Plan Loan upon emergence from Bankruptcy. Debtors prepared such

        information for the limited purpose of furnishing information to Creditors to allow them to make

        an informed judgment regarding acceptance of the Plan of Reorganization. The estimates of value
        should not be regarded for the purpose of this Disclosure Statement as representations or

        warranties by Debtors as to the accuracy of such information or that any such projections or

        valuations will be realized. Actual values could vary significantly from these projections.

                 B.     SUMMARY OF THE PLAN

                 A copy of the Plan is attached and discussed in detail later in this Disclosure Statement.

        The following description of the Plan is intended as a summary only and is qualified in its entirety

        by reference to the Plan. Debtors urge each holder of a Claim to carefully review the entire Plan,

        together with this Disclosure Statement, before voting on the Plan.

                        1.      General

                 Generally, the Plan provides that Debtors will operate in the ordinary course and will

        obtain financing to pay and satisfy their obligations in full.

                        2.      Secured Creditors

                 Reorganized Dinihanian’s secured Creditor, Columbia State Bank (“Columbia”), will be

        paid the full amount of its Allowed Secured Claims in accordance with the existing terms of its

        loans to Dinihanian, except as modified under the Plan with respect to certain loan terms and

        covenants set forth in the Plan.




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                 Reorganized Dinihanian’s secured Creditor, Tasha Teherani-Ami, will be paid on the

        Effective Date the full amount of her Allowed Secured Claim with interest as stated in the Divorce

        Judgment and actual costs and reasonable attorney fees.

                 Dinihanian executed one or more trust deeds encumbering the Skyline Property in favor

        prepetition counsel Bateman Seidel and Daniel Lorenz in the face amount of $250,000 as security

        for legal fees advanced by such counsel.

                        3.       General Unsecured Creditors

                 All General Unsecured Creditors will be paid in full, together with interest at the federal
        judgment rate in effect on the Effective Date, from and after the Effective Date, not later than six

        months after the Effective Date.

                        4.       Equity Interests

                 The Plan provides that existing equity interests in NW Cornell, including that of the Sonja

        Dinihanian GST Trust DTS 1/1/11 (the “Trust”), will be left in place. The Plan provides that

        Dinihanian will retain his interests in assets of his bankruptcy estate. Depending on the outcome

        of certain adversary proceedings and claim objections described in Section V below, the Trust may

        forfeit its equity interest in favor of other relief.

                        5.       Leases and Executory Contracts

                 All unexpired leases and executory contracts will be assumed by the respective Debtors

        through the Plan unless such unexpired leases and executory contracts have previously been

        assumed and assigned or rejected, or a motion seeking their assumption or rejection has been Filed

        before the Confirmation Date. Debtors are not aware of significant cure amounts associated with

        any of the executory contracts to be assumed.

                        6.       Effective Date

                 The Effective Date of the Plan shall be the later of (a) the eleventh day following entry of

        the Confirmation Order and (b) the first business day following the entry of an order by the

        Bankruptcy Court establishing the reasonable attorney fees and costs for the Class 1 Claim.

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                        7.      Cramdown Election

                 In the event any Class does not accept the Plan, Debtors reserve the right to request that the

        Bankruptcy Court confirm the Plan in accordance with Section 1129(b) of the Bankruptcy Code or

        otherwise modify the Plan.

                 C.     BRIEF EXPLANATION OF CHAPTER 11

                 Chapter 11 is the principal reorganization provision of the Bankruptcy Code. Pursuant to

        Chapter 11, a debtor attempts to reorganize its business for the benefit of Debtor, its creditors, and

        other parties in interest.
                 The formulation and confirmation of a plan of reorganization is the principal purpose of a

        Chapter 11 case. A plan of reorganization sets forth the method for compensating the holders of

        claims and interests in a debtor. If a plan is confirmed by the Bankruptcy Court, it will be binding

        on a debtors, its creditors, and all other parties in interest. A claim or interest is impaired under a

        plan of reorganization if the plan provides that the legal, equitable, or contractual rights of the

        holder of such claim or interest are altered. A holder of an impaired claim or interest is entitled to

        vote to accept or reject the plan. Chapter 11 does not require all holders of claims and interests to

        vote in favor of a plan in order for the Bankruptcy Court to confirm it. However, the Bankruptcy

        Court must find that the plan meets a number of statutory tests before it may approve the plan.

        These tests are designed to protect the interests of holders of claims or interests who do not vote to

        accept the plan, but who will nonetheless be bound by the plan’s provisions if it is confirmed by

        the Bankruptcy Court.

                 An Unsecured Creditors’ Committee was not appointed by the U.S. Trustee’s office in this

        case pursuant to 11 U.S.C. §§ 1102(a) and (b).

        II.      VOTING PROCEDURES AND CONFIRMATION OF PLAN

                 A.     BALLOTS AND VOTING DEADLINE

                 A ballot to be used for voting to accept or reject the Plan is enclosed with each copy of this

        Disclosure Statement. After carefully reviewing this Disclosure Statement and its exhibits,

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        including the Plan, please indicate your acceptance or rejection of the Plan by voting in favor or

        against the Plan on the enclosed ballot as directed below.

                 The Bankruptcy Court has directed that, to be counted for voting purposes, ballots for the

        acceptance or rejection of the Plan must be received by Debtors no later than 4:00 p.m. Pacificthe

        time on _______, 2020and date set forth in the Order accompanying this Disclosure Statement at

        the following address:

                                 Motschenbacher & Blattner LLP
                                 Attention: Nicholas J. Henderson
                                 117 SW Taylor Street, Suite 300
                                 Portland, OR 97204-2099
        or via facsimile transmission to Nicholas J. Henderson at (503) 417-0528.

                 Holders of each Claim scheduled by Debtors or for which a Proof of Claim has been Filed

        will receive ballots and are permitted to vote based on the amount of the Proof of Claim, except as

        discussed below. If no Proof of Claim has been Filed, then the vote will be based on the amount

        scheduled by Debtors in their Schedules. The Bankruptcy Code provides that such votes will be

        counted unless the Claim has been disputed, disallowed, disqualified, or suspended prior to

        computation of the vote on the Plan. A Claim to which an objection has been Filed is not allowed

        to vote unless and until the Bankruptcy Court rules on the objection. Holders of disputed Claims

        who have settled their dispute with Debtors are entitled to vote the settled amount of their Claim.

        The Bankruptcy Code and rules provide that the Bankruptcy Court may, if timely requested to do

        so by the holder of such Claim, estimate or temporarily allow a disputed Claim for the purposes of

        voting on the Plan.

                 If a person holds Claims in more than one Class entitled to vote on the Plan, such person

        will be entitled to complete and return a ballot for each Class. If you do not receive a ballot or if a

        ballot is damaged or lost, please contact:

                          Motschenbacher & Blattner LLP
                          Attention: Nicholas Henderson
                          117 SW Taylor Street, Suite 300
                          Portland, OR 97204-2099
                          (503) 417-0508
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                 All persons entitled to vote on the Plan may cast their vote for or against the Plan by

        completing, dating, and signing the enclosed ballot and returning it, by First Class mail or hand

        delivery, to Debtors at the address indicated above. In order to be counted, all ballots must be

        executed and received at the above address no later than 4:00 p.m. Pacificthe time on _______,

        2020set forth in the Order. Any ballots received after 4:00 p.m. Pacific time on _____, 2020the

        deadline set forth in the Order will not be included in any calculation to determine whether the

        parties entitled to vote on the Plan have voted to accept or reject the Plan.

                 Ballots may also be received by Debtors by facsimile transmission to Motschenbacher &
        Blattner LLP, Attention: Nicholas J. Henderson, at (503) 417-0501. Ballots sent by facsimile

        transmission will be counted if faxed to Mr. Henderson and received by 4:00 p.m. Pacific time on

        _______, 2020the deadline set forth in the Order.

                 When a ballot is signed and returned without further instruction regarding acceptance or

        rejection of the Plan, the signed ballot shall be counted as a vote accepting the Plan. When a ballot

        is returned indicating acceptance or rejection of the Plan but is unsigned, the unsigned ballot will

        not be included in any calculation to determine whether parties entitled to vote on the Plan have

        voted to accept or reject the Plan. When a ballot is returned without indicating the amount of the

        Claim or an amount different from a timely Filed Proof of Claim, then the amount shall be as set

        forth on Debtor’s Schedules or any timely Proof of Claim Filed with respect to such Claim or

        Order of the Bankruptcy Court.

                 B.     PARTIES ENTITLED TO VOTE

                 Pursuant to Section 1126 of the Bankruptcy Code, each Class of impaired Claims or Equity

        Security Holders that is not deemed to reject the Plan is entitled to vote to accept or reject the Plan.

        Any holder of an Allowed Claim that is in an impaired Class under the Plan, and whose Class is not

        deemed to reject the Plan, is entitled to vote. A Class is “impaired” unless the legal, equitable, and

        contractual rights of the holders of Claims in that Class are left unaltered by the Plan or if the Plan

        reinstates the Claims held by members of such Class by (a) curing any defaults; (b) reinstating the

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        maturity of such Claim; (c) compensating the holder of such Claim for damages that result from

        the reasonable reliance on any contractual provision or law that allows acceleration of such Claim;

        and (d) otherwise leaving unaltered any legal, equitable, or contractual right of which the Claim

        entitles the holder of such Claim. Because of their favorable treatment, Classes that are not

        impaired are conclusively presumed to accept the Plan. Accordingly, it is not necessary to solicit

        votes from the holders of Claims in Classes that are not impaired. Classes of Claims or Interests

        that will not receive or retain any money or property under a Plan on account of such Claims or

        Interests are deemed, as a matter of law under Section 1126(g) of the Bankruptcy Code, to have
        rejected the Plan and are likewise not entitled to vote on the Plan. All Classes of Claims are

        impaired under Debtor’s Plan except the Class 1 and Class 5 Claims of secured Creditor Tasha

        Teherani-Ami.

                 C.     VOTES REQUIRED FOR CLASS ACCEPTANCE OF THE PLAN

                 As a condition to confirmation, the Bankruptcy Code requires that each impaired Class of

        Claims or Interests accept the Plan, subject to the exceptions described below in the section

        entitled “Cramdown of the Plan.” In a “Cramdown,” at least one impaired Class of Claims must

        accept the Plan in order for the Plan to be confirmed.

                 For a Class of Claims to accept the Plan, Section 1126 of the Bankruptcy Code requires

        acceptance by Creditors that hold at least two-thirds in dollar amount and a majority in number of

        the Allowed Claims of such Class, in both cases counting only those Claims actually voting to

        accept or reject the Plan. The holders of Claims who fail to vote are not counted as either accepting

        or rejecting the Plan. If the Plan is confirmed, the Plan will be binding with respect to all holders of

        Claims and Interests in each Class, including Classes and members of Classes that did not vote or

        that voted to reject the Plan.

                 D.     “CRAMDOWN” OF THE PLAN

                 If the Plan is not accepted by all of the impaired Classes of Claims and Interests of Debtors,

        the Plan may still be confirmed by the Bankruptcy Court pursuant to Section 1129(b) of the

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        Bankruptcy Code’s “Cramdown” provision if the Plan has been accepted by at least one Impaired

        Class of Claims, without counting the acceptances of any Insiders of Debtor, and the Bankruptcy

        Court determines, among other things, that the Plan “does not discriminate unfairly” and is “fair

        and equitable” with respect to each non-accepting impaired Class of Claims or Interests. Debtors

        believe the Plan can be confirmed even if it is not accepted by all impaired Classes of Claims and

        hereby request the Bankruptcy Court to confirm the Plan in accordance with Section 1129(6) of the

        Bankruptcy Code or otherwise modify the Plan in the event any Class of Creditors does not accept

        the Plan.
                 E.     CONFIRMATION HEARING

                 TheIn the accompanying Order, the Bankruptcy Court has scheduled a hearing on

        confirmation of the Plan to commence on _____, 2020, at __ a.m. Pacific time. The confirmation

        hearing will be held at the U.S. Bankruptcy Court for the District of Oregon, Courtroom 3, 1050

        SW 6th Avenue, 7th Floor Portland, Oregon, before the Honorable David W. Hercher, United

        States Bankruptcy Judge. At the hearing, the Bankruptcy Court will consider whether the Plan

        satisfies the various requirements of the Bankruptcy Code, including whether it is feasible and

        whether it is in the best interests of the Creditors of Debtors. Prior to the hearing, Debtors will

        submit a report to the Bankruptcy Court concerning the votes for acceptance or rejection of the

        Plan by the persons entitled to vote thereon.

                 Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to

        confirmation of the Plan. Any objections to confirmation of the Plan must be made in writing and

        Filed with the Bankruptcy Court and received by counsel for Debtors no later than 4:00 p.m.

        Pacific time on _______, 2020the objection deadline set forth in the Order. Unless an objection to

        confirmation is timely Filed and received, it will not be considered by the Bankruptcy Court.




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        III.     COMPANY BACKGROUND AND GENERAL INFORMATION

                 A.     DEBTORS

                 NW Cornell is a manager-managed Oregon limited liability company owned equally by

        Eagle Holdings LLC and the Trust, which also asserts an equitable interest in the real property

        owned by NW Cornell, although such ownership is disputed. Dinihanian is the manager of NW

        Cornell and is authorized to take all actions on its behalf. Dinihanian is an individual residing in

        the State of Oregon and is the sole member and manager of Eagle Holdings, LLC. NW Cornell’s

        primary asset is its 50 percent tenant-in-common ownership interest in 37 acres of undeveloped
        real property located at 15005 NW Cornell Road, Beaverton, Oregon.

                 B.     DINIHANIAN’S BUSINESSES

                 Prior to the filing of the Bankruptcy Cases, Dinihanian’s principal business was operating

        Eagle Holdings, LLC, which owns other real estate-centered limited liability companies and

        engages in enterprises regarding motor vehicles, the production of mechanical parts, and property

        management. Dinihanian intends to continue operating Eagle Holdings and its entities under their

        existing business models.

                 C.     MANAGEMENT OF NW CORNELL.

                 Reorganized NW Cornell will consist of the same owners and management as currently

        exists. NW Cornell does not have any employees. Depending on the path pursued under the Plan,

        NW Cornell will continue to own a 50 percent tenant-in-common interest in the Cornell Property,

        develop the Cornell Property in cooperation with non-debtor tenant-in-common owners, or it will

        possess the net proceeds from the sale of its interest in the property.

                 D.     WASHINGTON COUNTY LITIGATION

                 NW Cornell is the plaintiff in 15005 NW Cornell, LLC v. Cornell Rd. LLC, et al., Case No.

        18CV17059, pending in the Circuit Court for the State of Oregon for Washington County. NW

        Cornell commenced the partition proceeding because the other tenant-in-common owners of the

        Cornell Property would not cooperate in the development of the property or consent to NW

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        Cornell borrowing against its interest in the property. The Washington County court in a

        memorandum opinion indicated that partitioning is an appropriate remedy, although it would

        require additional time-consuming land use master-planning procedures prior to such a partition

        being determined. No further action has occurred in the Washington County court after the

        Petition Date due to the fact that parties have opposed NW Cornell’s applications to employ

        counsel for that action and the parties engaged in repeated discussions with participants in these

        bankruptcy cases and with parties in the partition litigation toward the preferable objective of

        consensual settlement.
        IV.      EVENTS LEADING TO THE BANKRUPTCY FILING

                       Debtors’ bankruptcy filings were precipitated by the scheduled foreclosure sales of

        the Skyline Property and the Cornell Property initiated by Creditor Tasha Teherani-Ami

        (“Teherani-Ami”) based on deeds of trust recorded on both properties as provided in the General

        Judgment of Dissolution of Marriage (the “General Judgment”) entered in the divorce case

        involving Teherani-Ami and Dinihanian, Multnomah County Circuit Court Case No. 1208-68730

        (the “Divorce Case”). In the General Judgment obligated Dinihanian to make a significant

        settlement payment to Teherani-Ami in January 2018, and that payment was secured by the deeds

        of trust. When Dinihanian was unable to make that payment, Teherani-Ami initiated foreclosure

        proceedings on both the Skyline and the Cornell Property. In addition, Teherani-Ami filed an

        action compel Dinihanian to execute a deed, on behalf of NW Cornell, to half of NW Cornell’s

        tenant-in-common interest in the Cornell Property or be held in contempt (Multnomah County

        Circuit Court Case No. 19-CN01457) (the “Contempt Proceeding”).

                       Debtors had and continue to have insufficient funds with which to pay their

        creditors until the Cornell Property is sold or until Debtors can obtain financing secured by NW

        Cornell’s interest in the Cornell Property and Dinihanian’s interest in the Skyline Property, or

        both. As a result, Debtors were unable to avoid the imminent risks of foreclosure or the transfer of



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        half of NW Cornell’s interest in the Cornell Property and filed for Chapter 11 bankruptcy

        protection to prevent the loss of significant value in the Cornell Property and Skyline Property.

        V.       SIGNIFICANT POST-PETITION EVENTS

                 Debtors obtained an order to lift the automatic stay to reengage in the Washington County

        partition litigation. Debtors have not pursued that litigation for various reasons, primarily because

        the application to employ partition counsel has been blocked in the Bankruptcy Cases. Debtors

        have invested extensive efforts to arrange financing to finance the payments of Claims and

        facilitate the incremental development of some or all of the Cornell Property. Such financing has
        been arranged through lender SORFI, LLC, an affiliate of Sortis Capital (the “Plan Lender”) and

        the Plan Loan described in the Plan.1 The term sheet describing the Plan Loan’s key terms is

        attached as Exhibit 2 hereto. The documents that will evidence the Plan Loan will be filed with the

        Bankruptcy Court not later than four weeks prior to the confirmation hearing set forth in the Order.

        Under the term sheet, Debtors will be obligated to grant Sortis Real Estate, LLC, an affiliate of the

        Plan Lender, a right of first refusal to serve as the listing broker to market and sell NW Cornell’s

        rights, title and interest in the Cornell Property should the listing and marketing of NW Cornell’s

        tenant-in-common interests become necessary and appropriate following Plan confirmation. For

        the avoidance of doubt, the listing agreement would pertain only to NW Cornell’s interest in the


        1
          Debtors already have an indirect lender-borrower relationship. SORFI, LLC loaned 933
        Harrison Blvd., LLC (“933 LLC”) the amount of $1,250,000 in early 2020, to refinance 933 LLC’s
        mortgage debt that had matured. The SORFI loan to 933 LLC was guaranteed by Eagle Holdings,
        LLC, but was not personally guaranteed by either of the Debtors. Later, in April of 2021, the
        SORFI loan was refinanced to payoff an existing $1,000,000 loan owed to Juniper by 2275 W
        Burnside, which was secured by the property located at 2001 N. Main Street, Forest Grove. The
        Juniper loan had matured and was in default. Additionally, at the time of the refinance, 933 LLC
        and 2275 W Burnside had defaulted on obligations to Columbia Bank and iQ Credit Union, due to
        decreased rental revenue caused by the COVID-19 pandemic. The new SORFI loan also cured
        those defaults. Dinihanian asserts that 100% of the outstanding membership interest in 933 LLC is
        owned by Eagle Holdings, LLC, a single member LLC in which Dinihanian owns 100% of the
        membership interest. Certain parties in interest dispute Dinihanian’s assertions that Eagle
        Holdings owns 933 LLC, and allege that Dinihanian owns 933 LLC directly. Debtors believe this
        distinction is inaccurate, and, more importantly, Debtors believe that the distinction is irrelevant
        given that (i) Debtors’ Plan proposes to pay 100%, and (ii) Dinihanian’s liquidation analysis
        includes the value of 933 LLC and its assets.
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        Cornell Property, and not to the interests of parties other than NW Cornell. Other than the terms

        set forth in the term sheet, no agreement to specific terms have been reached between Debtors and

        SORFI, LLC or Sortis Capital with respect to the Plan Loan or right of first refusal set forth in this

        paragraph and no other documents exist.

                 Debtors have otherwise devoted the bulk of their efforts since the petition date preparing

        and proposing a plan of reorganization and disclosure statement and plan and then engaging in

        numerous rounds of settlement discussions and mediation with Tasha Teherani-Ami, in her

        individual capacity and as trustee for the Trust, as well as the other tenant-in-common owners of
        the Cornell Property. To date, these efforts have been unsuccessful in reaching a resolution,

        leading Debtors to file and seek confirmation of the present Plan.

                 In addition, the Trust has filed an adversary proceeding (Adv. Pro. No. 20-03077) (the

        “Trust Complaint”) seeking a declaratory judgment to enforce the terms of the Stipulated

        Judgment, specifically with respect to its asserted right to a deed from NW Cornell to a twenty-five

        percent tenant-in-common interest in the Cornell Property. The Trust also filed a proof of claim in

        the NW Cornell case (Claim 5-1, the “Claim”). NW Cornell has objected [Dkt. 258] to the Claim

        on various grounds, filed an answer to the Trust Complaint, and filed an adversary proceeding

        (Adv. Pro. No. 20-03079) (the “Cornell Avoidance Action”), to which the Trust has filed an

        answer.

                 NW Cornell instituted an adversary proceeding (Adv. Pro. No. 19-03096) (the

        “Teherani-Ami Adversary”) against Teherani-Ami to avoid the Deed of Trust on the grounds that

        it constituted a fraudulent transfer. In light of the full payment provided for the Teherani-Ami

        Claim under the Plan, the Debtors will seek to abate the Teherani-Ami Adversary.

                 A.     EMPLOYMENT OF PROFESSIONALS

                 NW Cornell has retained Perkins Coie LLP as its general counsel in the NW Cornell

        Bankruptcy Case. Dinihanian has retained Motschenbacher & Blattner LLP as his general counsel

        in the Dinihanian Bankruptcy Case. Dinihanian also sought and obtained Bankruptcy Court

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        approval for the employment of Delap as his accountant. NW Cornell has sought the approval for

        the employment of Bateman Seidel to serve as ordinary course counsel in the partition litigation,

        although no order has been entered by the Court due to objections asserted by the Trust and the

        partition litigation has therefore been unable to proceed.

        VI.      ASSETS AND LIABILITIES

                 A.     ASSETS

                        1.     NW Cornell’s Real Property

                 As described above, NW Cornell’s principal asset is a fifty-percent tenant-in-common
        interest in the Cornell Property, which is a 37-acre parcel located at 15005 NW Cornell Road,

        Beaverton, Oregon. NW Cornell estimates that the value of its half interest in the Cornell Property

        was approximately $13,500,000 as of the Petition Date. This is supported by a broker’s price

        opinion dated February 26, 2019. It is difficult to assess what impact the pandemic currently

        afflicting the United States will have on the value of the Cornell Property or other properties in the

        greater Portland area. The non-debtor tenant-in-common owners are limited liability companies

        owned by Dinihanian’s sister, Lillian Logan, and her two adult children. They assert that NW

        Cornell lacks the authority to enter into the Plan Loan, and that entering into the Plan Loan will,

        through an unauthorized transfer or otherwise, create a multi-million-dollar damages claim in

        favor of the non-debtor tenant-in-common owners under the tenant-in-common agreement. NW

        Cornell asserts that it has the authority to enter into the Plan Loan pursuant to Section 8 of the

        tenant-in-common agreement without violating any other provision of the agreement or creating a

        damages claim.

                        2.     Dinihanian’s Real Property

                 Dinihanian owns real property and improvements at 237 NW Skyline, in Portland Oregon.

        The Skyline Property is Mr. Dinihanian’s residence, as well as the location where Mr. Dinihanian

        conducts the business activities of Eagle Holdings. Dinihanian estimates that the total value of the

        residence was approximately $1,000,000 as of the Petition Date.

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                         3.      Personal Property

                  As of the Petition Date, NW Cornell ownsowned very few items of personal property. As

        of the Petition Date, Dinihanian’s hard assets consisted of miscellaneous household goods and

        furnishings. Dinihanian also had checking accounts and brokerage accounts. Dinihanian also

        owns all membership interests in Eagle Holdings, LLC, which in turn owns stock or membership

        interests in various entities that own commercial real estate. Dinihanian ownsowned a half interest

        with his sister, Lillian Logan, in a cabin located in Welches, Oregon. A list of Dinihanian’s assets

        can be found in Dinihanian’s Amended Schedule A/B [ECF No. 60] (Dinihanian Case)2. The
        combined net values of Dinihanian’s assets, including Eagle Holdings and the various stock or

        membership interests it owns, and the Welches cabin, fall far short of the funds necessary to pay

        the Claims and other amounts required to be paid under the Plan.

                  Dinihanian also has potential tort claims (potentially as derivative claims) against Lillian

        Logan, related to allegations of breach of fiduciary duty and oppression in connection with

        Dinihanian Floral Products, Inc., which is jointly owned by Dinihanian and Ms. Logan.

                  B.     LIABILITIES

                         1.      Tasha Teherani-Ami

                  Pursuant to the Divorce Judgment, Dinihanian owes Tasha Teherani-Ami $2,250,000, plus

        accrued interest at 4.5% per annum from the date of the Divorce Judgment, until paid, as well as

        actual and reasonable costs and attorney fees. As of June 1, 2021, Debtors believe the total amount

        owing to Teherani-Ami was approximately $2,855,000. Since June 1, 2021, Debtors have made

        monthly adequate protection payments of interest to Teherani-Ami. Such payments will continue

        through September 2021, at which time Teherani-Ami will be entitled to relief from stay to

        continue her foreclosure actions.

                  The Divorce Judgment is secured by a Residential Trust Deed against the Skyline Property

        and by a deed of trust against NW Cornell’s interest in the Cornell Property. NW Cornell has

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             References to the “Dinihanian Case” refer to Bankruptcy Case No. 19-31886-dwh11.
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        commenced an adversary proceeding to avoid the transfer by which the deed of trust against the

        Cornell Property was delivered to Ms. Teherani-Ami.

                        2.     Bateman Seidel and Daniel Lorenz Trust Deed Claims

                 Dinihanian executed one or more trust deeds encumbering the Skyline Property in favor of

        NW Cornell’s prepetition counsel, Bateman Seidel, and Dinihanian’s prepetition counsel, Daniel

        Lorenz, in the collective face amount of $250,000 as security for legal fees advanced prepetition

        for the respective Debtors by such counsel.

                        3.     Columbia Bank
                 Dinihanian owes Columbia Bank in connection with an equipment loan, and a real estate

        loan for commercial properties owned by two limited liability companies he controls. Dinihanian

        also has executed personal guaranties in connection with other loans made by Columbia Bank to

        entities controlled by Mr. Dinihanian.

                        4.     Unsecured Creditors

                 The total amount of Unsecured Claims scheduled by Dinihanian is approximately

        $976,654. This amount includes the Columbia Bank claims described above. This amount does

        not include claims made by Lillian Logan [See Claim No. 4; Case No. 19-31886-dwh11].

                        5.     Trust Claim

                 The Sonja Dinihanian GST Trust DTS 1/1/11 (the “Trust”) seeks the immediate transfer of

        a deed to half of NW Cornell’s undivided tenant-in-common interest in the Cornell Property in

        exchange for redemption of the Trust’s half membership interest in NW Cornell, pursuant to the

        Divorce Judgment and as set forth in late-filed Claim No. 6. NW Cornell has commenced an

        adversary proceeding to avoid any obligation to make such a transfer of half of its assets or, to the

        extent such a transfer is deemed to have occurred without an executed deed, to avoid such a

        deemed transfer.

                        6.     Other Asserted Hypothetical Claims



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                 The co-owners of the Cornell Property have asserted arguments that they may be injured

        and suffer damages if (1) NW Cornell’s TIC interest in the Cornell Property is transferred as a

        result of foreclosure of the proposed Plan Loan; or (2) the entire Cornell Property is ultimately sold

        as a whole pursuant to Section 363(h) of the Bankruptcy Code. The co-owners argue that either

        type of transfer would result in a breach of the Tenancy in Common Agreement between NW

        Cornell and the co-owners. Further, in the event that a sale of the entire Cornell Property is sold

        pursuant to 11 U.S.C. § 363(h), the co-owners argue they may be damaged because the sale would

        result in taxable gains, which would impose tax liabilities upon them that would not exist but for a
        sale of the entire Cornell Property. Debtors deny the co-owners’ arguments that Debtors would be

        liable under either scenario, for the reasons set forth below.

                                a.      Foreclosure of Plan Loan

                 First, in the event that NW Cornell’s TIC interest in the Cornell Property is transferred as a

        result of foreclosure of the Plan Loan, the transfer would be an authorized transfer. The Tenancy

        in Common Agreement is written to preserve each co-owner’s ability to pursue a 1031 exchange

        with respect to their prospective interests in the Cornell Property. Specifically, the Tenancy in

        Common Agreement is written in compliance with IRS Rev. Proc. 2002-22 in at least the

        following ways in that it:

                      • Provides that the title to the Cornell Property as a whole may not be held as an

                      entity under state law (TIC Agreement, ¶ 1);

                      • Provides that the co-ownership may not file a partnership or corporate tax return

                      (TIC Agreement);

                      • Indicates that each co-owner may encumber its share of the Cornell Property (TIC

                      Agreement, ¶ 8); and,

                      • Indicates that each co-owner may transfer its respective interest in the Cornell

                      Property, subject only to a right of first refusal in favor of the other co-owners (TIC

                      Agreement, ¶ 10(a)).

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                 Because these provisions are present in the Tenancy In Common Agreement, Debtors

        believe that the co-owners arguments are misplaced. Because the agreement authorizes NW

        Cornell to encumber its TIC Interest, the agreement implicitly consents to the risk that NW

        Cornell’s interest may be transferred through foreclosure in the event of a default. Moreover, if the

        Debtors default on the Plan Loan after confirmation and funding of such loan, notice of any

        potential foreclosure sale can be provided to the co-owners in compliance with Section 10(b) of the

        TIC Agreement. Such notice would provide the co-owners the opportunity to purchase NW

        Cornell’s TIC Interest prior to foreclosure. In the event that the co-owners fail to elect to purchase
        NW Cornell’s TIC Interest, the TIC Agreement explicitly authorizes a transfer. In the event that

        Debtors are wrong about this position, and if foreclosure of the Plan loanLoan would result in a

        breach of the TIC Agreement, there is a risk that the Debtors will be liable to the co-owners, which

        could diminish the amount of Debtors’ equity. Debtors believe the risk to creditors is minimal,

        because claims will have already been paid under the Plan prior to any potential foreclosure. Thus,

        the majority of the risk is borne by Debtors themselves.

                               b.      Sale of Entire Cornell Property

                        In the event of a sale of the entire property, Debtors believe the TIC co-owners

        would not have any claim against the Debtors, for breach of the TIC Agreement or otherwise.

        First, Debtors do not believe there is any controlling authority indicating that they bear any

        liability to the co-owners if Debtors successfully prove the elements of a claim under § 363(h).

        Second, Debtors believe the co-owners would be provided sufficient notice to enable them to

        minimize their respective taxes through a 1031 exchange, completely mitigating any potential

        damages. Finally, as is described above regarding foreclosure, co-owners would be provided

        notice of any potential sale of the entire property, and they would therefore have the ability to

        make an offer to purchase the Cornell Property, or even just NW Cornell’s TIC Interest. There is a

        risk that, if Debtors are incorrect in these arguments, that the equity Debtors will receive after a

        sale will be reduced by the amount of damages they are required to pay the co-owners. Debtors

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        believe the risk to creditors is minimal, because claims will have already been paid under the Plan

        prior to any potential foreclosure. Thus, the majority of the risk is borne by Debtors themselves.

        VII.     DESCRIPTION OF PLAN

                 A.     SOLICITATION AND CLASSIFICATION AND TREATMENT OF
                        CLAIMS AND EQUITY SECURITIES
                        1.     General

                 Pursuant to Section 1123(a)(1) of the Bankruptcy Code, a Plan of Reorganization must

        designate classes of Claims and classes of interest. The Plan classifies all Claims and Interests into

        13 classes. The classification of Claims and Interests is made for the purpose of voting on the Plan
        and making distributions thereunder, and for ease of administration of the Plan. A Claim or

        Interest is classified in a particular Class only to the extent the Claim or Interest qualifies within

        the description of that Class and is classified in a different Class to the extent the Claim or Interest

        qualifies within the description of such different Class. A Claim or Interest is entitled to vote in a

        particular Class and to receive distributions in such Class only to the extent such Claim or Interest

        is an Allowed Claim or Allowed Interest in that Class and has not been paid prior to the Effective

        Date. Under the Plan, a Claim or Interest is an Allowed Claim against, or an Allowed Interest in,

        Debtor to the extent that (a) a proof of the Claim or Interest was (1) timely Filed, or (2) deemed

        Filed under applicable law by reason of an order of the Bankruptcy Court; or (b) scheduled by

        Debtor on its Schedules of Liabilities as neither contingent, unliquidated, or disputed; and (c) (i) no

        party in interest has Filed an objection within the time fixed by the Bankruptcy Court, (ii) the

        Claim or Interest is allowed by Final Order; or (iii) with respect to an application for compensation

        or reimbursement of an Administrative Expense Claim, the amount of the Administrative Expense

        Claim has been approved by the Bankruptcy Court.

                        2.     Unclassified Claims

                 Administrative Expense Claims and Priority Tax Claims are not classified. An

        Administrative Expense Claim is a Claim against Debtors constituting an expense of

        administration of the Bankruptcy Case allowed under Section 503(b) of the Bankruptcy Code
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        including, without limitation, the actual and necessary costs and expenses of preserving the estate

        and operating Debtors’ business during the Bankruptcy Case; claims for the value of goods

        received by Debtors within 20 days before the Petition Date sold in the ordinary course of

        business; any indebtedness or obligations incurred by Debtors during the pendency of the

        Bankruptcy Case in connection with the provision of goods or services to Debtors; compensation

        for legal and other professional services and reimbursement of expenses; and statutory fees

        payable to the U.S. Trustee.

                 A “Priority Tax Claim” is a Claim of a governmental unit of the kind entitled to priority
        under Section 507(a)(8) of the Bankruptcy Code or that would otherwise be entitled to priority but

        for the Secured status of the Claim. Each holder of an Allowed Priority Tax Claim shall be paid by

        Reorganized Debtors, within 30 days following the Effective Date or the date the Claim is

        Allowed, whichever is sooner, the full amount of its Allowed Priority Tax Claim as allowed by 11

        U.S.C. § 1129(a)(9)(C) and (D). The IRS has Filed a Priority Tax Claim against Dinihanian in the

        amount of $6,084.70

                 Pursuant to the Plan of Reorganization, Administrative Expense Claims will be paid in full

        on the later of the Effective Date or the date on which any such Administrative Expense Claim

        becomes an Allowed Claim unless such holder shall agree to a different treatment of such Claim

        (including, without limitation, any different treatment that may be provided for in any

        documentation, statute, or regulation governing such Claim). However, the Administrative

        Expense Claims representing liabilities incurred in the ordinary course of business (including

        amounts owed to vendors and suppliers that have sold goods or furnished services to Debtors after

        the Petition Date), if any, will be paid in accordance with the terms and conditions of the particular

        transactions and any other agreements relating thereto. Debtors will include the estimated amount

        of such expenses in the Report of Administrative Expense Claims to be Filed prior to the hearing

        on confirmation.



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                         3.      Classified Claims

                 The following summary of distributions under the Plan to Classified Claims does not

        purport to be complete and is subject to, and is qualified in its entirety by reference to, the Plan

        attached hereto as Exhibit 1.

                                 (a) Class 1 (Tasha-Teherani-Ami’s Secured Claim Against Dinihanian).

        Class 1 consists of Tasha Teherani-Ami’s Secured Claim against Dinihanian. The Class 1 Claim

        will be paid in full on the Effective Date, together with interest at the rate of 4.5% per annum from

        and after the Petition Date, and reasonable costs and attorney fees in an amount established by the
        Bankruptcy Court following application and hearing. Teherani-Ami will file an application her

        reasonable costs and attorney fees associated with the Class 1 Claim not later than 14 days after the

        entry of order confirming the Plan. Class 1 is unimpaired and will be deemed to accept the Plan.

        The Divorce Judgment shall be modified to extend the deadline for payment of the Class 1 Claim

        to the date on which the Class 1 Claim is to be paid under the terms of this Plan.

                 The Teherani-Ami Skyline Trust Deed shall be modified as follows:

                     Section 1.2 shall be modified to read as follows:

                      “Grantor will pay and perform all Obligations when due under the Joint Chapter 11
                      Plan dated July 30, 2020, filed in the Bankruptcy Case of In re 15005 NW Cornell,
                      LLC, Bankruptcy Case No. 19-31883-dwh11 (jointly administered).

                     The following language shall be added to the end of Article V:

                      “Notwithstanding the foregoing, the Obligations shall not be accelerated as a result of
                      Grantor’s filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                      Case Number 19-31886-dwh11.

                     Sections 1.8, 1.9, and all provisions referring those sections, shall be deleted.

        All other provisions of the Teherani-Ami Skyline Trust Deed shall remain unmodified.

                                 (b) Class 2 (General Unsecured Claims Allowed Against NW Cornell).

        Class 2 consists of all Allowed Unsecured Claims against NW Cornell that are not otherwise

        classified in the Plan. Each holder of a Class 2 Claim shall be paid in full together with interest at
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        the federal judgment rate (fixed at the rate in effect on the Effective Date) within six months after

        the Effective Date.

                               (c) Class 3 (Trust Claim). Class 3 consists of the Disputed Trust Claim to

        ownership in the Cornell Property as a result of the Divorce Judgment. The Class 3 Claim will (a)

        retain its prepetition membership interest in Cornell LLC as the Reorganized Debtor or (b) receive

        such alternative relief as ordered by the Court, including in Adv. Pro. No. 20-03077, Adv. Pro. No.

        20-03079 and the claim objection found at Docket No. 258, in full satisfaction of the Trust Claim.

        The Class 3 Claim is impaired under the Plan.
                               (d) Class 4 (Multnomah County Property Taxes). Class 4 consists of

        Multnomah County’s secured property tax claim against Dinihanian, secured by the Skyline

        Property. The Class 4 Claim shall be paid in full, together with interest at the rate of 16% per

        annum from and after the Petition Date. The Class 34 Claim shall be paid in the same manner as

        Class 2 Claims.

                               (e) Class 5 (Tasha Teherani-Ami). The Class 5 Claim consists of Tasha

        Teherani-Ami’s disputed secured claim against NW Cornell, pursuant to the Divorce Judgment

        and the Teherani-Ami Cornell Trust Deed. The Class 5 Claim is the same debt as the Class 1

        Claim and payment of the Class 1 Claim, described above, shall constitute full satisfaction of the

        Class 5 Claim. The Class 5 Claim is unimpaired and is deemed to accept the Plan.

                               (f)     Class 6 (Bateman Seidel Claim). Class 6 consists of the Allowed

        secured Claim of Bateman Seidel, PC. The Class 6 Claim shall be paid at the same time and in

        same manner as Class 2 Claims, described above.

                               (g)     Class 7 (Lorenz Claim). Class 7 consists of the Allowed secured

        Claim of Daniel Lorenz against Dinihanian for legal services provided to Dinihanian and

        evidenced by a trust deed. The Class 7 Claim shall be paid in at the same time and in the same

        manner as the Class 2 Claims, described above.



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                                (h) Class 8 (Columbia Bank – Equipment Loans). Class 8 consists of the

        Allowed Secured Claim of Columbia Bank, relating to the Columbia Equipment Note. Any

        default that exists under the Columbia Loan Documents shall be deemed cured or waived as of the

        Effective Date. Columbia’s Class 6 Claim will be paid in full together with interest at the

        non-default rate under the Columbia Equipment Note, on the same terms and payments as set forth

        in the Columbia Equipment Note, commencing with the first payment due 60 days after the

        Effective Date. The Columbia Equipment Note will remain in effect except as stated below:

                          The maturity date will be delayed for the amount of time between the Petition
                           Date and the date on which the first payment is due to the Class 6 Claim under
                           the terms of this Plan.

                          The Columbia Equipment Note shall be amended to delete any reference to the
                           note being payable on demand.

                          The following language shall be added to the end of Section X:

                            “Notwithstanding the foregoing, the Obligations shall not be accelerated as a
                            result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                            commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                            filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                            Case Number 19-31883-dwh11.”

                                (i) Class 9 (Columbia Bank – Real Estate Loan). Class 9 consists of the
        Allowed Secured Claim of Columbia Bank, relating to the Columbia Real Estate Note. Any

        default that exists under the Columbia Loan Documents shall be deemed cured or waived as of the

        Effective Date. The Class 9 Claim will be paid in full together with interest at the non-default rate

        under the Columbia Real Estate Note, on the same terms and payments as set forth in the Columbia

        Real Estate Note. The Columbia Real Estate Note will remain in effect except as stated below:
                           The Columbia Real Estate Note shall be amended to delete any reference to
                             the note being payable on demand.

                               The following language shall be added to the end of Section X:



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                                “Notwithstanding the foregoing, the Obligations shall not be accelerated as
                                a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                                commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                                filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                                Case Number 19-31883-dwh11.”

                                (j) Class 10 (Guaranty Claims against Dinihanian). Class 10 consists of all

        allowed Guaranty Claims, including Columbia’s Allowed Claims related to the Columbia

        Guaranty Documents, and those related to other Guaranty Documents. Any default that exists

        under the Columbia Guaranty Documents or other Guaranty Documents shall be deemed cured or

        waived as of the Effective Date. The Columbia Guaranty Documents and other Guaranty

        Documents shall remain in effect, except as stated:

                               The following language in the Columbia Guaranty Documents shall be
                                added to the end of Section X:

                                “Notwithstanding the foregoing, the Obligations shall not be accelerated as
                                a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                                commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                                filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                                Case Number 19-31883-dwh11.”

                                (k) Class 11 (General Unsecured Claims against Dinihanian). Class 11

        consists of all Allowed unsecured claims against Dinihanian not otherwise classified in this Plan.
        Each holder of a Class 11 Claim shall be paid in full together with interest at the federal judgment

        rate (fixed at the rate in effect on the Petition Date) from and after the Petition Date, until paid in

        full. The Class 11 Claims shall be paid at the same time and in the same manner as the Class 2

        claim.

                                (l) Class 12 (Interests in NW Cornell). Class 12 Interests in NW Cornell

        shall retain their interests in NW Cornell except as may be determined by the Bankruptcy Court

        with respect to Class 3 Claims referenced above.




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                                (m) Class 13 (Dinihanian’s Interests). The Class 13 interest holder is

        Dinihanian, who shall retain his interests in property of the bankruptcy estate of the Dinihanian

        Bankruptcy Case.

                 B.     ADMINISTRATIVE EXPENSES

                 NW Cornell has retained the following professionals: (a) Perkins Coie LLP as its general

        counsel in this case and (b) Delap LLP as its accountants. Currently, the total amount of

        Administrative Expense Claims is $300,000460,000 and could be as high as $375,000600,000 by

        the Effective Date depending on the extent of litigation with various parties in interest. A
        statement of professional fees incurred in this case will be Filed with the Court prior to the

        confirmation hearing.

                 Dinihanian has retained the following professionals: (a) Motschenbacher & Blattner LLP

        as his general bankruptcy counsel in this case and (b) Delap LLP as his accountants. Currently, the

        total amount of Administrative Expense Claims is approximately $150,000220,000 and could be

        as high as $200,000300,000 depending on the extent of litigation with various parties in interest.

        A statement of professional fees incurred in this case will be Filed with the Court prior to the

        confirmation hearing.

                 C.     EXECUTORY CONTRACTS

                 The Bankruptcy Code gives debtors the right, after commencement of their Chapter 11

        Cases, subject to approval of the Bankruptcy Court, to assume or reject executory contracts and

        unexpired leases. Generally, an “executory contract” is a contract under which material

        performance (other than the payment of money) is still due by each party. The Plan provides for

        the assumption by debtors of all executory contracts and unexpired leases that are not expressly

        rejected or subject to a motion for rejection Filed on or before the Confirmation Date.

                 If an executory contract or unexpired lease is or has been rejected, the other party to the

        agreement may file a Proof of Claim for damages resulting from such rejection. The Plan provides

        that a Proof of Claim with respect to any such Claim must be Filed within 30 days of approval of

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        the Bankruptcy Court of the rejection of the relevant executory contract or unexpired lease. Any

        such Claim shall constitute a Class 2 Claim to the extent such Claim is finally treated as an

        Allowed Claim. To the extent a debtor rejects an unexpired lease of nonresidential real property,

        the Claim for damages resulting from such rejection will be limited to the amount allowed under

        the Bankruptcy Code.

                 Upon assumption of an executory contract or unexpired lease, debtors must cure or provide

        adequate assurance of prompt cure of any monetary defaults. The Plan provides that Reorganized

        Debtors will promptly cure all monetary defaults. Debtors do not believe any of the executory
        contracts being assumed will require significant cure payments.

                 The Trust asserts the NW Cornell limited liability operating agreement (the “Operating

        Agreement”) is an executory contract that must be assumed and that, because it includes a personal

        services contract, the Trust contends, the contract cannot be assumed by NW Cornell without the

        Trust’s consent, which will not be provided. The Trust further contends the Plan cannot be

        confirmed, and indeed the bankruptcy case must be dismissed, absent NW Cornell’s assumption of

        the Operating Agreement. Specifically, the Trust argues NW Cornell’s failure to execute a deed to

        the Trust of half of NW Cornell’s tenant-in-common interest in the Cornell Property, pursuant to

        the Stipulated Judgment, is default under the Operating Agreement that must be cured as a

        condition of assumption.

                 The Debtors disagree with the Trust’s argument on numerous grounds, including that the

        Operating Agreement is not an executory contract, that NW Cornell was not a party to the

        Stipulated Judgment that purports to require execution of a deed to the Trust, that NW Cornell

        received no consideration for such a transfer, among other arguments. These arguments are set

        forth and will be decided, in whole or in part, through NW Cornell’s objection to the Trust’s

        Claim, the Trust’s Complaint, and the Cornell Avoidance Action.

                 If the Trust prevails and the Debtors do not, the Plan Lender may not fund the Plan Loan

        and the Plan may not be confirmable.

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                 D.     IMPLEMENTATION OF THE PLAN

                 The Debtors will obtain the funds to pay Claims as provided in this Plan through borrowing

        under the Plan Loan. Repayment of the Plan Loan will be secured by an encumbrance on the

        Skyline Property. It will also be secured by an encumbrance on NW Cornell’s tenant-in-common

        interest in the Cornell Property, not the interests of other owners of tenant-in-common interests in

        the Cornell Property . NW Cornell is authorized to such an encumbrance pursuant to Paragraph 8

        of the Tenant-in-Common Agreement, which states: “Each owner shall have the right to encumber

        its undivided interest in the Property without the approval of any person and shall discharge the
        obligation secured by the encumbrance in accordance with its terms.” Other tenant-in-common

        owners have challenged NW Cornell’s right to agree to such an encumbrance. There is a risk that

        such a challenge will prevail and that the encumbrance will not be permitted. Under those

        conditions, the Plan Lender may not agree to fund the Plan Loan.

                 The Trust asserts NW Cornell must deliver to it a deed to a twenty-five percent

        tenant-in-common interest in the Cornell Property in exchange for the redemption of the Trust’s

        fifty-percent membership interest in NW Cornell, an exchange provided for the Stipulated

        Judgment. NW Cornell rejects the Trust’s position that it must deliver a deed on various grounds,

        including that NW Cornell was not a party to the Stipulated Judgment and received no

        consideration for such a deed. The Trust has commenced an adversary proceeding seeking a

        declaratory judgment that would result in the Trust owning half of NW Cornell’s TIC interest in

        the Cornell Property. The Trust also argues that the Debtors must assume three executory

        contracts before Debtors have the authority to confirm the Plan and obtain the Plan loanLoan. The

        Trust asserts Debtors must obtain the Trust’s consent, which will not be given, to assume a portion

        of the NW Cornell operating agreement. Debtors deny all of the Trust’s claims.

                 NW Cornell is defending the adversary proceeding brought by the Trust and has

        commenced an adversary proceeding to avoid any obligation allegedly imposed upon NW Cornell

        to transfer a deed to the Trust. NW Cornell has also filed an objection to the Trust’s proof of claim.

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        Debtors believe that the Trust’s right to equitable relief would be eliminated if the objection to the

        proof of claim is sustained by the Bankruptcy Court. The Trust has argued that NW Cornell must

        succeed in both adversary proceedings and the proof of claim objection for the Plan to be

        successful. Debtors reject the Trust’s arguments and believe the Plan may still be successful even

        if NW Cornell loses the claim objection and both adversary proceedings. Ultimately, however, the

        following risks exist: (i) the Debtors may lose the adversary proceedings and the proof of claim

        objection, (ii) losing one or more of the adversary proceedings and the proof of claim objection

        could require NW Cornell to grant a deed to the Trust; and (iii) the Plan Lender may not agree to
        fund the Plan Loan if the Trust is granted a deed, which would result in failure of the Plan.

                 The Trust also asserts, in light of its claims under the Stipulated Judgment, NW Cornell

        should not be permitted to grant an encumbrance on NW Cornell’s half tenant-in-common interest

        in the Cornell Property. If the Trust’s objection is sustained, the encumbrance on NW Cornell’s

        fifty-percent tenant-in-common interest in the Cornell Property envisioned by Plan Lender will be

        diminished by half, and the Plan Lender may not agree to fund the Plan Loan.

                 As a condition of the Plan Loan, the Plan Lender will require the Debtors to agree to (i) use

        their best efforts to complete or otherwise resolve the partition litigation pending in Washington

        County or (ii), in consultation with the Plan Lender, make a determination that completion of the

        partition litigation is not practicable within a reasonable time and the Debtors should pursue,

        through a reservation of jurisdiction by this Court, the sale of the entire Cornell Property pursuant

        to Section 363(h) of the Bankruptcy Code. No documents exist that define or expand upon the

        precise meaning of “in consultation with,” as referenced in this paragraph. The criteria used by

        Debtors would include the length of time required to complete the proposed partition, the difficulty

        and expense involved in pursuing the partition if the co-owners of the Cornell Property, potentially

        including the Trust, oppose partition, appeal any judgment in the partition litigation, or if the

        co-owners otherwise try to block or thwart Debtors’ efforts to finalize the partition of the Cornell



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        Property. For the avoidance of doubt, the Debtors’ agreement to referenced above will be

        sufficient to permit the funding of the Plan Loan and the payment of Claims as set forth in the Plan.

                 The Debtors anticipate the $5.6 million in proceeds under the Plan Loan to be dedicated as

        set forth in Exhibit 3, Projected Use of Funds. One component of the Use of Funds is the

        reservation of $1.5 million (a) for completion of the partition litigation, (b) to complete the land

        use and entitlement process in Washington County, (c) if necessary, to prosecute an adversary

        proceeding under Section 363(h) of the Bankruptcy Code to obtain an order requiring the sale of

        the entire Cornell Property on the grounds that completion of the partition process will involve
        impracticable delays and obstruction, and (d) for initial design and development costs. In addition,

        counsel for the Reorganized Debtor in the partition action, whose employment application has

        been blocked by objections in these cases, will be permitted to proceed post-confirmation and be

        paid with proceeds of the Plan Loan. The actual timing and content of any future development of

        the Cornell Property or any partitioned portion thereof will depend on how the above elements

        evolve. The payment of creditors’ claimsClaims under the Plan will be funded by the Plan Loan

        and will not await or be dependent upon the resolution of any of the elements of uncertainty

        described in this paragraph.

                 The Debtors anticipate that the Plan Loan will be repaid at maturity by refinancing. If the

        Debtors are forced to seek relief under Section 363(h) of the Bankruptcy Code, the sale of the NW

        Cornell-owned as well as non-debtor interests in the Cornell Property will be sold. In this instance,

        the Plan Loan would be repaid with the proceeds of such sale.

                 E.     EFFECT OF CONFIRMATION

                        1.      Binding Effect

                 The treatment of, and consideration received by, holders of Allowed Claims and Interests

        pursuant to the Plan will be in full satisfaction of their respective Claims against or Interests in

        Debtors. The Confirmation Order shall bind Debtors and any Creditor, and discharge Debtors

        from any liability that arose before the Effective Date, as provided in Sections 524 and 1141 of the

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        Bankruptcy Code, and any debt and liability of a kind specified in Sections 502(g), 502(h) or

        502(i) of the Bankruptcy Code, whether or not (1) a proof of claim based on such Creditor’s debt

        or liability is Filed or deemed Filed under Section 501 of the Bankruptcy Code, (2) a Claim based

        on such debt or liability is Allowed, or (3) the holder of the Claim based on such debt or liability

        has accepted the Plan.

                        2.       Revesting, Operation of Business

                 Except for the Cornell Property, which will remain property of the estate of the NW

        Cornell bankruptcy until the Cornell Property Revesting Date, all property of the bankruptcy
        estates shall revest in each respective Reorganized Debtor on the Effective Date free and clear of

        all rights, claims, liens, charges, encumbrances, and interests, except as otherwise specifically

        provided in the Plan. Except as otherwise set forth in the Plan, there are no limitations or

        restrictions on the post-confirmation activities or operations of Debtors.

                        3.       Injunction

                 The effect of confirmation shall be as set forth in Section 1141 of the Bankruptcy Code.

        Except as otherwise provided in the Plan, prior order of the Bankruptcy Court, or in the

        Confirmation Order, confirmation of the Plan shall act as a permanent injunction applicable to

        entities against (1) the commencement or continuation, including the issuance or employment of

        process, of a judicial, administrative, or other action or proceeding of any kind against Debtors or

        Reorganized Debtors that was or could have been commenced before the entry of the

        Confirmation Order; (2) the enforcement, attachment, collection, or recovery against Reorganized

        Debtors or its assets of any judgment, award, decree, or order obtained before the Petition Date; (3)

        any act to obtain possession of or to exercise control over, or to create, perfect, or enforce a lien

        upon all or any part of the assets of Reorganized Debtors; (4) asserting any setoff, or right of

        subrogation or recoupment of any kind against any obligation due to Debtors, Reorganized

        Debtors, or their property; and (5) proceeding in any manner in any place whatsoever that does not

        conform to, does not comply with, or is inconsistent with the provisions of the Plan or the

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        Confirmation Order. For the avoidance of doubt, the injunction referenced above shall be

        applicable to the matters set forth in Section IV. Neither the injunction nor any provision of the

        Plan prohibits the Washington County Case to proceed to completion in state court including all

        appeals.

                        4.      Event of Default

                 Any material failure by Reorganized Debtors to perform any term of the Plan, which

        failure continues for a period of fifteen Business Days following receipt by Reorganized Debtors

        of written notice of such default from the holder of an Allowed Claim to whom performance is
        due, shall constitute an Event of Default. Upon the occurrence of an Event of Default, the holder

        of an Allowed Claim to whom performance is due shall have all rights and remedies granted by

        law, the Plan or any agreement between the holder of such Claim and Debtors or Reorganized

        Debtors. An Event of Default with respect to one Claim shall not be an Event of Default with

        respect to any other Claim.

                        5.      Modification of the Plan; Revocation or Withdrawal of the Plan

                 Subject to Section 1127 of the Bankruptcy Code, Debtors reserves the right to alter, amend,

        modify, or withdraw the Plan before its substantial consummation so long as the treatment of

        holders of Claims and Interests under the Plan are not adversely affected.

                        6.      Retention of Jurisdiction

                 Notwithstanding the entry of the Confirmation Order, the Court shall retain jurisdiction of

        this Chapter 11 Case pursuant to and for the purposes set forth in Section 1127(b) of the

        Bankruptcy Code and:

                                (a) to classify the Claim or interest of any Creditor or stockholder,

        reexamine Claims or Interests which have been owed for voting purposes and determine any

        objections that may be Filed to Claims or Interests,




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                               (b) to determine requests for payment of Claims entitled to priority under

        Section 507(a)(1) of the Bankruptcy Code, including compensation and reimbursement of

        expenses in favor of professionals employed at the expense of the Estate,

                               (c) to avoid liens, transfers, or obligations or to subordinate Claims under

        Chapter 5 of the Bankruptcy Code,

                               (d) to approve the assumption, assignment or rejection of an executory

        contract or an unexpired lease pursuant to this Plan,

                               (e) to resolve controversies and disputes regarding the interpretation of this
        Plan,

                               (f) to implement the provisions of this Plan and enter orders in aid of

        confirmation, including an action by the Reorganized Debtors pursuant to Section 363(h) of the

        Bankruptcy Code brought prior to the Cornell Property Revesting Date,

                               (g) to adjudicate adversary proceedings and contested matters pending or

        hereafter commenced in this Chapter 11 Case, and

                               (h) to enter a final decree closing this Chapter 11 proceeding.

                        7.     United States Trustee Fees

                 Reorganized Debtors shall be responsible for timely payment of fees incurred pursuant to

        28 U.S.C. § 1930(a)(6) until the case is closed, converted, or dismissed. After confirmation,

        Reorganized Debtors shall serve on the United States Trustee a financial report for each quarter, or

        portion thereof, that the case remains open. The quarterly financial report shall include a statement

        of all disbursements made during the course of the quarter, whether or not pursuant to the Plan.

        VIII. LIQUIDATION ANALYSIS

                 A Plan of Reorganization cannot be confirmed unless the Bankruptcy Court finds that the

        Plan is in the “best interest of creditors” or holders of Claims against, and Equity Security in,

        Debtors subject to such plan. The best interest test is satisfied if a plan provides each dissenting or

        non-voting member of each impaired Class with a recovery not less than the recovery such

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        member would receive if each Debtor was liquidated in a hypothetical case under Chapter 7 of the

        Bankruptcy Code by a Chapter 7 Trustee. The Debtors are proposing to pay all creditors in full,

        and thus the best interest of creditors test is automatically satisfied.

                 Despite the fact that the Debtors’ Plan of Reorganization proposes to pay all creditors in

        full and therefore satisfies best interest of creditors test, certain parties in interest have demanded

        that a liquidation analysis be provided. Attached as Exhibit 4 is a liquidation analysis provided by

        the Debtors for each Debtor separately. All asset values included in the liquidation analysis were

        based on the Debtors’ opinions of value, based on Debtors’ familiarity with their properties, and
        Debtors’ experience in the area of commercial real estate. Parties in interest have asserted that the

        Debtors’ statements of value have been inconsistent, but Debtors assert that any differing

        valuation numbers were due, in part, to the difference in the time periods when valuation estimates

        were prepared. Additionally, Debtors assert that inconsistency in valuation may also be due to

        differences in the type of valuation (i.e., liquidation vs. going concern value). The valuation

        estimates provided in the attached liquidation analysis are intended to be current fair market values

        as of the date of this disclosure statement.

        IX.      POSSIBLE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

                 CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE PLAN

        MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR OWN

        ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS.

                 The following discussion summarizes in general terms certain federal income tax

        consequences of the implementation of the Plan based upon existing provisions of the Internal

        Revenue Code of 1986, as amended (the “Internal Revenue Code”), court decisions, and current

        administrative rulings and practice. This summary does not address the federal income tax

        consequences of the Plan to holders of priority or secured claims, nor does it address any state,

        local or foreign tax matters or the federal income tax consequences to certain types of creditors

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        taxpayers) to which special rules may apply. No rulings or opinions have been or will be requested

        from the Internal Revenue Service with respect to any of the tax aspects of the Plan.

                 THIS ANALYSIS DOES NOT ADDRESS THE TAX IMPLICATIONS OF THE PLAN

        TO ANY SPECIFIC CREDITOR. Substantial differences in the tax implications are likely to be

        encountered by the creditors because of the difference in the nature of their Claims, their taxpayer

        status, their method of accounting, and the impact of prior actions they may have taken with

        respect to their Claims.

                 The following are the anticipated tax consequences of the Plan:
                 A.     TAX CONSEQUENCES TO THE DEBTORS.

                 The Debtors do not anticipate any extraordinary or unusual tax consequences because all

        claims are expected to be paid in full. Debtors will experience ordinary income from continued

        operations and earnings and will be entitled to deduct business expenses for any business-related

        expenses and interest expense. Debtors do not anticipate any cancellation of debt income. In the

        event NW Cornell sells its real property, NW Cornell shall pay any applicable capital gains taxes

        that result from the sale.

                 B.     GENERAL TAX CONSEQUENCES ON CREDITORS.

                        Creditors will likely not experience any unusual or extraordinary tax consequence

        following Confirmation of the Plan. Payments will be treated in the same manner as they were

        treated before Confirmation of the Plan. As discussed above, the effect of the Plan on specific

        creditors will depend on specific financial information relative to such creditor that is unknown to

        the Debtors. As a result, the tax implications to specific creditors cannot be completely described

        herein

                 EACH INTEREST HOLDER IS URGED TO CONSULT SUCH INTEREST HOLDER’S

        OWN TAX ADVISOR AS TO THE CONSEQUENCES OF THE PLAN TO SUCH HOLDER

        UNDER FEDERAL AND APPLICABLE STATE, LOCAL, AND FOREIGN TAX LAWS.



Page 34 of     FIRSTSECOND AMENDED DEBTORS’ JOINT DISCLOSURE                            MOTSCHENBACHER & BLATTNER LLP
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        DEBTORS AND DEBTORS’ COUNSEL EXPRESS NO OPINION AS TO THE TAX

        CONSEQUENCES OF THE PLAN OR THE EFFECT THEREOF ON ANY CLAIMANT.

        X.       ACCEPTANCE AND CONFIRMATION OF THE PLAN

                 A.     CONFIRMATION HEARING

                 The Bankruptcy Court has scheduled a hearing on confirmation of the Plan on

        _______________, 2020the date and at ____.m Pacificthe time. The hearing and place set forth in

        the accompanying Order and will be held at the U.S. Bankruptcy Court for the District of Oregon,

        1050 SW 6th Avenue, 7th Floor, Portland, Oregon in Courtroom No. 3, before the Honorable
        David W. Hercher, United States Bankruptcy Judge. At that hearing, the Bankruptcy Court will

        consider whether the Plan satisfies the various requirements of the Bankruptcy Code, including

        whether it is feasible and whether it is in the best interest of Creditors and Interest holders of

        Debtors. Debtors will submit a report to the Bankruptcy Court prior to the hearing concerning the

        votes for acceptance or rejection of the Plan by the parties entitled to vote thereon. AnyTo be

        considered by the Court, any objection to confirmation of the Plan must be timely filed on or

        before _______________, 2020 to be considered by the Courtthe deadline set in the Order.

                 B.     REQUIREMENTS OF CONFIRMATION

                        At the hearing on confirmation, the Bankruptcy Court will determine whether the

        provisions of Section 1129 of the Bankruptcy Code have been satisfied. If all of the provisions of

        Section 1129 are met, the Bankruptcy Court may enter an order confirming the Plan. Debtors

        believe the Plan satisfies all of the requirements of Chapter 11 of the Bankruptcy Code, that it has

        complied or will have complied with all of the requirements of Chapter 11, and that the Plan has

        been proposed and is made in good faith.

                 C.     CRAMDOWN

                 A Court may confirm a Plan, even if it is not accepted by all impaired classes, if the Plan

        has been accepted by at least one impaired class of claims and the Plan meets the cramdown

        requirements set forth in Section 1129(b) of the Bankruptcy Code. In the event any impaired Class

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        of Claims does not accept the Plan, Debtor hereby requests the Bankruptcy Court to confirm the

        Plan in accordance with Section 1129(b) of the Bankruptcy Code or otherwise permit Debtors to

        modify the Plan.

                 D.     FEASIBILITY

                 Debtors believe that confirmation of the Plan is not likely to be followed by the liquidation

        of either of the Reorganized Debtors or a need for a further financial reorganization of

        Reorganized Debtors. Debtors believe they can obtain financing through the Plan Loan in an

        amount sufficient to pay all creditors in full. The timing of the payments to Creditors will depend
        on the timing of the closing and the availability of funds under the Plan Loan.

                 E.     ALTERNATIVES TO CONFIRMATION OF THE PLAN

                 If a Plan is not confirmed, Debtors or another party in interest may attempt to formulate or

        propose a different Plan or Plans of Reorganization. Such Plans might involve the sale of

        Dinihanian’s other assets, an orderly liquidation of NW Cornell’s assets, or any combination

        thereof. If no Plan of Reorganization is determined by the Bankruptcy Court to be confirmable,

        the Chapter 11 case may be converted to a liquidation proceeding under Chapter 7 of the

        Bankruptcy Code.

                 In a liquidation, a Chapter 7 trustee would be appointed with the purpose of liquidating the

        assets of Debtors. Typically, in liquidation, assets are sold for less than their going concern value

        and, accordingly, the return to Creditors and Interest holders is less than the return in a

        reorganization, which derives the value to be distributed in a Plan from the business as a going

        concern. Proceeds from liquidation would be distributed to Creditors and Interest holders of

        Debtors in accordance with the priorities set forth in the Bankruptcy Code.

                 Debtors believe there is no currently available alternative that would offer holders of

        Claims and Interests in Debtors greater than the Plan and urges all parties entitled to vote on the

        Plan to vote to accept the Plan.



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        XI.      CONCLUSION

                Please read this Disclosure Statement and the Plan carefully. After reviewing all the

        information and making an informed decision, please vote by using the enclosed ballot.

                DATED this 13th22 day of October 2020July 2021.

                                                Respectfully submitted,

                                                PERKINS COIE LLP

                                                By /s/ Douglas Pahl
                                                   Douglas Pahl, OR Bar No. 950476
                                                   Of Attorneys for Debtor 15005 NW Cornell LLC


                                                MOTSCHENBACHER & BLATTNER LLP

                                                By /s/ Nicholas J. Henderson
                                                   Nicholas J. Henderson, OSB No. 074027
                                                       Of Attorneys for Debtor Vahan M. Dinihanian, Jr




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        EXHIBITS ATTACHED:

        Exhibit 1: Joint Plan of Reorganization


        Exhibit 2: Term Sheet


        Exhibit 3: Projected Use of Funds


        Exhibit 4: Liquidation Analysis




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   Exhibit 1
 Joint Plan of
Reorganization




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         Of Attorneys for 15005 NW Cornell LLC



                          UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF OREGON

In re:                                           Bankruptcy Case Nos.:

   15005 NW Cornell LLC; and                     19-31883-dwh11 (Lead Case)
   Vahan M. Dinihanian, Jr.,                     19-31886-dwh11

                        Debtors.                 Jointly Administered Under
                                                 Case No. 19-31883-dwh11

                                                 DEBTORS’ FIRSTSECOND AMENDED
                                                 JOINT PLAN OF REORGANIZATION
                                                 DATED JULY 3122, 20202021




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               15005 NW Cornell LLC, as debtor and debtor-in-possession (“NW Cornell”) and Vahan

       M. Dinihanian, Jr., as debtor-in-possession (“Dinihanian”) (collectively, the “Debtors”), propose

       this Joint Plan of Reorganization dated July 31, 2020 (the “Plan”) pursuant to Section 1121(a) of

       Title 11 of the United States Code.

               This Plan provides for the repayment in full of all obligations Debtors owe to their

       Creditors. A Disclosure Statement is enclosed herewith to assist you in understanding this Plan

       and making an informed judgment concerning its terms. All creditors are encouraged to read the

       Plan and the Disclosure Statement and their respective exhibits in their entirety before voting to
       accept or reject the Plan. No materials other than the Disclosure Statement and the exhibits

       attached thereto have been authorized by the Bankruptcy Court for use in soliciting acceptances or

       rejections of the Plan. The Debtors reserve the right to alter, amend, modify, revoke or withdraw

       this Plan prior to its substantial consummation.

                                                   ARTICLE 1

                                                 DEFINITIONS

               Definitions of certain terms used in this Plan are set forth below. Other terms are defined in

       the text of this Plan or the text of the Disclosure Statement. In either case, when a defined term is

       used, the first letter of each word in the defined term is capitalized. Terms used and not defined in

       this Plan or the Disclosure Statement shall have the meanings given in the Bankruptcy Code or

       Bankruptcy Rules, or otherwise as the context requires. The meanings of all terms shall be equally

       applicable to both the singular and plural, and masculine and feminine, forms of the terms defined.

       The words “herein,” “hereof,” “hereto,” “hereunder,” and others of similar import, refer to the Plan

       as a whole and not to any particular section, subsection or clause contained in the Plan. Captions

       and headings to articles, sections and exhibits are inserted for convenience of reference only and

       are not intended to be part of or to affect the interpretation of the Plan. The rules of construction

       set forth in Section 102 of the Bankruptcy Code shall apply. In computing any period of time

       prescribed or allowed by the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply. Any


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       capitalized term that is not defined herein but is defined in the Bankruptcy Code shall have the

       meaning ascribed to such term in the Bankruptcy Code.

               1.1     “Administrative Expense Claim” means any Claim entitled to the priority afforded

       by Sections 503(b) and 507(a)(1) of the Bankruptcy Code.

               1.2     “Allowed” means, with respect to any Claim, proof of which has been properly

       Filed or, if no Proof of Claim was so Filed, which was or hereafter is listed on the Schedules as

       liquidated in amount and not disputed or contingent, and, in either case, a Claim as to which no

       objection to the allowance thereof, or motion to estimate for purposes of allowance, shall have
       been Filed on or before any applicable period of limitation that may be fixed by the Bankruptcy

       Code, the Bankruptcy Rules and/or the Bankruptcy Court, or as to which any objection, or any

       motion to estimate for purposes of allowance, shall have been so Filed, to the extent allowed by a

       Final Order.

               1.3     “Allowed Secured Claim” means an Allowed Claim that is secured by a lien,

       security interest or other charge against or interest in property in which one of the Debtors has an

       interest or that is subject to setoff under Section 553 of the Bankruptcy Code, to the extent of the

       value (as set forth in the Plan, or if no value is specified, as determined in accordance with Section

       506(a) of the Bankruptcy Code or, if applicable, Section 1111(b) of the Bankruptcy Code) of the

       interest of the holder of such Claim in Debtor’s interest in such property or to the extent of the

       amount subject to setoff, as the case may be.

               1.4     “Allowed Unsecured Claim” means an Allowed Claim that is not an Allowed

       Secured Claim.

               1.5     “Bankruptcy Cases” means, collectively, the NW Cornell Bankruptcy Case and the

       Dinihanian Bankruptcy Case.

               1.6     “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as amended from

       time to time, set forth in Sections 101 et seq. of Title 11 of the United States Code.

               1.7     “Bankruptcy Court” means the United States Bankruptcy Court for the District of

       Oregon, or such other court that exercises jurisdiction over the Bankruptcy Cases or any
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       proceeding therein, including the United States District Court for the District of Oregon, to the

       extent that the reference to the Bankruptcy Cases or any proceeding therein is withdrawn.

               1.8    “Bankruptcy Rules” means, collectively, the Federal Rules of Bankruptcy

       Procedure, as amended and promulgated under Section 2075, Title 28, of the United States Code,

       and the local rules and standing orders of the Bankruptcy Court.

               1.9    “Bateman Seidel Trust Deed” means the Trust Deed recorded as instrument

       number 2019-007750 in the real property records of Multnomah County, Oregon.

               1.10   “Bateman Seidel Claim” means the Claim associated with the Bateman Seidel
       Trust Deed.

               1.11   “Business Day” means a day other than a Saturday, Sunday or other day on which

       banks in Portland, Oregon are authorized or required by law to be closed.

               1.12   “Cash” means lawful currency of the United States of America.

               1.13   “Claim” means (a) any right to payment from Debtors arising before the Effective

       Date, whether or not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent,

       matured, unmatured, disputed, undisputed, legal, equitable, secured or unsecured; or (b) any right

       to an equitable remedy against Debtors arising before the Effective Date for breach of performance

       if such breach gives rise to a right of payment from Debtors, whether or not such right to an

       equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed,

       undisputed, secured or unsecured.

               1.14   “Class” means one of the classes of Claims defined in Article 3 hereof.

               1.15   “Collateral” means any property in which Debtors has an interest that is subject to

       an unavoidable lien or security interest securing the payment of an Allowed Secured Claim.

               1.16    “Columbia” means Columbia State Bank.

               1.17   “Columbia Loan Documents” means all loan documents entered into by and

       between Columbia and Dinihanian, including:




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                      (a)    Commercial Promissory Note dated October 6, 2015, between Vahan M.
                             Dinihanian, Jr. (borrower) and Columbia State Bank (lender) (the
                             “Columbia Equipment Note”);

                      (b)    Commercial Promissory Note dated November 4, 2016, between Vahan
                             Dinihanian, Jr. (borrower) and Columbia State Bank (lender) (the
                             “Columbia Real Estate Note”);

                      (c)    Commercial Deed of Trust dated November 4, 2016, among Vahan 8340
                             NW Cornell LLC and Vahan 8344 NW Cornell LLC (as grantors), Fidelity
                             National Title Company of Oregon (as trustee), and Columbia State Bank
                             (as lender) (the “83rd Street Deed of Trust”);

                      (d)    Hypothecation Agreement Security Agreement-Pledge dated November 4,
                             2016, among Vahan Dinihanian, Jr. (as borrower), Vahan 8344 NW Cornell
                             LLC (as pledger) and Columbia State Bank (as lender) (the “83rd Street
                             Security Agreement”);

                      (e)    Commercial Guaranty dated August 12, 2015, among Columbia State Bank
                             (lender), Vahan IV NW Tenth LLC (borrower), and Vahan Dinihanian, Jr.
                             (guarantor) related to Loan No. XXXX1263 (“Columbia Guaranty One”);

                      (f)    Commercial Guaranty dated September 4, 2015, among Columbia State
                             Bank (lender), Vahan IV NW Tenth LLC (borrower), and Vahan
                             Dinihanian, Jr. (guarantor) related to Loan No. XXXX1472 (“Columbia
                             Guaranty Two”); and

                      (g)    Commercial Security Agreement dated October 6, 2015, between Vahan M.
                             Dinihanian, Jr. (borrower) and Columbia State Bank (lender) (the
                             “Equipment Security Agreement”).
               1.18   The “Columbia Guaranty Documents” means, collectively, Columbia Guaranty

       One and Columbia Guaranty Two.

               1.19   “Confirmation Date” means the date on which the Confirmation Order is entered

       on the docket by the Clerk of the Bankruptcy Court.

               1.20   “Confirmation Order” means the order of the Bankruptcy Court confirming the

       Plan in accordance with the provisions of Chapter 11 of the Bankruptcy Code.

               1.21   “Cornell Property” means the real estate and improvements located at 15005 NW

       Cornell Rd., City of Beaverton, State or Oregon, more particularly described in Exhibit A hereto.

               1.22   “Cornell Property Revesting Date” means that date upon which (a) all Claims have

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       been paid as provided under this Plan, and (b) NW Cornell has notified the Court it will not utilize

       the authority provided in Section 363(h) of the Bankruptcy Code.

               1.23   “Creditor” means any entity holding a Claim against Debtor.

               1.24   “Debtors” means, collectively, 15005 NW Cornell LLC., as Debtor and

       Debtor-in-Possession in the NW Cornell Bankruptcy Case and Vahan M. Dinihanian, Jr., as

       Debtor-in-Possession in the Dinihanian Bankruptcy Case.

               1.25   “Dinihanian Bankruptcy Case” means the Chapter 11 case filed by Vahan M.

       Dinihanian, Jr., Case No. 19-31886-dwh11, pending in the United States Bankruptcy Court for the
       District of Oregon.

               1.26   “Dinihanian Petition Date” means May 21, 2019, the date on which the petition

       commencing the Dinihanian Bankruptcy Case was filed.

               1.27   “Disclosure Statement” means Debtors’ First Amended Disclosure Statement as

       amended, modified, restated or supplemented from time to time, pertaining to the Plan.

               1.28   “Disputed Claim” means a claim with respect to which a Proof of Claim has been

       timely Filed or deemed timely Filed under applicable law, and as to which an objection, timely

       Filed, has not been withdrawn on or before the Effective Date or any date fixed for filing such

       objections by order of the Bankruptcy Court, and has not been denied by a Final Order and which

       Claim has not been estimated or temporarily allowed by the Bankruptcy Court on timely motion by

       the holder of such Claim. If an objection related to the allowance of only a part of a Claim has

       been timely Filed or deemed timely Filed, such claim shall be a Disputed Claim only to the extent

       of the objection.

               1.29   “Divorce Judgment” means the General Judgment of Dissolution of Marriage

       entered on or about March 22, 2016, in the matter of Tasha L Dinihanian vs. Vahan M Dinihanian,

       Circuit Court for the State of Oregon, Multnomah County Case Number 120868730.

               1.30   “Effective Date” means the eleventh day following the date the Confirmation Order

       is entered.

               1.31 “Filed” means filed with the Bankruptcy Court in the Bankruptcy Case.
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               1.32    “Final Order” means an order or judgment entered on the docket by the Clerk of the

       Bankruptcy Court or any other court exercising jurisdiction over the subject matter and the parties

       that has not been reversed, stayed, modified, appealed or amended and as to which the time for

       filing a notice of appeal, or petition for certiorari or request for certiorari, or request for rehearing

       shall have expired.

               1.33    “Guaranty Documents” means any documents evidencing contingent unsecured

       guaranty liabilities of Dinihanian.

               1.34    “Insider” shall have the meaning ascribed to it by Section 101(31) of the
       Bankruptcy Code.

               1.35    “Interests” means all rights of the owners of the membership interests of NW

       Cornell.

               1.36    “Lorenz Trust Deed” means the Trust Deed recorded as instrument number

       2019-007750 in the real property records of Multnomah County, Oregon.

               1.37    “Lorenz Claim” means the claim associated with the Lorenz Trust Deed.

               1.38    “Net Proceeds” means the funds available to distribute to Allowed Claims after

       payment of all costs of sale, and liquidation of any item of Debtors’ property after reduction for

       any and all fees and liquidation expenses at the closing of such sale, payments of any and all prior,

       valid encumbrances, taxes, fees and expenses, including legal and accounting, related to the sale.

               1.39    “NW Cornell” means 15005 NW Cornell LLC.

               1.40    “NW Cornell Bankruptcy Case” means the Chapter 11 case filed by 15005 NW

       Cornell LLC, Case No. 19-31883-dwh11 pending in the United States Bankruptcy Court for the

       District of Oregon.

               1.41    “NW Cornell Petition Date” means May 21, 2019, the date on which the petition

       commencing the NW Cornell Bankruptcy Case was filed.

               1.42    “Organizational Documents” means the governing documents for NW Cornell or

       any other applicable entity.

               1.43 “Other Priority Claim” means any Claim for an amount entitled to priority in right
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       of payment under Section 507(a)(3), (4), (5), (6), or (7) of the Bankruptcy Code.

               1.44    “Plan” means this First Amended Joint Plan of Reorganization, as amended,

       modified, restated or supplemented from time to time.

               1.45    “Plan Loan” means a secured credit facility obtained by NW Cornell as borrower,

       in an amount of not less than $5,500,000 secured by first-priority deeds of trust on NW Cornell’s

       interest in the Cornell Property and the Mr. Dinihanian’s interest in the Skyline Property and on

       terms otherwise provided in the applicable Plan Loan documents.

               1.46    “Priority Tax Claim” means a Claim of a governmental unit of the kind entitled to
       priority under Section 507(a)(8) of the Bankruptcy Code or that would otherwise be entitled to

       priority but for the secured status of the Claim.

               1.47    “Reorganized NW Cornell” means NW Cornell from and after the Effective Date.

               1.48    “Reorganized Dinihanian” means Dinihanian from and after the Effective Date.

               1.49    “Reorganized Debtors” means both Debtors from and after the Effective Date.

               1.50    “Restated Articles of Organization” means the restated articles of organization and

       restated operating agreement (“Organizational Document”) of NW Cornell which shall modify

       and amend Debtor’s Organizational Documents to prohibit the issuance of non-voting equity

       securities to the extent required by Section 1123(a)(6) of the Bankruptcy Code and make such

       other changes, as Reorganized NW Cornell may deem necessary or appropriate to carry out the

       purpose and intent of the Plan.

               1.51    “Scheduled Amounts” means the amounts of any Claim appearing in Debtors’

       Schedules.

               1.52    “Schedules” means the Schedules of Assets and Liabilities and the Statement of

       Financial Affairs Filed by Debtors pursuant to Section 521 of the Bankruptcy Code, as amended,

       modified, restated or supplemented from time to time.

               1.53    “Secured Claim” means any Claim against either of the Debtors held by any entity,

       including, without limitation, an Affiliate or judgment creditor of Debtors, to the extent such

       Claim constitutes an unavoidable secured Claim under Sections 506(a) or 1111(b) of the
Page 7 of 23   DEBTORS’ FIRSTSECOND AMENDED JOINT PLAN OF                         MOTSCHENBACHER & BLATTNER LLP
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       Bankruptcy Code.

               1.54    “Skyline Property” means the real property located at 237 NW Skyline Blvd.,

       Portland, Oregon 97210, including any and all improvements located thereon, all easements, all

       water rights and all other rights of every nature appurtenant to such real property.

               1.55    “Teherani-Ami Cornell Deed of Trust” means the Trust Deed, Security Agreement,

       Assignment of Leases, and Rents, and Fixture Filing recorded as instrument number 2016-008669

       in the real property records of Washington County, Oregon.

               1.56    “Teherani-Ami Skyline Deed of Trust” means the Residential Trust Deed recorded
       as instrument number 2016-014522 in the real property records of Multnomah County, Oregon.

               1.57    “Trust” means the Sonja Dinihanian GST Trust DTS 1/1/11, which is an owner of

       50 percent of the membership interest in Cornell LLC.

               1.58    “Trust Claim” means the specific performance Claim by the Trust for the

       immediate transfer of a deed to half of NW Cornell’s undivided tenant-in-common interest in the

       Cornell Property in exchange for redemption of the Trust’s half membership interest in NW

       Cornell, pursuant to the Divorce Judgment and as set forth in late-filed Claim No. 6.

               1.59    “Unsecured Claim” means an unsecured Claim that is not an Administrative Claim,

       a Secured Claim, an Other Priority Claim, or a Priority Tax Claim.

               1.60    “Unsecured Creditor” means a holder of an Allowable Unsecured Claim.

                                                   ARTICLE 2

                                           UNCLASSIFIED CLAIMS

               2.1     Administrative Expense Claims. Each holder of an Allowed Administrative

       Expense Claim shall be paid by Debtors in full in Cash on the later of (a) the Effective Date or (b)

       the date on which such Claim becomes Allowed, unless such holder shall agree in writing to a

       different treatment of such Claim (including, without limitation, any different treatment that may

       be provided for in any documentation, statute or regulation governing such Claim); provided,

       however, that Administrative Expense Claims representing obligations incurred in the ordinary

       course of business by Debtors during the Bankruptcy Case shall be paid by Debtors or
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       Reorganized Debtors in the ordinary course of business and in accordance with any terms and

       conditions of the particular transaction, and any agreements relating thereto.

               2.2     Priority Tax Claims. Each holder of an Allowed Priority Tax Claim shall be paid

       by Debtors the full amount of its Allowed Priority Tax Claim as allowed by 11 U.S.C. §

       1129(a)(9)(C) and (D) within 30 days following the Effective Date or the date the claim is

       Allowed, whichever first occurs.

               2.3     Other Priority Claims. Each holder of an Other Priority Claim shall be paid in full

       in cash the amount of its Allowed Claim on the latest to occur of (1) the Effective Date, (2) the date
       such claim becomes an Allowed Claim or (3) the date that such claim becomes due and owing,

       unless such holder shall agree in writing or has agreed to a different treatment of such Claim

       (including, without limitation, any different treatment that may be provided for in any

       documentation, agreement, contract, statute, law or regulation creating and governing such

       Claim).

               2.4     Bankruptcy Fees. Fees payable by Debtors under 28 U.S.C. § 1930, or to the Clerk

       of the Bankruptcy Court, will be paid in full in Cash on the Effective Date. After confirmation,

       Reorganized Debtors shall continue to pay quarterly fees of the Office of the United States Trustee

       and file quarterly reports with the Office of the United States Trustee until this case is closed by the

       Court, dismissed or converted. This requirement is subject to any amendments to 28 U.S.C. §

       1930(a)(6) that Congress makes retroactively applicable to confirmed Chapter 11 cases.

                                                   ARTICLE 3

                                               CLASSIFICATION

               For purposes of this Plan, Claims and Interests are classified as provided below. A Claim

       is classified in a particular Class only to the extent that such Claim qualifies within the description

       of such Class and is classified in a different Class to the extent that such Claim qualifies within the

       description of such different Class.




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                3.1   Class 1 – Tasha Teherani-Ami’s Secured Claim against Dinihanian. Class 1

       consists of the disputed Secured Claim of Tasha Teherani-Ami pursuant to the Teherani-Ami

       Skyline Trust Deed.

                3.2   Class 2 – General Unsecured Claims against NW Cornell. Class 2 consists of

       all Allowed Unsecured Claims against NW Cornell, other than Administrative Expense Claims,

       and Priority Tax Claims.

                3.3   Class 3 – Trust Claim against NW Cornell. Class 3 consists of the Disputed

       Trust Claim to ownership in the Cornell Property as a result of the Divorce Judgment.
                3.4   Class 4 – Multnomah County Div. of Assessment, Recording and Taxation.

       Class 4 is the Allowed Secured Claim of Multnomah County for property taxes assessed against

       the Skyline Property.

                3.5   Class 5 – Tasha Teherani-Ami’s Secured Claim against NW Cornell. Class 5

       consists of the Allowed Secured Claim of Tasha Teherani-Ami against Dinihanian pursuant to the

       Divorce Judgment and Teherani-Ami Cornell Trust Deed.

                3.6   Class 6 – Bateman Seidel Claim against Dinihanian. Class 6 consists of the

       Allowed Claim of Bateman Seidel, PC against Dinihanian associated bywith the Bateman Seidel

       Trust Deed.

                3.7   Class 7 – Lorenz Claim against Dinihanian. Class 7 consists of the Allowed

       Claim of Daniel Lorenz against Dinihanian associated by the Lorenz Trust Deed.

                3.8   Class 8 – Columbia Bank’s Secured Claim against Dinihanian (Equipment).

       Class 8 consists of the Allowed Secured Claim of Columbia State Bank against Dinihanian

       pursuant to the Columbia Equipment Note and the Equipment Security Agreement.

                3.9   Class 9 – Columbia Bank’s Secured Claim against Dinihanian (Real Estate).

       Class 9 consists of the Allowed Secured Claim of Columbia State Bank against Dinihanian

       pursuant to Columbia Real Estate Note, the 83rd Street Deed of Trust and the 83rd Street Security

       Agreement.


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                3.10   Class 10 – Guaranty Claims against Dinihanian. Class 10 consists of the

       Allowed unsecured Guaranty Claims Dinihanian pursuant to the Columbia Guaranty Documents

       and other Guaranty Documents.

                3.11   Class 11 – General Unsecured Claims against Dinihanian. Class 11 consists of

       all Allowed Unsecured Claims against Dinihanian, other than Administrative Expense Claims, and

       Priority Tax Claims.

                3.12   Class 12 – Interests of NW Cornell. Class 12 consists of the Interests of the

       holders of NW Cornell’s membership interests.
                3.13   Class 13 – Dinihanian’s Interests in the Dinihanian Bankruptcy Case Estate.

       Class 13 consists of Dinihanian’s interest in property of the estate of the Dinihanian Bankruptcy

       Case.

                                                 ARTICLE 4

                                TREATMENT OF UNIMPAIRED CLASSES

                4.1    Class 1 (Tasha Teherani-Ami’s Secured Claim Against Dinihanian). Class 1

       consists of Tasha Teherani-Ami’s Secured Claim against Dinihanian. The Class 1 Claim will be

       paid in full on the Effective Date, together with interest at the rate of 4.5% per annum from and

       after the Petition Date, reasonable costs and attorney fees. Class 1 is unimpaired under the Plan.

                4.2    Class 5 (Tasha Teherani-Ami’s Secured Claim Against NW Cornell). The

       Class 5 Claim consists of Tasha Teherani-Ami’s allowed secured claim against NW Cornell

       pursuant to the Divorce Judgment and the Teherani-Ami Cornell Trust Deed. The Class 5 Claim

       represents the same debt as the Class 1 Claim. The Class 5 Claim shall be paid at the same time

       and in the same manner as the Class 1 Claim, described above. The Class 5 Claim is unimpaired

       under the Plan.

                4.3    All other Classes of Claims against NW Cornell and Dinihanian are impaired under

       the Plan.




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                                                 ARTICLE 5

                                TREATMENT OF IMPAIRED CLASSES

            5.1     Class 2 (General Unsecured Claims Allowed Against NW Cornell).

            Class 2 consists of all Allowed Unsecured Claims against NW Cornell that are not

     otherwise classified in the Plan. Each holder of a Class 2 Claim shall be paid in full together with

     interest at the federal judgment rate (fixed at the rate in effect on the Effective Date) from and after

     the Effective Date, until paid in full, from the proceeds of the Plan Loan, not later than six months

     after the Effective Date. Class 2 Claims are impaired under the Plan.
            5.2     Class 3 (Trust Claim Against NW Cornell).

            Class 3 consists of the disputed Trust Claim of the Sonja Dinihanian GST Trust DTS

     1/1/11. The Class 3 Claim will (a) retain its prepetition membership interest in Cornell LLC as the

     Reorganized Debtor or (b) receive such alternative relief as ordered by the Court, including in

     Adv. Pro. No. 20-03077, Adv. Pro. No. 20-03079 and the claim objection found at Docket No.

     258, in full satisfaction of the Trust Claim. The Class 3 Claim is impaired under the Plan.

            5.3     Class 4 (Multnomah County Property Taxes).

            Class 4 consists of Multnomah County’s secured property tax claim against Dinihanian,

     secured by the Skyline Property. The Class 4 Claim shall be paid in full, together with interest at

     the rate of 16% per annum from and after the Petition Date. The Class 4 Claim shall be paid as in

     the same manner as Class 2 claims.

            5.4     Class 6 (Bateman Seidel Claim Against Dinihanian). Class 6 consists of the

     claim of Bateman Seidel, PC, against Dinihanian for legal services provided to Dinihanian and

     evidenced by a trust deed. The Class 6 Claim shall be paid in at the same time and in the same

     manner as Class 2 Claims, described above.

            5.5     Class 7 (Lorenz Claim Against Dinihanian). Class 7 consists of the claim of

     Daniel Lorenz, against Dinihanian for legal services provided to Dinihanian and evidenced by a

     trust deed. The Class 7 Claim shall be paid in at the same time and in the same manner as Class 2

       Claims, described above.
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                5.6      Class 8 (Columbia Bank – Equipment Loan). Class 8 consists of the Allowed

       Secured Claim of Columbia Bank, relating to the Columbia Equipment Note. Any default that

       exists under the Columbia Loan Documents shall be deemed cured or waived as of the Effective

       Date. Columbia’s Class 8 Claim will be paid in full together with interest at the non-default rate

       under the Columbia Equipment Note, on the same terms and payments as set forth in the Columbia

       Equipment Note, commencing with the first payment due 60 days after the Effective Date. The

       Columbia Equipment Note will remain in effect except as stated below:

                     The maturity date will be delayed for the amount of time between the Petition Date and
                      the date on which the first payment is due to the Class 7 Claim under the terms of this
                      Plan.

                     The Columbia Equipment Note shall be amended to delete any reference to the note
                      being payable on demand.

                     The following language shall be added to the end of Section X:

                      “Notwithstanding the foregoing, the Obligations shall not be accelerated as
                      a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                      commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                      filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                      Case Number 19-31883-dwh11.”
                5.7      Class 9 (Columbia Bank – Real Estate Loan). Class 9 consists of the Allowed

       Secured Claim of Columbia Bank, relating to the Columbia Real Estate Note. Any default that

       exists under the Columbia Loan Documents shall be deemed cured or waived as of the Effective

       Date. The Class 9 Claim will be paid in full together with interest at the non-default rate under the

       Columbia Real Estate Note, on the same terms and payments as set forth in the Columbia Real

       Estate Note. The Columbia Real Estate Note will remain in effect except as stated below:

                     The Columbia Real Estate Note shall be amended to delete any reference to the note
                      being payable on demand.

                     The following language shall be added to the end of Section X:

                     “Notwithstanding the foregoing, the Obligations shall not be accelerated as
                     a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                     commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
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                      filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                      Case Number 19-31883-dwh11.”
                5.8      Class 10 (Guaranty Claims against Dinihanian). Class 10 consists of all allowed

       Guaranty Claims, including Columbia’s Allowed Claims related to the Columbia Guaranty

       Documents, and those related to other Guaranty Documents. Any default that exists under the

       Columbia Guaranty Documents or other Guaranty Documents shall be deemed cured or waived as

       of the Effective Date. The Columbia Guaranty Documents and other Guaranty Documents shall

       remain in effect, except as stated below:

                     The following language shall be added to the end of Section X of the Columbia
                      Guaranty Documents:

                      “Notwithstanding the foregoing, the Obligations shall not be accelerated as
                      a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                      commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                      filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                      Case Number 19-31883-dwh11.”
                5.9      Class 11 (General Unsecured Claims against Dinihanian). Class 11 consists of

       all Allowed unsecured claims against Dinihanian not otherwise classified in this Plan. Each holder

       of a Class 11 Claim shall be paid in full together with interest at the federal judgment rate (fixed at

       the rate in effect on the Petition Date) from and after the Petition Date, until paid in full. The Class

       11 Claims shall be paid at the same time and in the same manner as the Class 2 claim.

                5.10     Class 12 (Interests in NW Cornell). Class 12 Interests in NW Cornell will retain
       their interest in Reorganized NW Cornell in which case the Trust’s Class 12 Interests shall be

       redeemed.

                5.11     Class 13 (Dinihanian’s Interests). The Class 13 interest holder is Dinihanian,

       who shall retain his interests in property of the bankruptcy estate of the Dinihanian Bankruptcy

       Case.




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                                                    ARTICLE 6

                             DISPUTED CLAIMS; OBJECTIONS TO CLAIMS

               6.1     Disputed Claims; Objections to Claims. Only Claims that are allowed shall be

       entitled to distributions under the Plan. Debtors reserve the right to contest and object to any

       claims and previously Scheduled Amounts, including, without limitation, those Claims and

       Scheduled Amounts that are specifically referenced herein, are not listed in the Schedules, are

       listed therein as disputed, contingent and/or unliquidated in amount, or are listed therein at a

       different amount than the Debtors currently believe is validly due and owing. Unless otherwise
       ordered by the Bankruptcy Court, all objections to Claims and Scheduled Amounts (other than

       Administrative Expense Claims) shall be Filed and served upon counsel for Debtors and the holder

       of the Claim objected to on or before the later of (a) thirty (30) days after the Effective Date or (b)

       sixty (60) days after the date (if any) on which a Proof of Claim is Filed in respect of a Rejection

       Claim. The last day for filing objections to Administrative Expense Claims shall be set pursuant to

       an order of the Bankruptcy Court. All Disputed Claims shall be resolved by the Bankruptcy Court,

       except to the extent that (a) Debtors may otherwise elect consistent with the Plan and the

       Bankruptcy Code or (b) the Bankruptcy Court may otherwise order.

                                                    ARTICLE 7

                                     IMPLEMENTATION OF THE PLAN

               7.1     Path of Implementation. The Debtors will obtain the funds to pay Claims as

       provided in this Plan by borrowing sufficient funds through a Plan Loan to pay all Claims in full at

       the times and on the terms set forth herein. The Plan Loan is conditioned on the Plan providing

       that the Bankruptcy Court will retain jurisdiction to permit the Reorganized Debtor, until the

       Cornell Property Revesting Date, to pursue the authority under Section 363(h) of the Bankruptcy

       Code to sell the entirety of the Cornell Property, including the nondebtor portions, to permit the

       full implementation of the Plan and satisfaction of the terms of the Plan Loan.

               7.2     Setoffs. Debtors may, but shall not be required to, set off against any Claim and the

       distributions to be made pursuant to the Plan in respect of such Claim, any Claims of any nature
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       whatsoever which Debtors may have against the holder of such Claim, but neither the failure to do

       so nor the allowance of any Claim hereunder shall constitute a waiver or release of any such Claim

       Debtors may have against such holder.

                7.3   Corporate Action. Upon entry of the Confirmation Order by the Clerk of the

       Bankruptcy Court, all actions contemplated by the Plan shall be authorized and approved in all

       respects (subject to the provisions of the Plan), including, without limitation, the following: (a) the

       adoption and filing with the Secretary of State of the State of Oregon the Restated Articles of

       Organization, and (b) the execution, delivery and performance of all documents and agreements
       relating to the Plan and any of the foregoing. On the Effective Date, Reorganized Debtors, and the

       appropriate officers of Reorganized NW Cornell, are authorized and directed to execute and

       deliver the agreements, documents and instruments contemplated by the Plan and the Disclosure

       Statement in the name of and on behalf of the respective Reorganized Debtors. Both Reorganized

       Debtors may continue to act and make further amendments and elections as they may deem

       necessary or desirable.

                7.4   Saturday, Sunday, or Legal Holiday. If any payment or act under the Plan is

       required to be made or performed on a date that is not a Business Day, then the making of such

       payment or the performance of such act may be completed on the next succeeding Business Day

       but shall be deemed to have been completed as of the required date.

                7.5   Event of Default; Remedy. Any material failure by Reorganized Debtors to

       perform any term of this Plan, which failure continues for a period of fifteen Business Days

       following receipt by Reorganized Debtors of written notice of such default from the holder of an

       Allowed Claim to whom performance is due, shall constitute an Event of Default. Upon the

       occurrence of an Event of Default, the holder of an Allowed Claim to whom performance is due

       shall have all rights and remedies granted by law, this Plan or any agreement between the holder of

       such Claim and Debtors or Reorganized Debtors. An Event of Default with respect to one Claim

       shall not be an Event of Default with respect to any other Claim.


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                                                   ARTICLE 8

                        EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                8.1   Assumption. Except as may otherwise be provided, all executory contracts and

       unexpired leases of Debtors, which are not otherwise subject to a prior Bankruptcy Court order or

       pending motion before the Bankruptcy Court are assumed by and assigned to Reorganized Debtors

       on the Effective Date. The Confirmation Order shall constitute an order authorizing assumption

       and assignment of all executory contracts and unexpired leases except those otherwise specifically

       rejected or otherwise provided for or subject to other Court Order or pending motion. Reorganized
       Debtors shall promptly pay all amounts required under Section 365 of the Bankruptcy Code to cure

       any defaults and assume the executory contracts.

                8.2   Rejection Claims. Rejection Claims must be Filed no later than 30 days after the

       entry of the order rejecting the executory contract or unexpired lease or 30 days after the Effective

       Date, whichever is sooner. Any such Rejection Claim not Filed within such time shall be forever

       barred from assertion against Debtor, Reorganized Debtor, and its property and estates. Each

       Rejection Claim resulting from such rejection shall constitute a Class 2 Claim.

                                                   ARTICLE 9

                                        EFFECT OF CONFIRMATION

                9.1   Injunction. The effect of confirmation shall be as set forth in Section 1141 of the

       Bankruptcy Code. Except as otherwise provided in the Plan or in the Confirmation Order,

       confirmation of the Plan shall act as a permanent injunction applicable to entities against (a) the

       commencement or continuation, including the issuance or employment of process, of a judicial,

       administrative, or other action or proceeding against Reorganized Debtors that was or could have

       been commenced before the entry of the Confirmation Order, (b) the enforcement against either of

       the Reorganized Debtors or their assets of a judgment obtained before the Reorganized Debtors’

       respective petition dates, and (c) any act to obtain possession of or to exercise control over, or to

       create, perfect or enforce a lien upon all or any part of the assets.


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                9.2    Discharge. Except as otherwise expressly provided herein, the confirmation of the

       Plan shall, as of the Effective Date, discharge all Claims, to the fullest extent authorized or

       provided for by the Bankruptcy Code, including, without limitation, to the extent authorized or

       provided for by Sections 524 and 1141 thereof.

                                                  ARTICLE 10

                                      RETENTION OF JURISDICTION

                10.1   Jurisdiction of the Bankruptcy Court. Notwithstanding the entry of the

       Confirmation Order, the Court shall retain jurisdiction of this Chapter 11 Case pursuant to and for
       the purposes set forth in Section 1127(b) of the Bankruptcy Code and

                       (a)    to classify the Claim or interest of any Creditor or stockholder, reexamine

       Claims or Interests which have been owed for voting purposes and determine any objections that

       may be Filed to Claims or Interests,

                       (b)    to determine requests for payment of Claims entitled to priority under

       Section 507(a)(1) of the Bankruptcy Code, including compensation and reimbursement of

       expenses in favor of professionals employed at the expense of the Estate,

                       (c)    to avoid liens, transfers, or obligations or to subordinate Claims under

       Chapter 5 of the Bankruptcy Code,

                       (d)    to approve the assumption, assignment or rejection of an executory contract

       or an unexpired lease pursuant to this Plan,

                       (e)    to resolve controversies and disputes regarding the interpretation of this

       Plan,

                       (f)    to implement the provisions of this Plan, the Plan Loan and enter orders in

       aid of confirmation, including an action by the Reorganized Debtor Section 363(h) of the

       Bankruptcy Code brought prior to the Cornell Property Revesting Date,

                       (g)    to adjudicate adversary proceedings and contested matters pending or

       hereafter commenced in this Chapter 11 Case, and

                    (h)   to enter a final decree closing this Chapter 11 proceeding.
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                10.2   Failure of Bankruptcy Court to Exercise Jurisdiction. If the Bankruptcy Court

       abstains from exercising or declines to exercise jurisdiction over any matter arising under, arising

       in or related to the Chapter 11 Case, this Article shall not prohibit or limit the exercise of

       jurisdiction by any other court having competent jurisdiction with respect to such subject matter.

                                                  ARTICLE 11

                                      ADMINISTRATIVE PROVISIONS

                11.1   Modification or Withdrawal of the Plan. Debtors may alter, amend or modify the

       Plan pursuant to Section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 at any time prior
       to the time that the Bankruptcy Court has signed the Confirmation Order. After such time, and

       prior to the substantial consummation of the Plan, Debtors may, so long as the treatment of holders

       of Claims and Interests under the Plan is not adversely affected, institute proceedings in

       Bankruptcy Court to remedy any defect or omission or to reconcile any inconsistencies in the Plan,

       the Disclosure Statement or the Confirmation Order, and any other matters as may be necessary to

       carry out the purposes and effects of the Plan; provided, however, that prior notice of such

       proceedings shall be served in accordance with Bankruptcy Rule 2002.

                11.2   Revocation or Withdrawal of Plan. Debtors reserve the right to revoke or withdraw

       the Plan at any time prior to the Effective Date.

                11.3   Effect of Withdrawal or Revocation. If Debtors revoke or withdraw the Plan prior

       to the Effective Date, then the Plan shall be deemed null and void. In such event, nothing

       contained herein shall be deemed to constitute a waiver or release of any claims by or against

       Debtors or any other Entity or to prejudice in any manner the rights of Debtors or any Entity in any

       further proceeding involving Debtors.

                11.4   Nonconsensual Confirmation. Debtors shall request that the Bankruptcy Court

       confirm the Plan pursuant to Section 1129(b) of the Bankruptcy Code if the requirements of all

       provisions of Section 1129(a) of the Bankruptcy Code, except subsection 1129(a)(8), are met.




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                 REORGANIZATION DATED JULY 22, 2021                                            Portland, Oregon 97204
                                                                                                Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                                                                                                 www.portlaw.com
                            Case 19-31883-dwh11            Doc 401     Filed 07/22/21
                                                  ARTICLE 12

                                      MISCELLANEOUS PROVISIONS

                12.1   Revesting. Except for NW Cornell’s 50 percent tenant-in-common interest in the

       37-acre Cornell Property, which interest shall remain property of the estate of the NW Cornell

       bankruptcy until the Cornell Property Revesting Date, on the Effective Date, all property and

       assets of the estate of each of the Debtors shall revest in each of the respective Reorganized

       Debtors, free and clear of all claims, liens encumbrances, charges and other Interests of Creditors

       arising on or before the Effective Date, and Reorganized Debtors may operate, from and after the
       Effective Date, free of any restrictions imposed by the Bankruptcy Code or the Bankruptcy Court.

                12.2   Rights of Action. Except as otherwise expressly provided herein, any rights or

       causes of action (including, without limitation, any and all avoidance actions) accruing to Debtors

       shall remain assets of Reorganized Debtors. Reorganized Debtors may pursue such rights of

       action, as appropriate, in accordance with what is in its best interests and for their benefit.

                12.3   Governing Law. Except to the extent the Bankruptcy Code, the Bankruptcy Rules

       or other federal laws are applicable, the laws of the State of Oregon shall govern the construction

       and implementation of the Plan, and all rights and obligations arising under the Plan.

                12.4   Withholding and Reporting Requirements. In connection with the Plan and all

       instruments issued in connection therewith and distributions thereon, Debtors and Reorganized

       Debtors shall comply with all withholding, reporting, certification and information requirements

       imposed by any federal, state, local or foreign taxing authorities and all distributions hereunder

       shall, to the extent applicable, be subject to any such withholding, reporting, certification and

       information requirements. Entities entitled to receive distributions hereunder shall, as a condition

       to receiving such distributions, provide such information and take such steps as Reorganized

       Debtors may reasonably require to ensure compliance with such withholding and reporting

       requirements, and to enable Reorganized Debtors to obtain the certifications and information as

       may be necessary or appropriate to satisfy the provisions of any tax law.


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                                                                                            117 SW Taylor Street, Suite 300
                 REORGANIZATION DATED JULY 22, 2021                                             Portland, Oregon 97204
                                                                                                 Phone: 503-417-0500
                                                                                                  Fax: 503-417-0501
                                                                                                  www.portlaw.com
                            Case 19-31883-dwh11           Doc 401      Filed 07/22/21
                12.5   Time. Unless otherwise specified herein, in computing any period of time

       prescribed or allowed by the Plan, the day of the act or event from which the designated period

       begins to run shall not be included. The last day of the period so computed shall be included,

       unless it is not a Business Day, in which event the period runs until the end of the next succeeding

       day which is a Business Day.

                12.6   Addresses and Notices. If an Event of Default occurs, written notice of such

       Default shall be provided at the addresses for notices set forth below:


                                      To NW Cornell:

                                      15005 NW Cornell
                                      c/o Vahan M. Dinihanian, Jr.
                                      237 NW Skyline Blvd.
                                      Portland, OR 97210

                                      With a copy to:

                                      Douglas Pahl
                                      Perkins Coie LLP
                                      1120 N.W. Couch Street, 10th Floor
                                      Portland, OR 97209

                                      To Dinihanian:

                                      Vahan M. Dinihanian, Jr.
                                      237 NW Skyline Blvd.
                                      Portland, OR 97210

                                      With a copy to:

                                      Nicholas J. Henderson
                                      Motschenbacher & Blattner LLP
                                      117 SW Taylor Street, Suite 300
                                      Portland, OR 97204

                12.7   Section 1146(c) Exemption. Pursuant to Section 1146(c) of the Bankruptcy Code,

       the issuance, transfer or exchange of any security under the Plan, or the execution, delivery or

       recording of an instrument of transfer pursuant to, in implementation of or as contemplated by the

       Plan, or the revesting, transfer or sale of any real property of Debtors or Reorganized Debtors

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                                                                                         117 SW Taylor Street, Suite 300
                 REORGANIZATION DATED JULY 22, 2021                                          Portland, Oregon 97204
                                                                                              Phone: 503-417-0500
                                                                                               Fax: 503-417-0501
                                                                                               www.portlaw.com
                            Case 19-31883-dwh11          Doc 401     Filed 07/22/21
     pursuant to, in implementation of or as contemplated by the Plan, shall not be taxed under any state

     or local law imposing a stamp tax, transfer tax, or similar tax or fee. Consistent with the foregoing,

     each recorder of deeds or similar official for any city, county or governmental unit in which any

     instrument hereunder is to be recorded shall, pursuant to the Confirmation Order, be ordered and

     directed to accept such instrument without requiring the payment of any documentary stamp tax,

     deed stamps, transfer tax, intangible tax or similar tax.

            12.8    Severability. In the event that any provision of the Plan is determined to be

     unenforceable, such determination shall not limit or affect the enforceability and operative effect
     of any other provisions of the Plan. To the extent that any provision of the Plan would, by its

     inclusion in the Plan, prevent or preclude the Bankruptcy Court from entering the Confirmation

     Order, the Bankruptcy Court, on the request of Debtors, may modify or amend such provision, in

     whole or in part, as necessary to cure any defect or remove any impediment to the confirmation of

     the Plan existing by reason of such provision.

            12.9    Binding Effect. The provisions of the Plan shall bind Debtors, Reorganized

     Debtors and all holders of Claims and Interests, and their respective successors, heirs and assigns.

            12.10 Recordable Order. The Confirmation Order shall be deemed to be in recordable

     form and shall be accepted by any recording officer for filing and recording purposes without

     further or additional orders, certifications or other supporting documents.

            12.11 Plan Controls. In the event and to the extent that any provision of the Plan is

     inconsistent with the provisions of the Disclosure Statement, or any other instrument or agreement

     contemplated to be executed pursuant to the Plan, the provisions of the Plan shall control and take

     precedence.

            12.12 Effectuating Documents and Further Transactions. Debtors and Reorganized

     Debtors shall execute, deliver, file or record such contracts, instruments, assignments, and other

     agreements or documents, and take or direct such actions, as may be necessary or appropriate to

     effectuate and further evidence the terms and conditions of this Plan.

             DATED this 31st22 day of July 20202021.
Page 22 of 23 DEBTORS’ FIRSTSECOND AMENDED JOINT PLAN OF                               MOTSCHENBACHER & BLATTNER LLP
                                                                                         117 SW Taylor Street, Suite 300
              REORGANIZATION DATED JULY 22, 2021                                             Portland, Oregon 97204
                                                                                              Phone: 503-417-0500
                                                                                               Fax: 503-417-0501
                                                                                               www.portlaw.com
                          Case 19-31883-dwh11           Doc 401     Filed 07/22/21
                                Respectfully submitted,

                                PERKINS COIE LLP

                                By /s/ Douglas R. Pahl
                                   Douglas R. Pahl, OR Bar No. 950476
                                       Of Attorneys for Debtor 15005 NW Cornell LLC


                                MOTSCHENBACHER & BLATTNER LLP

                                By /s/ Nicholas J. Henderson
                                   Nicholas J. Henderson, OSB No. 074027
                                       Of Attorneys for Debtor Vahan M. Dinihanian, Jr




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                                                                             117 SW Taylor Street, Suite 300
                REORGANIZATION DATED JULY 22, 2021                               Portland, Oregon 97204
                                                                                  Phone: 503-417-0500
                                                                                   Fax: 503-417-0501
                                                                                   www.portlaw.com
                       Case 19-31883-dwh11    Doc 401     Filed 07/22/21
    Exhibit 2
   Term Sheet




Case 19-31883-dwh11   Doc 401   Filed 07/22/21
Term Sheet Date:                     October 1423, 2020

15005 NW Cornell, LLC
c/o Vahan M. Dinihanian, Jr.
237 NW Skyline Boulevard
Portland, Oregon 97210

                                   Secured Exit Financing
                               Summary of Terms and Conditions


Lender:                         SORFI, LLC, its successors and/or assigns.

Borrower:                       15005 NW Cornell, LLC, an Oregon limited liability company, a
                                Debtor-in-Possession under Chapter 11 of the Bankruptcy Code as
                                Case Number 19-31833-dwh11.

Loan Amount:                    $5,600,000

Collateral:                     All of the Borrower’s rights, title and interest in the real property and
                                improvements located at 15005 NW Cornell Road, Beaverton,
                                Washington County, Oregon (“Cornell Property”) and all of the
                                Limited Guarantor’s rights, title and interest in the real property
                                located at 237 NW Skyline Road, Portland, Multnomah County,
                                Oregon (“Skyline Property”)(collectively, the “Collateral”). For the
                                avoidance of doubt, following any partition order entered in relation
                                to the Cornell Property, the Lender will accept the final,
                                non-appealable order of the court with respect to partitioning such
                                that the Collateral interest in the Cornell Property shall be limited to
                                that portion of the Cornell Property in which 15005 NW Cornell,
                                LLC retains a continuing post-partition interest.

Loan Term/Maturity:             Seven hundred and thirty days (730) days commencing on the date
                                of funding of the Loan, at which date the Loan shall mature and
                                become payable in full.

Extensions:                     Borrower shall have the right to extend the Loan Term for two (2)
                                additional six (6) month periods (“Extended Loan Term”), subject to
                                the following:

                                    a) Borrower shall not have been in default, including
                                       applicable cure periods, at any time during the Loan Term
                                       and any Extended Loan Term;
                                    b) There have been no material negative changes in the
                                       Collateral, the Borrower, and the Limited Guarantor;
                                    c) Borrower shall notify Lender in writing not less than thirty
                                       (30) days prior to expiration of the then current Loan Term
                                       of its intent to extend the Loan (the “Extension Notice”);


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                     Case 19-31883-dwh11          Doc 401       Filed 07/22/21
                                    d) Borrower shall pay an “Extension Fee” equal to 1.00% of
                                       the Loan’s outstanding principal balance concurrent with
                                       the Extension Notice; and
                                    e) Borrower shall replenish any necessary reserves required by
                                       Lender in Lenders sole discretion for the Extended Loan
                                       Term concurrent with the Extension Notice.

Amortization:                   Interest Only.

Payments:                       Interest will be payable monthly, in arrears, on the 1st day of each
                                month until the Maturity Date, shall be prorated for any partial
                                months and interest shall be drawn from the Development and
                                Expense Reserve.

                                The Loan Documents shall provide for (a) a late charge of 5.00% of
                                any payment not received by the due date, (b) default interest of
                                24.00% upon and during an Event of Default, (c) the right of Lender
                                to accelerate the Loan without notice or grace periods in the event of
                                a payment default and (d) for additional remedies typical of a
                                transaction of this nature.

Interest Rate:                  12.00%

Origination Fee:                Borrower shall pay Lender an Origination Fee equal to 2.00% of the
                                Loan Amount. which shall be due and payable at Closing
                                (“Origination Fee”).

Underwriting Fee:               Borrower shall pay Lender an Underwriting Fee equal to $15,000,
                                which shall be due and payable at Closing (“Underwriting Fee”).

Prepayment:                     During the Loan Term, Borrower will be allowed to prepay the Loan
                                Amount, in full, at any time, provided Lender is repaid all
                                outstanding principal, accrued interest through the date of such
                                repayment, and any and all fees and expenses then due and owing.

Assumption:                     The Loan may not be assumed.

Transfer Provisions:            The Borrower may not transfer, pledge, assign, hypothecate or
                                encumber, in part or whole, any direct or indirect equity interests in
                                the Borrower.

Limited Guarantor:              Vahan M. Dinihanian, Jr., (“Dinihanian”) an individual and Debtor
                                under Chapter 11 of the Bankruptcy Code as Case Number
                                19-31886-dwh11. The Loan will be non-recourse as to Dinihanian,
                                subject to certain so called “Carve-outs” and his liability is limited to
                                the extent of his interest in the Skyline Property. The loan
                                documents will provide that Dinihanian and the Borrower will be
                                personally liable for losses incurred by Lender as a result of fraud or
                                intentional misrepresentation by Borrower or any guarantor in
                                connection with the Loan; the gross negligence or willful


                                                 Page 2 of 7


                       Case 19-31883-dwh11        Doc 401       Filed 07/22/21
                              misconduct of Borrower; the breach of any representation, warranty,
                              covenant or indemnification concerning hazardous substances; the
                              removal or disposal of any portion of the Property after the
                              occurrence of a default; the misapplication or conversion by
                              Borrower of any insurance proceeds or any awards in connection
                              with the condemnation of the Properties; and failure by Borrower to
                              pay charges for labor or materials or other charges that can create
                              Liens on any portion of the Properties.

                              The Loan shall be fully recourse to Dinihanian and Borrower in the
                              event that the first full monthly payment of principal and interest is
                              not paid when due; Borrower fails to permit on-site inspections of
                              the Property, fails to provide financial information or fails to
                              maintain its status as a single purpose entity; Borrower fails to obtain
                              Lender’s prior consent to any subordinate financing or other
                              voluntary Lien encumbering the Property; Borrower fails to obtain
                              Lender’s prior consent to any assignment, transfer, or conveyance of
                              the Property; Borrower files a voluntary petition under the
                              Bankruptcy Code or any other Federal or state bankruptcy or
                              insolvency law or Borrower files an answer consenting to or
                              otherwise acquiescing in or joining in any involuntary petition filed
                              against it under the Bankruptcy Code or any other Federal or state
                              bankruptcy or insolvency law.

Security for Loan:            The Loan shall be secured by a first deed of trust or first mortgage
                              and a perfected first security interest in the Collateral, all leases,
                              rents, income and profits therefrom, and all personal property, both
                              tangible and intangible (including replacements, substitutions and
                              after-acquired property) located thereon or used or intended to be
                              used in connection therewith.

Subordinate Financing:        No secondary financing or encumbrance, either secured or
                              unsecured, of any kind shall be permitted during the Loan Term
                              other than trade payables incurred in the Borrower’s normal course
                              of business.

Closing Date:                 Five business days after the Effective Date of Borrower’s Joint Plan
                              of Reorganization.

Development and Expense       Lender shall reserve $1,538,000 of the Loan Amount for funding the
Reserve:                      payment of development costs, including but not limited to
                              insurance premiums, real estate taxes and interest due under the
                              Loan, according to a cost breakdown and schedule approved by
                              Lender at Closing. The Development and Expense Reserve may be
                              broken in to one or more reserves for payment of interest, property
                              taxes, insurance premiums and development and construction costs,
                              and each such reserve shall be used solely for the designated
                              purpose. The Development and Expense Reserve shall not be
                              deemed an advance at Closing and shall be disbursed monthly upon
                              request according to the draw provisions of the Loan Documents.


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                     Case 19-31883-dwh11        Doc 401       Filed 07/22/21
                                 Conditions for disbursement of funds for costs incurred in
                                 connection with development and/or construction will include: The
                                 Lender receives a draw request no more often than once per month in
                                 a form and substance satisfactory to Lender; the Lender receives lien
                                 waivers acceptable to the Lender from all persons who supplied
                                 labor and/or materials to the Properties; the Lender receives
                                 date-down endorsements to its policy of title insurance showing no
                                 liens have been recorded against the Properties and no transfers or
                                 other instruments have been recorded in violation of the Loan
                                 Documents; no stop notice or lien claim or encumbrance has been
                                 filed with respect to the Properties; no event of default has occurred
                                 and is continuing; all representations and warranties of Borrower set
                                 forth in the Loan Documents are true and correct as of the date of
                                 Borrower’s request; Borrower provides evidence that all hard and
                                 soft construction costs will be paid in full from the then current
                                 disbursement; and Lender determines that the Loan is “in balance”
                                 as will be more particularly defined in the Loan Documents.

Material Adverse Change:         Lender shall have no obligation to close and fund the Loan if, at any
                                 time prior to funding, Lender determines, in its sole judgment, that
                                 there shall exist any material adverse circumstances or conditions
                                 regarding, or shall have occurred any material adverse change with
                                 respect to, the Collateral or its tenants, or the operations, business,
                                 assets, liabilities or condition (financial or otherwise) of Borrower,
                                 Limited Guarantor or any of their affiliates.

Interest Calculation:            Interest will be calculated on the basis of a 360-day year but charged
                                 for the actual days elapsed.

Closing Costs/Legal Fees:        From the loan proceeds, Borrower shall pay at Closing, the
                                 out-of-pocket expenses incurred by Lender in connection with the
                                 proposed Loan. Expenses shall include, but not be limited to, the
                                 fees and expenses that Lender may incur for outside legal counsel,
                                 fees of all third parties relating to the due diligence review to be
                                 undertaken by Lender and its third party consultants, title insurance,
                                 insurance review costs, the costs of reviewing operating statements,
                                 the cost of an appraisal, environmental reports, engineering and
                                 structural reports, zoning reports, survey updating and certificate,
                                 construction review costs and travel costs of Lender’s personnel and
                                 recordation costs.

Brokers:                         Borrower represents and warrants to Lender that neither it, nor any
                                 affiliate has engaged any broker, agent or finder to procure the
                                 proposed Loan contemplated by this Term Sheet or to otherwise
                                 finance the Collateral. Borrower hereby agrees to indemnify and
                                 hold harmless Lender and its affiliates against any and all loss, cost,
                                 damage, liability or expense incurred by Lender or its affiliates
                                 arising out of, or in connection with, a breach of the representations
                                 and warranties set forth in this paragraph.


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Loan Documents:               AllNot later than four weeks prior to the hearing on confirmation of
                              the Borrower’s Joint Plan of Reorganization., all loan documents,
                              including without limitation, the promissory note, loan agreement,
                              mortgage, deed of trust or security deed, fixture filing, assignment of
                              leases and rents, pledge and security agreement, UCC financing
                              statements, environmental and building laws indemnity and any
                              other documents required by Lender (collectively, “Loan
                              Documents”), shall be prepared by counsel for Lender and shall be
                              in all respects in form and substance satisfactory to Lender in its sole
                              discretion. The Loan Documents shall be filed with the Bankruptcy
                              Court and served on parties requesting special notice. The Loan
                              Documents will contain representations, warranties and covenants of
                              Borrower appropriate or customary for similar transactions. The
                              parties to this Term Sheet have included the primary terms of the
                              anticipated loan facility and anticipate such terms will be included in
                              the Loan Documents. No further agreements or documents
                              pertaining to the secured credit facility described in this Term Sheet
                              have been reached or exist.

Events of Default:            The Loan Documents will provide that certain acts, omissions or
                              events constitute “Events of Default” including, but not limited to:
                              the failure to pay the Loan in full by the Maturity Date; failure to
                              make any required monthly payment of principal or interest or any
                              other payment required under the Loan Documents when due;
                              failure to perform any other covenant, agreement or obligation to be
                              performed by Borrower under the Loan Documents if such failure is
                              not cured within thirty (30) days after written notice thereof; the
                              occurrence of any default by Borrower with respect to hazardous
                              substances; the occurrence of any transfer of the Properties or
                              interests in the Borrower without Lender’s consent; any
                              representation or warranty made by Borrower or Guarantor proves to
                              be false or misleading in any material respect; The filing of a
                              complaint for receivership or the filing of a voluntary or involuntary
                              petition for bankruptcy or for reorganization with respect to
                              Borrower or any Guarantor (other than the pending Bankruptcy
                              Cases); a final judgment, order, or decree for the payment of money
                              is rendered against Borrower or any Guarantor, and Borrower or
                              such Guarantor does not satisfy and pay the same or cause it to be
                              discharged within thirty (30) days from the entry thereof; Borrower
                              fails to maintain any of the insurance coverage required under the
                              Loan Documents; the occurrence of an uninsured casualty with
                              respect to any material portion of the Properties; or the Properties or
                              any part thereof is condemned or taken in any eminent domain or
                              other like proceeding. Lender will have all rights and remedies
                              under applicable law and agree, in the event of a foreclosure of the
                              Cornell Property, to provide notice required by law, as well as to
                              parties to the TIC agreement.

Assignability:                This Term Sheet may not be assigned, in whole or in part, by


                                              Page 5 of 7


                     Case 19-31883-dwh11        Doc 401       Filed 07/22/21
                             Borrower, by operation of law or otherwise, and is intended for the
                             benefit of the parties hereto and not for the benefit of any third
                             parties.

Governing Law:               This Term Sheet and the Loan Documents shall be governed by, and
                             construed in accordance with, the laws of the State of Oregon,
                             without regard to principles of conflicts of laws.

Conditions Precedent to      Borrower shall grant to Sortis Real Estate, LLC, a right of first
Closing:                     refusal to serve as the listing broker to market and sell the Cornell
                             Property. The details of this right of first refusal have not been
                             established. No further agreements or documents pertaining to the
                             right of first refusal described in this Term Sheet have been reached
                             or exist.

                             Borrower shall agree to (i) use its best efforts to complete or
                             otherwise resolve the partition litigation pending in Washington
                             County or (ii), in consultation with the Lender, make a determination
                             that completion of the partition litigation is not practicable within a
                             reasonable time and Borrower should pursue, through a reservation
                             of jurisdiction by the Bankruptcy Court, the sale of the entire Cornell
                             Property pursuant to Section 363(h) of the Bankruptcy Code. The
                             criteria used by Borrowers and Lender will include the length of time
                             required to complete the proposed partition, the difficulty and
                             expense involved in pursuing the partition if the co-owners of the
                             Cornell Property oppose partition, appeal any judgment in the
                             partition litigation, or if the co-owners otherwise try to block or
                             thwart Borrower’s efforts to finalize the partition of the Cornell
                             Property. Beyond the preceding, the details of how such
                             consultation shall occur have not been established. No further
                             agreements or documents pertaining to the consultation described in
                             this Term Sheet have been reached or exist.




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                    Case 19-31883-dwh11        Doc 401      Filed 07/22/21
       Exhibit 3
Projected Use of Funds




    Case 19-31883-dwh11   Doc 401   Filed 07/22/21
Exhibit 3 -- Projected Use of Funds


Teherani-Ami Claim                              $3,000,0002,900,000
Creditors, unsecured                             $300,000
Creditors, admin                                 $600,000800,000
Loan Transaction Costs                                  $35,000
Origination Fee                                   $112,000
Underwriting Fee                                   $15,000
Reserves / Future Development Costs / lender legal           $1,500,0001,438,000

Total Use of Funds                            $5,600,000

** Projections, subject to modification.




146047944.4
                      Case 19-31883-dwh11        Doc 401     Filed 07/22/21
     Exhibit 4
Liquidation Analysis




   Case 19-31883-dwh11   Doc 401   Filed 07/22/21
In re: 15005 NW Cornell, LLC                                                                          Exhibit 1
Case No. 19‐31883‐dwh11; and                                                                    Liquidation Analysis
In re: Vahan M. Dinihanian Jr.
Case No. 19‐31886‐dwh11
(Jointly Administered)



                                                                                                    Exhibit 1: Dinihanian Liquidation Analysis                         dkt. ___
                                                                                                                                                          1
Itemized below are any changes to the most recent bankruptcy Schedules A&B, attached/at docket # →→→                                                101
1. Total Value Real Property
                                                                $ 1,260,000.00 A/B.28. Tax Refunds                                            $               -
(Skyline and Welches Cabin):
Less: Anticipated Cost of Sale                                  $      (75,600.00) A/B.29. Family Support                                     $               -
Less: Property Taxes                                            $      (28,093.70) A/B.30. Amounts Owed to You                                $               -
Less: Bateman Seidel Lien (Skyline only)                        $     (182,238.71) A/B.31. Insurance Policies (Cash Value)                    $               -
Less: Teherani-Ami Lien (Skyline only)                          $ (2,600,000.00) A/B.32. Inheritance Interests                                $               -
2. Net Value, Sch. A property (not less than zero):             $      244,400.00 A/B.33. Claims Against Third-Parties                        $               -
                                                                                   A/B.34. Other Claims                                       $               -
3. Schedule B Property (Listed Below):                                             A/B.35. Other Financial Assets (specify):                  $               - Notes on valuation:
A/B.3. Vehicles                                                 $       76,500.00 A/B.53. Other Property of Any Kind (specify):                                 (1) Real estate valuation assumes 6% costs of
A/B.4. Watercraft                                               $             -          Claims related to DFPI 6                             $      250,000.00 sale.
A/B.6. Household goods and furnishings 2                        $       10,150.00        Claims against Kaine Group                           $        8,000.00 (2) All valuations estimates are from Debtor's
A/B.7. Electronics                                              $          500.00        Tax attributes (non-transferrable)                   $             - personal opinion of value, unless specifically
A/B.8. Collectibles 3                                           $        2,500.00 4. Adjusted total, Sch. B property                          $    7,943,159.90 stated otherwise.
A/B.9. Equipment for Sports/Hobbies                             $          500.00 5. Other (e.g., avoidance actions-itemize)                  $             -
A/B.10. Firearms                                                $          500.00 6. Total Assets (ln.2+4+5)                                  $    8,187,559.90
A/B.11. Clothes                                                 $          500.00 7. Claims Senior to General Unsecured Claims                                        Hypothetical chapter 7 trustee fees
A/B.12. Jewelry                                                 $             - 7a. Secured claims not already accounted for:                 $             -    $ 8,187,559.90 Total disbursements
A/B.13. Non-farm Animals                                        $           50.00 7b. Chapter 7: trustee fees (from sidebar)                  $      268,876.80 $               - Minus exemptions
A/B.14. Other Personal and Household Items                      $             - 7c. Chapter 7: other costs of administration                  $             -    $              - Minus adjustments*
A/B.16. Cash                                                    $          100.00 7d. Chapter 11: unpaid professionals' fees                  $      225,000.00 $ 8,187,559.90 = Net disbursements
A/B.17. Checking Account                                        $        6,866.94 7e. Chapter 11: other administrative costs                  $             -                    § 326 calculations
A/B.18. Stocks (Publicly Traded), Bonds, Etc.                          $       37,608.89 7f. Priority claims (bankruptcy Schedule E)          $               -   $         5,000.00 X 25%= $             1,250.00
A/B.19. Closely Held Business Interests 4                              $   7,549,384.07   7g. Debtor's exemptions (bankr. Sch.C)                                $         45,000.00 X 10%=    $        4,500.00
A/B.20. Gov. and Corp. Bonds                                           $            -     7h. Other/adjustments (See Notes on valuation)      $             -   $        950,000.00 X 5%=     $       47,500.00
A/B.21. Retirement Accounts                                            $            -     8. Total Senior Claims (ln. 7a to 7h)               $      493,876.80 $      7,187,559.90 X 3%=     $      215,626.80
A/B.22. Security Deposits                                              $            -     9. Net available for unsecured (ln.6-ln.8)          $    7,693,683.10 $      8,187,559.90 Totals    $      268,876.80
A/B.23. Annuities                                                      $            -     10a.Gen. unsecured claims                           $      351,881.25            Adjustment (if any)$             -
A/B.24. Tuition Programs, Education IRAs                               $            -     10b.Other claims (if any)                                                              Trustee Fee  $      268,876.80
A/B.25. Trusts                                                         $            -     11.Total gen. unsecured (ln.10a+10b)                $      351,881.25 *Adjustments would include, e.g., estimated
A/B.26. Patents, copyrights, other IP 5                                $            -     12. Ch. 7 Estimated Dividend (ln.9/ln.11)                       100% refunds, and non-estate funds/ assets returned
A/B.27. Licenses, Franchises, Other Intang.                            $            -     13. Plan Dividend                                               100% to third parties.

NOTES:
1
 Amended Schedules filed as Docket No. 101 in the case of In re Vahan M. Dinihanian Jr., Case No. 19-31886-dwh11


2
 Debtor is unsure about value of household goods and furnishings, and listed "Unknown" for value of such property in his Amended Schedules. For purposes of this liquidation analysis, Debtor has estimated
a value of $10,000 for such property, although he believes that number is higher than the amount he could obtain if he were required to liquidate such property. Debtor included this estimated number to avoid
continued accusations of undervaluation from certain parties in interest.


3
  Debtor is unsure of the value of his beer stein collection, and therefore listed "unknown" for the value of such property in his Amended Schedules. For purposes of this liqudation analysis, Debtor estiamted
a value of $2,000, although he believes that number is undoubtedly higher than the amount he could obtain if he were required to liquidate the property. Debtor included his estimate to avoid continued
accusations of undervaluation from certain parties in interest.


4
    See Attached Exhibit 1-a.


5
    Debtor has no basis to value his intellectual property. Debtor has never tried to sell his intellectual property, and no standard market exists from which the Debtor can determine an estimated market value.


6
 "Claims related to DFPI" include contract and tort claims against other officers and shareholders of Dinihanian Floral Products, Inc., and banking institutions holding the corporation's funds in depository
accounts. The amount owed to Debtor has not been determined, and is listed as "Unknown" in the schedules. For purposes of this liquidation analysis, Debtor has listed a value of $250,000




                                                                                          Exhibit 1 ‐ Liquidation Analysis
                                                                                                     Page 1 of 5



                                               Case 19-31883-dwh11                                          Doc 401                    Filed 07/22/21
In re: 15005 NW Cornell, LLC                                                            Exhibit 1
Case No. 19‐31883‐dwh11; and                                                      Liquidation Analysis
In re: Vahan M. Dinihanian Jr.
Case No. 19‐31886‐dwh11
(Jointly Administered)


                                                                        Exhibit 1-b: Liquidation Analysis - 15005 NW Cornell LLC                dkt. ___

Itemized below are any changes to the most recent bankruptcy Schedules A&B, attached/at docket # →→→                           35 1
1. Total Value Real Property
                                                    $ 13,500,000.00 A/B.28. Tax Refunds                                 $             -
(Skyline and Welches Cabin):
Less: Anticipated Cost of Sale                      $    (810,000.00) A/B.29. Family Support                            $             -
Less: Propety Taxes                                 $      (28,093.70) A/B.30. Amounts Owed to You                      $             -
Less: Teherani-Ami Lien                             $ (2,600,000.00) A/B.31. Insurance Policies (Cash Value)            $             -
                                                                       A/B.32. Inheritance Interests                    $             -
2. Net Value, Sch. A property (not less than zero): $ 10,061,906.30 A/B.33. Claims Against Third-Parties                $             -
                                                                       A/B.34. Other Claims                             $             -
3. Schedule B Property (Listed Below):                                 A/B.35. Other Financial Assets (specify):        $             -   Notes on valuation:
A/B.3. Vehicles                                     $             -    A/B.53. Other Property of Any Kind (specify):                      (1) Real estate valuation assumes 6% costs of
A/B.4. Watercraft                                   $             -          Equipment, Inventory and Supplies          $       35,500.00 sale.
A/B.6. Household goods and furnishings              $             -                                                     $             -   (2) All valuations estimates are from Debtor's
A/B.7. Electronics                                  $             -                                                     $             -   personal opinion of value, unless specifically
A/B.8. Collectibles                                 $             -    4. Adjusted total, Sch. B property               $       35,500.00 stated otherwise.
A/B.9. Equipment for Sports/Hobbies                 $             -    5. Other (e.g., avoidance actions-itemize)       $             -
A/B.10. Firearms                                    $             -    6. Total Assets (ln.2+4+5)                       $   10,097,406.30
A/B.11. Clothes                                     $             -    7. Claims Senior to General Unsecured Claims                             Hypothetical chapter 7 trustee fees
A/B.12. Jewelry                                     $             -    7a. Secured claims not already accounted for:    $             -    $ 10,097,406.30 Total disbursements
A/B.13. Non-farm Animals                            $             -    7b. Chapter 7: trustee fees (from sidebar)       $      326,172.19 $               -    Minus exemptions
A/B.14. Other Personal and Household Items          $             -    7c. Chapter 7: other costs of administration     $             -    $              -    Minus adjustments*
A/B.16. Cash                                        $             -    7d. Chapter 11: unpaid professionals' fees       $      400,000.00 $ 10,097,406.30 = Net disbursements
A/B.17. Checking Account                            $             -    7e. Chapter 11: other administrative costs       $             -                   § 326 calculations
A/B.18. Stocks (Publicly Traded), Bonds, Etc.       $             -    7f. Priority claims (bankruptcy Schedule E)      $             -     $       5,000.00 X 25%= $            1,250.00
A/B.19. Closely Held Business Interests             $             -    7g. Debtor's exemptions (bankr. Sch.C)                              $        45,000.00 X 10%= $           4,500.00
A/B.20. Gov. and Corp. Bonds                        $             -    7h. Other/adjustments (See Notes on valuation)   $             -    $       950,000.00 X 5%= $           47,500.00
A/B.21. Retirement Accounts                         $             -    8. Total Senior Claims (ln. 7a to 7h)            $      726,172.19 $ 9,097,406.30 X 3%= $              272,922.19
A/B.22. Security Deposits                           $             -    9. Net available for unsecured (ln.6-ln.8)       $    9,371,234.11 $ 10,097,406.30 Totals $            326,172.19
A/B.23. Annuities                                   $             -    10a.Gen. unsecured claims 2                      $      307,268.78            Adjustment (if any) $             -
A/B.24. Tuition Programs, Education IRAs            $             -    10b.Other claims (if any)                                                            Trustee Fee $     326,172.19
A/B.25. Trusts                                      $             -    11.Total gen. unsecured (ln.10a+10b)             $      307,268.78 *Adjustments would include, e.g., estimated
A/B.26. Patents, copyrights, other IP               $             -    12. Ch. 7 Estimated Dividend (ln.9/ln.11)                     100% refunds, and non-estate funds/ assets returned
A/B.27. Licenses, Franchises, Other Intang.         $             -    13. Plan Dividend                                             100% to third parties.

NOTES:
1
  Amended Schedules filed as Docket No. 101 in the case of In re Vahan M. Dinihanian Jr., Case No. 19-31886-dwh11
2
  Amount listed includes disputed claim filed by Alexander LLC, Christiana LLC, and Cornell Road LLC (POC No. 05).




                                                                            Exhibit 1 ‐ Liquidation Analysis
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                                        Case 19-31883-dwh11                                   Doc 401                Filed 07/22/21
In re: 15005 NW Cornell LLC                    EXHIBIT 1‐a: Closely Held Business Entity Detail
Case No. 19‐31883‐dwh11, and
In re: Vahan M. Dinihanian Jr.
Case No. 19‐31886‐dwh11 (Jointly Administered)


15005 NW Cornell LLC
       Real Property Assets:       $                            13,500,000.00               Assumptions/Notes:
               Other Assets:       $                                      ‐                 * Value listed is 50% of Broker Opinion of Value from
                   Liabilities:    $                            (2,600,000.00)              Norris & Stevens [ECF No. 250‐2; Exhibit 21];
   Cost of Sale (Assume 6%)        $                              (810,000.00)              * Value does not account for Trust's interest, if any, in
               Net Proceeds:       $                            10,090,000.00               the property.
              Adj. Cost Basis:     $                               771,572.00               * "Liabilities" includes asserted lien of Tasha Teherani‐
         Est. Cap. Gains Tax:      $                            (3,169,378.57)              Ami
   Net Value at Liquidation:       $                             6,920,621.43

2275 W Burnside LLC
      Real Property Assets:        $                             2,460,000.00               Real Property Assets consist of:
               Other Assets:       $                                      ‐                 * 2001 Main Street, Forest Grove, OR
                  Liabilities: 5   $                            (1,831,635.77)                 * Value: $1,460,000 (Adj. Basis: $651,664)
   Cost of Sale (Assume 6%)        $                              (147,600.00)                 * Liens: $2,650,000 (see Note 5)
               Net Proceeds:       $                               480,764.23               * 14007 NE 3rd Ct., Vancouver, WA
              Adj. Cost Basis:     $                             1,468,831.00                  * Value: $2,000,000 (Adj. Basis: $831,296)
         Est. Cap. Gains Tax:      $                              (246,028.63)                 * Liens: $1,100,000
   Net Value at Liquidation:       $                               234,735.60

933 Harrison Avenue Centralia LLC
       Real Property Assets: $                                   2,520,000.00               Real Property Assets consist of:
                Other Assets: $                                           ‐                 * 933 Harrison Avenue, Centralia, WA
                    Liabilities: $                              (2,650,000.00)                 * Value: $2,520,000 (Adj. Basis: $711,021)
    Cost of Sale (Assume 6%) $                                    (151,200.00)                 * Liens: $2,650,000 (cross‐collateralized with 2001
                Net Proceeds: $                                   (281,200.00)                  Main Street, Forst Grove, OR ‐ owned
               Adj. Cost Basis: $                                  711,021.00                   by 2275 W Burnside)
          Est. Cap. Gains Tax: $                                  (450,435.77)
    Net Value at Liquidation: $                                   (731,635.77)

Aurora Meridian LLC
       Real Property Assets:       $                                      ‐                 Assets consist of helicopter. Value unknown, but
                Other Assets:      $                               200,000.00               assumed to be $250,000 for purposes of this analysis.
                   Liabilities:    $                                      ‐                 Debtor has previously attempted to sell the helicopter
  Cost of Sale (Assume 15%)        $                               (30,000.00)              for a higher amount, but was unsuccessful. Helicopter
               Net Proceeds:       $                               170,000.00               is not airworthy due to deferred maintenance and
              Adj. Cost Basis:     $                                      ‐                 inspections. Debtor estimates $75,000 in inspection
         Est. Cap. Gains Tax:      $                                      ‐                 fees must be incurred to be eligible for certification.
   Net Value at Liquidation:       $                               170,000.00

Eagle Holdings LLC
       Real Property Assets:       $                                      ‐                 For purposes of this analysis, assets consist of tools and
                Other Assets:      $                                35,000.00               injection molding machine. Other assets belonging to
                   Liabilities:    $                                      ‐                 Eagle Holdings, LLC, including other entities, are not
  Cost of Sale (Assume 15%)        $                                (5,250.00)              included in this section, as they are already separately
               Net Proceeds:       $                                29,750.00               accounted for.
              Adj. Cost Basis:     $                                      ‐
         Est. Cap. Gains Tax:      $                                (8,715.00)
    Net Value at Liquidation:      $                                21,035.00

Vahan 8340 NW Cornell LLC
       Real Property Assets:       $                               400,000.00               Real Property Assets consist of:
               Other Assets:       $                                      ‐                 * 8340 NW Cornell Ave., Beaverton, OR
                   Liabilities:    $                              (350,000.00)                 * Value: $400,000 (Adj. Basis: $73,156)
   Cost of Sale (Assume 6%)        $                               (24,000.00)                 * Liens: $350,000
               Net Proceeds:       $                                26,000.00
              Adj. Cost Basis:     $                                73,156.00
         Est. Cap. Gains Tax:      $                               (81,384.16)
   Net Value at Liquidation:       $                               (55,384.16)




                                                  Exhibit 1a ‐ Closely Held Business Entity Detail
                                                                     Page 3 of 5



                                   Case 19-31883-dwh11                    Doc 401            Filed 07/22/21
In re: 15005 NW Cornell LLC                    EXHIBIT 1‐a: Closely Held Business Entity Detail
Case No. 19‐31883‐dwh11, and
In re: Vahan M. Dinihanian Jr.
Case No. 19‐31886‐dwh11 (Jointly Administered)
 Vahan 8344 NW Cornell LLC
         Real Property Assets: $                                400,000.00              Real Property Assets consist of:
                 Other Assets: $                                        ‐               * 8344 NW Cornell Ave., Beaverton, OR
                     Liabilities: $                            (350,000.00)                * Value: $400,000 (Adj. Basis: $31,341)
     Cost of Sale (Assume 6%) $                                  (24,000.00)               * Liens: $350,000
                 Net Proceeds: $                                  26,000.00
                Adj. Cost Basis: $                                31,341.00
           Est. Cap. Gains Tax: $                                (91,796.09)
     Net Value at Liquidation: $                                 (65,796.09)

Vahan IV NW Tenth LLC
       Real Property Assets:       $                               2,430,000.00               Real Property Assets consist of:
               Other Assets:       $                                        ‐                 * 2031 Hawthorne Street, Portland, OR
                   Liabilities:    $                                (998,000.00)                 * Value: $1,530,000 (Adj. Basis: $658,826)
   Cost of Sale (Assume 6%)        $                                (145,800.00)                 * Liens: $525,000
               Net Proceeds:       $                               1,286,200.00               * 2150 NE 82nd Ave., Portland, OR
              Adj. Cost Basis:     $                               1,158,948.00                  * Value: $900,000 (Adj. Basis: $500,122)
         Est. Cap. Gains Tax:      $                                (316,491.95)                 * Liens: $473,000
   Net Value at Liquidation:       $                                 969,708.05

3Dauthority.net LLC
      Real Property Assets:        $                                        ‐                 Assets consist of a 3D Printer and related equipment
               Other Assets:       $                                  20,000.00
                   Liabilities:    $                                        ‐
   Cost of Sale (Assume 6%)        $                                  (3,000.00)
               Net Proceeds:       $                                  17,000.00
              Adj. Cost Basis:     $                                        ‐
         Est. Cap. Gains Tax:      $                                        ‐
   Net Value at Liquidation:       $                                  17,000.00

Dinihanian Family Limited Partnership (50% interest)
       Real Property Assets: $                                               ‐                Value unknown.
                Other Assets: $                                              ‐
                    Liabilities: $                                           ‐
    Cost of Sale (Assume 6%) $                                               ‐
                Net Proceeds: $                                              ‐
               Adj. Cost Basis: $                                            ‐
          Est. Cap. Gains Tax: $                                             ‐
    Net Value at Liquidation: $                                              ‐

Dinihanian Floral Products, Inc. (50% interest)
       Real Property Assets: $                                               ‐                Value unknown. Potential tort claims related to this
                Other Assets: $                                              ‐                entity are not listed in this section, as they are listed
                    Liabilities: $                                           ‐                elsewhere in the liquidation analysis.
    Cost of Sale (Assume 6%) $                                               ‐
                Net Proceeds: $                                              ‐
               Adj. Cost Basis: $                                            ‐
          Est. Cap. Gains Tax: $                                             ‐
    Net Value at Liquidation: $                                              ‐

Vahan III SE Stark LLC
       Real Property Assets:       $                                        ‐                 Assets consist of a 1/6th membership interest in Meger
                Other Assets:      $                                 100,000.00               SE Stark LLC, which owns the real property located at
                    Liabilities:   $                                        ‐                 8028 SE Stark St., Portland, OR.
   Cost of Sale (Assume 6%)        $                                  (6,000.00)
                Net Proceeds:      $                                  94,000.00
               Adj. Cost Basis:    $                                        ‐
          Est. Cap. Gains Tax:     $                                 (24,900.00)
   Net Value at Liquidation:       $                                  69,100.00


Total Net Value (Including 15005 NW Cornell LLC):               $ 7,549,384.07
Total Net Value (Excluding 15005 NW Cornell LLC):               $ 628,762.64



                                                    Exhibit 1a ‐ Closely Held Business Entity Detail
                                                                       Page 4 of 5



                                   Case 19-31883-dwh11                      Doc 401            Filed 07/22/21
In re: 15005 NW Cornell LLC                    EXHIBIT 1‐a: Closely Held Business Entity Detail
Case No. 19‐31883‐dwh11, and
In re: Vahan M. Dinihanian Jr.
Case No. 19‐31886‐dwh11 (Jointly Administered)
 Notes / Assumptions:
1: All real property values are based upon Debtor's estimates.

2: All real property values are estimated as of October 1, 2020. Debtor has included estimated decreases in value related to COVID‐19 and eviction
moratoriums, which the Debtor believes impacts the marketability of the properties.
3: Costs of sale were estimated at 6% of gross sale prices for real property, and 15% of gross sale prices for personal property.

4: Capital gains are all assumed to be long‐term, paid at 15% for federal tax purposes, and 9.9% for state tax purposes.
5: Value of "Liabilities" for 2275 W Burnside LLC were reduced to $1,831,635.77, which consists of $1,100,000 for the lien against the property
located at 14007 NE 3rd Ct., Vancouver, WA, and $731,635.77, which is the estimated deficiency balance that would remain on the $2,650,000 lien
if the property belonging to the property belonging to 933 Harrison Avenue Centralia LLC was liquidated first. This calculation was done to ensure
that the $2,650,000 lien was not double‐counted.




                                                     Exhibit 1a ‐ Closely Held Business Entity Detail
                                                                        Page 5 of 5



                                Case 19-31883-dwh11                          Doc 401            Filed 07/22/21
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                     UNITED STATES BANKRUPTCY COURT

                                 DISTRICT OF OREGON

 In re:                                       Bankruptcy Case Nos.:

    15005 NW Cornell LLC; and                 19-31883-dwh11 (Lead Case)
    Vahan M. Dinihanian, Jr.,                 19-31886-dwh11

                      Debtors.                Jointly Administered Under
                                              Case No. 19-31883-dwh11

                                              SECOND AMENDED DEBTORS’
                                              JOINT DISCLOSURE STATEMENT
                                              DATED JULY 22, 2021




      SECOND AMENDED DEBTORS’ JOINT DISCLOSURE                             MOTSCHENBACHER & BLATTNER LLP
                                                                             117 SW Taylor Street, Suite 300
      STATEMENT DATED JULY 22, 2021                                              Portland, Oregon 97204
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               Case 19-31883-dwh11        Doc 401    Filed 07/22/21
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                             Case 19-31883-dwh11                     Doc 401          Filed 07/22/21
       I.      INTRODUCTION AND SUMMARY

               A.     INTRODUCTION

               On May 21, 2019, 15005 NW Cornell LLC (“NW Cornell”) and Vahan M. Dinihanian,

       Jr. (“Dinihanian”), filed separate voluntary petitions under Chapter 11 of Title 11 of the United

       States Bankruptcy Code (the “Bankruptcy Code”). On July 13, 2019, NW Cornell and

       Dinihanian (collectively, the “Debtors”) filed this Second Amended Disclosure Statement (the

       “Disclosure Statement”) with the U.S. Bankruptcy Court for the District of Oregon (the

       “Bankruptcy Court”) and their Second Amended Joint Plan of Reorganization (the “Plan”). The

       Plan is attached hereto as Exhibit 1.

               This Disclosure Statement is being provided to you by Debtors to enable you to make an

       informed judgment about the Plan. This Disclosure Statement has been prepared to disclose

       information that in Debtors’ opinion is material, important, and helpful to evaluate the Plan.

       Among other things, this Disclosure Statement describes the manner in which Claims and Equity

       Securities will be treated. This Disclosure Statement summarizes the Plan, explains how the

       Plan will be implemented, outlines the risks of and alternatives to the Plan, and outlines the

       procedures involved in confirmation of the Plan. The description of the Plan contained in this

       Disclosure Statement is intended as a summary only and is qualified in its entirety by reference

       to the Plan itself. If any inconsistency exists between the Plan and this Disclosure Statement, the

       terms of the Plan shall control. You are urged to review the Plan and, if applicable, consult with

       your own counsel about the Plan and its impact on your legal rights before voting on the Plan.

               Capitalized terms used but not defined in this Disclosure Statement shall have the

       meanings assigned to such terms in the Plan or the Bankruptcy Code. Factual information

       contained in this Disclosure Statement is the representation of Debtors only and not of their

       attorneys, consultants, or accountants. The information has been obtained from the books and

       records of Debtors as well as other sources deemed reliable. Debtors have prepared the

       information contained herein in good faith, based on information available to Debtors. The

Page 1 of 38   SECOND AMENDED DEBTORS’ JOINT DISCLOSURE                                 MOTSCHENBACHER & BLATTNER LLP
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               STATEMENT DATED JULY 22, 2021                                                  Portland, Oregon 97204
                                                                                               Phone: 503-417-0500
                                                                                                Fax: 503-417-0501
                                                                                                www.portlaw.com
                            Case 19-31883-dwh11          Doc 401     Filed 07/22/21
       information herein has not been subject to a verified audit. No representation concerning

       Debtors or the Plan is authorized by Debtors other than as set forth in this Disclosure Statement.

               The statements contained in this Disclosure Statement are made as of the date hereof,

       unless another time is specified herein, and the delivery of this Disclosure Statement shall not

       imply that there has been no change in the facts set forth herein since the date of this Disclosure

       Statement and the date the material relied on in preparation of this Disclosure Statement was

       compiled.

               This Disclosure Statement may not be relied on for any purpose other than to determine

       how to vote on the Plan. Nothing contained herein shall constitute an admission of any fact or

       liability by any party or be admissible in any proceeding involving Debtors or any other party or

       be deemed advice on the tax or other legal effects of the Plan on the holders of Claims or Equity

       Securities.

               This Disclosure Statement has been approved by Order of the Bankruptcy Court (the

       “Order”) as containing information of a kind and in sufficient detail to enable a hypothetical

       reasonable investor typical of holders of Claims or Interests of the relevant classes to make an

       informed judgment concerning the Plan. The Bankruptcy Court’s approval of this Disclosure

       Statement, however, does not constitute a recommendation by the Bankruptcy Court either for or

       against the Plan.

               The Bankruptcy Court has scheduled a hearing on confirmation of the Plan at the time

       and place set forth in the Order. The hearing on confirmation may be adjourned from time to

       time by the Bankruptcy Court without further notice except for an announcement made at the

       hearing on any adjournment thereof.

               A ballot has been enclosed with this Disclosure Statement for use in voting on the Plan.

       In order to be tabulated for purposes of determining whether the Plan has been accepted or

       rejected, ballots must be received at the address indicated on the ballot no later than the ballot



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       deadline set forth in the Order. Debtors believe that confirmation of the Plan is in the best

       interests of the holders of Claims and urge you to accept the Plan.

               This Disclosure Statement contains financial information and estimates that demonstrate

       the feasibility of the Plan of Reorganization and Debtors’ ability to complete the steps envisioned

       by the Plan and the Plan Loan upon emergence from Bankruptcy. Debtors prepared such

       information for the limited purpose of furnishing information to Creditors to allow them to make

       an informed judgment regarding acceptance of the Plan of Reorganization. The estimates of

       value should not be regarded for the purpose of this Disclosure Statement as representations or

       warranties by Debtors as to the accuracy of such information or that any such projections or

       valuations will be realized. Actual values could vary significantly from these projections.

               B.     SUMMARY OF THE PLAN

               A copy of the Plan is attached and discussed in detail later in this Disclosure Statement.

       The following description of the Plan is intended as a summary only and is qualified in its

       entirety by reference to the Plan. Debtors urge each holder of a Claim to carefully review the

       entire Plan, together with this Disclosure Statement, before voting on the Plan.

                      1.      General

               Generally, the Plan provides that Debtors will operate in the ordinary course and will

       obtain financing to pay and satisfy their obligations in full.

                      2.      Secured Creditors

               Reorganized Dinihanian’s secured Creditor, Columbia State Bank (“Columbia”), will be

       paid the full amount of its Allowed Secured Claims in accordance with the existing terms of its

       loans to Dinihanian, except as modified under the Plan with respect to certain loan terms and

       covenants set forth in the Plan.

               Reorganized Dinihanian’s secured Creditor, Tasha Teherani-Ami, will be paid on the

       Effective Date the full amount of her Allowed Secured Claim with interest as stated in the

       Divorce Judgment and actual costs and reasonable attorney fees.

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               Dinihanian executed one or more trust deeds encumbering the Skyline Property in favor

       prepetition counsel Bateman Seidel and Daniel Lorenz in the face amount of $250,000 as

       security for legal fees advanced by such counsel.

                       3.      General Unsecured Creditors

               All General Unsecured Creditors will be paid in full, together with interest at the federal

       judgment rate in effect on the Effective Date, from and after the Effective Date, not later than six

       months after the Effective Date.

                       4.      Equity Interests

               The Plan provides that existing equity interests in NW Cornell, including that of the

       Sonja Dinihanian GST Trust DTS 1/1/11 (the “Trust”), will be left in place. The Plan provides

       that Dinihanian will retain his interests in assets of his bankruptcy estate. Depending on the

       outcome of certain adversary proceedings and claim objections described in Section V below, the

       Trust may forfeit its equity interest in favor of other relief.

                       5.      Leases and Executory Contracts

               All unexpired leases and executory contracts will be assumed by the respective Debtors

       through the Plan unless such unexpired leases and executory contracts have previously been

       assumed and assigned or rejected, or a motion seeking their assumption or rejection has been

       Filed before the Confirmation Date. Debtors are not aware of significant cure amounts

       associated with any of the executory contracts to be assumed.

                       6.      Effective Date

               The Effective Date of the Plan shall be the later of (a) the eleventh day following entry of

       the Confirmation Order and (b) the first business day following the entry of an order by the

       Bankruptcy Court establishing the reasonable attorney fees and costs for the Class 1 Claim.




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                       7.      Cramdown Election

               In the event any Class does not accept the Plan, Debtors reserve the right to request that

       the Bankruptcy Court confirm the Plan in accordance with Section 1129(b) of the Bankruptcy

       Code or otherwise modify the Plan.

               C.      BRIEF EXPLANATION OF CHAPTER 11

               Chapter 11 is the principal reorganization provision of the Bankruptcy Code. Pursuant to

       Chapter 11, a debtor attempts to reorganize its business for the benefit of Debtor, its creditors,

       and other parties in interest.

               The formulation and confirmation of a plan of reorganization is the principal purpose of a

       Chapter 11 case. A plan of reorganization sets forth the method for compensating the holders of

       claims and interests in a debtor. If a plan is confirmed by the Bankruptcy Court, it will be

       binding on a debtors, its creditors, and all other parties in interest. A claim or interest is impaired

       under a plan of reorganization if the plan provides that the legal, equitable, or contractual rights

       of the holder of such claim or interest are altered. A holder of an impaired claim or interest is

       entitled to vote to accept or reject the plan. Chapter 11 does not require all holders of claims and

       interests to vote in favor of a plan in order for the Bankruptcy Court to confirm it. However, the

       Bankruptcy Court must find that the plan meets a number of statutory tests before it may approve

       the plan. These tests are designed to protect the interests of holders of claims or interests who do

       not vote to accept the plan, but who will nonetheless be bound by the plan’s provisions if it is

       confirmed by the Bankruptcy Court.

               An Unsecured Creditors’ Committee was not appointed by the U.S. Trustee’s office in

       this case pursuant to 11 U.S.C. §§ 1102(a) and (b).

       II.     VOTING PROCEDURES AND CONFIRMATION OF PLAN

               A.      BALLOTS AND VOTING DEADLINE

               A ballot to be used for voting to accept or reject the Plan is enclosed with each copy of

       this Disclosure Statement. After carefully reviewing this Disclosure Statement and its exhibits,

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       including the Plan, please indicate your acceptance or rejection of the Plan by voting in favor or

       against the Plan on the enclosed ballot as directed below.

               The Bankruptcy Court has directed that, to be counted for voting purposes, ballots for the

       acceptance or rejection of the Plan must be received by Debtors no later than the time and date

       set forth in the Order accompanying this Disclosure Statement at the following address:

                              Motschenbacher & Blattner LLP
                              Attention: Nicholas J. Henderson
                              117 SW Taylor Street, Suite 300
                              Portland, OR 97204-2099
       or via facsimile transmission to Nicholas J. Henderson at (503) 417-0528.

               Holders of each Claim scheduled by Debtors or for which a Proof of Claim has been

       Filed will receive ballots and are permitted to vote based on the amount of the Proof of Claim,

       except as discussed below. If no Proof of Claim has been Filed, then the vote will be based on

       the amount scheduled by Debtors in their Schedules. The Bankruptcy Code provides that such

       votes will be counted unless the Claim has been disputed, disallowed, disqualified, or suspended

       prior to computation of the vote on the Plan. A Claim to which an objection has been Filed is

       not allowed to vote unless and until the Bankruptcy Court rules on the objection. Holders of

       disputed Claims who have settled their dispute with Debtors are entitled to vote the settled

       amount of their Claim. The Bankruptcy Code and rules provide that the Bankruptcy Court may,

       if timely requested to do so by the holder of such Claim, estimate or temporarily allow a disputed

       Claim for the purposes of voting on the Plan.

               If a person holds Claims in more than one Class entitled to vote on the Plan, such person

       will be entitled to complete and return a ballot for each Class. If you do not receive a ballot or if

       a ballot is damaged or lost, please contact:

                              Motschenbacher & Blattner LLP
                              Attention: Nicholas Henderson
                              117 SW Taylor Street, Suite 300
                              Portland, OR 97204-2099
                              (503) 417-0508


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               All persons entitled to vote on the Plan may cast their vote for or against the Plan by

       completing, dating, and signing the enclosed ballot and returning it, by First Class mail or hand

       delivery, to Debtors at the address indicated above. In order to be counted, all ballots must be

       executed and received at the above address no later than the time set forth in the Order. Any

       ballots received after the deadline set forth in the Order will not be included in any calculation to

       determine whether the parties entitled to vote on the Plan have voted to accept or reject the Plan.

               Ballots may also be received by Debtors by facsimile transmission to Motschenbacher &

       Blattner LLP, Attention: Nicholas J. Henderson, at (503) 417-0501. Ballots sent by facsimile

       transmission will be counted if faxed to Mr. Henderson and received by the deadline set forth in

       the Order.

               When a ballot is signed and returned without further instruction regarding acceptance or

       rejection of the Plan, the signed ballot shall be counted as a vote accepting the Plan. When a

       ballot is returned indicating acceptance or rejection of the Plan but is unsigned, the unsigned

       ballot will not be included in any calculation to determine whether parties entitled to vote on the

       Plan have voted to accept or reject the Plan. When a ballot is returned without indicating the

       amount of the Claim or an amount different from a timely Filed Proof of Claim, then the amount

       shall be as set forth on Debtor’s Schedules or any timely Proof of Claim Filed with respect to

       such Claim or Order of the Bankruptcy Court.

               B.     PARTIES ENTITLED TO VOTE

               Pursuant to Section 1126 of the Bankruptcy Code, each Class of impaired Claims or

       Equity Security Holders that is not deemed to reject the Plan is entitled to vote to accept or reject

       the Plan. Any holder of an Allowed Claim that is in an impaired Class under the Plan, and

       whose Class is not deemed to reject the Plan, is entitled to vote. A Class is “impaired” unless the

       legal, equitable, and contractual rights of the holders of Claims in that Class are left unaltered by

       the Plan or if the Plan reinstates the Claims held by members of such Class by (a) curing any

       defaults; (b) reinstating the maturity of such Claim; (c) compensating the holder of such Claim

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       for damages that result from the reasonable reliance on any contractual provision or law that

       allows acceleration of such Claim; and (d) otherwise leaving unaltered any legal, equitable, or

       contractual right of which the Claim entitles the holder of such Claim. Because of their

       favorable treatment, Classes that are not impaired are conclusively presumed to accept the Plan.

       Accordingly, it is not necessary to solicit votes from the holders of Claims in Classes that are not

       impaired. Classes of Claims or Interests that will not receive or retain any money or property

       under a Plan on account of such Claims or Interests are deemed, as a matter of law under

       Section 1126(g) of the Bankruptcy Code, to have rejected the Plan and are likewise not entitled

       to vote on the Plan. All Classes of Claims are impaired under Debtor’s Plan except the Class 1

       and Class 5 Claims of secured Creditor Tasha Teherani-Ami.

               C.     VOTES REQUIRED FOR CLASS ACCEPTANCE OF THE PLAN

               As a condition to confirmation, the Bankruptcy Code requires that each impaired Class of

       Claims or Interests accept the Plan, subject to the exceptions described below in the section

       entitled “Cramdown of the Plan.” In a “Cramdown,” at least one impaired Class of Claims must

       accept the Plan in order for the Plan to be confirmed.

               For a Class of Claims to accept the Plan, Section 1126 of the Bankruptcy Code requires

       acceptance by Creditors that hold at least two-thirds in dollar amount and a majority in number

       of the Allowed Claims of such Class, in both cases counting only those Claims actually voting to

       accept or reject the Plan. The holders of Claims who fail to vote are not counted as either

       accepting or rejecting the Plan. If the Plan is confirmed, the Plan will be binding with respect to

       all holders of Claims and Interests in each Class, including Classes and members of Classes that

       did not vote or that voted to reject the Plan.

               D.     “CRAMDOWN” OF THE PLAN

               If the Plan is not accepted by all of the impaired Classes of Claims and Interests of

       Debtors, the Plan may still be confirmed by the Bankruptcy Court pursuant to Section 1129(b) of

       the Bankruptcy Code’s “Cramdown” provision if the Plan has been accepted by at least one

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       Impaired Class of Claims, without counting the acceptances of any Insiders of Debtor, and the

       Bankruptcy Court determines, among other things, that the Plan “does not discriminate unfairly”

       and is “fair and equitable” with respect to each non-accepting impaired Class of Claims or

       Interests. Debtors believe the Plan can be confirmed even if it is not accepted by all impaired

       Classes of Claims and hereby request the Bankruptcy Court to confirm the Plan in accordance

       with Section 1129(6) of the Bankruptcy Code or otherwise modify the Plan in the event any

       Class of Creditors does not accept the Plan.

               E.     CONFIRMATION HEARING

               In the accompanying Order, the Bankruptcy Court has scheduled a hearing on

       confirmation of the Plan before the Honorable David W. Hercher, United States Bankruptcy

       Judge. At the hearing, the Bankruptcy Court will consider whether the Plan satisfies the various

       requirements of the Bankruptcy Code, including whether it is feasible and whether it is in the

       best interests of the Creditors of Debtors. Prior to the hearing, Debtors will submit a report to the

       Bankruptcy Court concerning the votes for acceptance or rejection of the Plan by the persons

       entitled to vote thereon.

               Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to

       confirmation of the Plan. Any objections to confirmation of the Plan must be made in writing

       and Filed with the Bankruptcy Court and received by counsel for Debtors no later than the

       objection deadline set forth in the Order. Unless an objection to confirmation is timely Filed and

       received, it will not be considered by the Bankruptcy Court.

       III.    COMPANY BACKGROUND AND GENERAL INFORMATION

               A.     DEBTORS

               NW Cornell is a manager-managed Oregon limited liability company owned equally by

       Eagle Holdings LLC and the Trust, which also asserts an equitable interest in the real property

       owned by NW Cornell, although such ownership is disputed. Dinihanian is the manager of NW

       Cornell and is authorized to take all actions on its behalf. Dinihanian is an individual residing in

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       the State of Oregon and is the sole member and manager of Eagle Holdings, LLC. NW Cornell’s

       primary asset is its 50 percent tenant-in-common ownership interest in 37 acres of undeveloped

       real property located at 15005 NW Cornell Road, Beaverton, Oregon.

                B.     DINIHANIAN’S BUSINESSES

                Prior to the filing of the Bankruptcy Cases, Dinihanian’s principal business was operating

       Eagle Holdings, LLC, which owns other real estate-centered limited liability companies and

       engages in enterprises regarding motor vehicles, the production of mechanical parts, and

       property management. Dinihanian intends to continue operating Eagle Holdings and its entities

       under their existing business models.

                C.     MANAGEMENT OF NW CORNELL.

                Reorganized NW Cornell will consist of the same owners and management as currently

       exists. NW Cornell does not have any employees. Depending on the path pursued under the

       Plan, NW Cornell will continue to own a 50 percent tenant-in-common interest in the Cornell

       Property, develop the Cornell Property in cooperation with non-debtor tenant-in-common

       owners, or it will possess the net proceeds from the sale of its interest in the property.

                D.     WASHINGTON COUNTY LITIGATION

                NW Cornell is the plaintiff in 15005 NW Cornell, LLC v. Cornell Rd. LLC, et al., Case

       No. 18CV17059, pending in the Circuit Court for the State of Oregon for Washington County.

       NW Cornell commenced the partition proceeding because the other tenant-in-common owners of

       the Cornell Property would not cooperate in the development of the property or consent to NW

       Cornell borrowing against its interest in the property. The Washington County court in a

       memorandum opinion indicated that partitioning is an appropriate remedy, although it would

       require additional time-consuming land use master-planning procedures prior to such a partition

       being determined. No further action has occurred in the Washington County court after the

       Petition Date due to the fact that parties have opposed NW Cornell’s applications to employ

       counsel for that action and the parties engaged in repeated discussions with participants in these

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       bankruptcy cases and with parties in the partition litigation toward the preferable objective of

       consensual settlement.

       IV.      EVENTS LEADING TO THE BANKRUPTCY FILING

                       Debtors’ bankruptcy filings were precipitated by the scheduled foreclosure sales

       of the Skyline Property and the Cornell Property initiated by Creditor Tasha Teherani-Ami

       (“Teherani-Ami”) based on deeds of trust recorded on both properties as provided in the General

       Judgment of Dissolution of Marriage (the “General Judgment”) entered in the divorce case

       involving Teherani-Ami and Dinihanian, Multnomah County Circuit Court Case No. 1208-

       68730 (the “Divorce Case”). In the General Judgment obligated Dinihanian to make a

       significant settlement payment to Teherani-Ami in January 2018, and that payment was secured

       by the deeds of trust. When Dinihanian was unable to make that payment, Teherani-Ami

       initiated foreclosure proceedings on both the Skyline and the Cornell Property. In addition,

       Teherani-Ami filed an action compel Dinihanian to execute a deed, on behalf of NW Cornell, to

       half of NW Cornell’s tenant-in-common interest in the Cornell Property or be held in contempt

       (Multnomah County Circuit Court Case No. 19-CN01457) (the “Contempt Proceeding”).

                       Debtors had and continue to have insufficient funds with which to pay their

       creditors until the Cornell Property is sold or until Debtors can obtain financing secured by NW

       Cornell’s interest in the Cornell Property and Dinihanian’s interest in the Skyline Property, or

       both. As a result, Debtors were unable to avoid the imminent risks of foreclosure or the transfer

       of half of NW Cornell’s interest in the Cornell Property and filed for Chapter 11 bankruptcy

       protection to prevent the loss of significant value in the Cornell Property and Skyline Property.

       V.       SIGNIFICANT POST-PETITION EVENTS

                Debtors obtained an order to lift the automatic stay to reengage in the Washington

       County partition litigation. Debtors have not pursued that litigation for various reasons,

       primarily because the application to employ partition counsel has been blocked in the

       Bankruptcy Cases. Debtors have invested extensive efforts to arrange financing to finance the

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       payments of Claims and facilitate the incremental development of some or all of the Cornell

       Property. Such financing has been arranged through lender SORFI, LLC, an affiliate of Sortis

       Capital (the “Plan Lender”) and the Plan Loan described in the Plan. 1 The term sheet describing

       the Plan Loan’s key terms is attached as Exhibit 2 hereto. The documents that will evidence the

       Plan Loan will be filed with the Bankruptcy Court not later than four weeks prior to the

       confirmation hearing set forth in the Order. Under the term sheet, Debtors will be obligated to

       grant Sortis Real Estate, LLC, an affiliate of the Plan Lender, a right of first refusal to serve as

       the listing broker to market and sell NW Cornell’s rights, title and interest in the Cornell

       Property should the listing and marketing of NW Cornell’s tenant-in-common interests become

       necessary and appropriate following Plan confirmation. For the avoidance of doubt, the listing

       agreement would pertain only to NW Cornell’s interest in the Cornell Property, and not to the

       interests of parties other than NW Cornell. Other than the terms set forth in the term sheet, no

       agreement to specific terms have been reached between Debtors and SORFI, LLC or Sortis

       Capital with respect to the Plan Loan or right of first refusal set forth in this paragraph and no

       other documents exist.

                Debtors have otherwise devoted the bulk of their efforts since the petition date preparing

       and proposing a plan of reorganization and disclosure statement and plan and then engaging in


       1
         Debtors already have an indirect lender-borrower relationship. SORFI, LLC loaned 933
       Harrison Blvd., LLC (“933 LLC”) the amount of $1,250,000 in early 2020, to refinance 933
       LLC’s mortgage debt that had matured. The SORFI loan to 933 LLC was guaranteed by Eagle
       Holdings, LLC, but was not personally guaranteed by either of the Debtors. Later, in April of
       2021, the SORFI loan was refinanced to payoff an existing $1,000,000 loan owed to Juniper by
       2275 W Burnside, which was secured by the property located at 2001 N. Main Street, Forest
       Grove. The Juniper loan had matured and was in default. Additionally, at the time of the
       refinance, 933 LLC and 2275 W Burnside had defaulted on obligations to Columbia Bank and iQ
       Credit Union, due to decreased rental revenue caused by the COVID-19 pandemic. The new
       SORFI loan also cured those defaults. Dinihanian asserts that 100% of the outstanding
       membership interest in 933 LLC is owned by Eagle Holdings, LLC, a single member LLC in
       which Dinihanian owns 100% of the membership interest. Certain parties in interest dispute
       Dinihanian’s assertions that Eagle Holdings owns 933 LLC, and allege that Dinihanian owns 933
       LLC directly. Debtors believe this distinction is inaccurate, and, more importantly, Debtors
       believe that the distinction is irrelevant given that (i) Debtors’ Plan proposes to pay 100%, and
       (ii) Dinihanian’s liquidation analysis includes the value of 933 LLC and its assets.
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       numerous rounds of settlement discussions and mediation with Tasha Teherani-Ami, in her

       individual capacity and as trustee for the Trust, as well as the other tenant-in-common owners of

       the Cornell Property. To date, these efforts have been unsuccessful in reaching a resolution,

       leading Debtors to file and seek confirmation of the present Plan.

                In addition, the Trust has filed an adversary proceeding (Adv. Pro. No. 20-03077) (the

       “Trust Complaint”) seeking a declaratory judgment to enforce the terms of the Stipulated

       Judgment, specifically with respect to its asserted right to a deed from NW Cornell to a twenty-

       five percent tenant-in-common interest in the Cornell Property. The Trust also filed a proof of

       claim in the NW Cornell case (Claim 5-1, the “Claim”). NW Cornell has objected [Dkt. 258] to

       the Claim on various grounds, filed an answer to the Trust Complaint, and filed an adversary

       proceeding (Adv. Pro. No. 20-03079) (the “Cornell Avoidance Action”), to which the Trust has

       filed an answer.

                NW Cornell instituted an adversary proceeding (Adv. Pro. No. 19-03096) (the “Teherani-

       Ami Adversary”) against Teherani-Ami to avoid the Deed of Trust on the grounds that it

       constituted a fraudulent transfer. In light of the full payment provided for the Teherani-Ami

       Claim under the Plan, the Debtors will seek to abate the Teherani-Ami Adversary.

                A.     EMPLOYMENT OF PROFESSIONALS

                NW Cornell has retained Perkins Coie LLP as its general counsel in the NW Cornell

       Bankruptcy Case. Dinihanian has retained Motschenbacher & Blattner LLP as his general

       counsel in the Dinihanian Bankruptcy Case. Dinihanian also sought and obtained Bankruptcy

       Court approval for the employment of Delap as his accountant. NW Cornell has sought the

       approval for the employment of Bateman Seidel to serve as ordinary course counsel in the

       partition litigation, although no order has been entered by the Court due to objections asserted by

       the Trust and the partition litigation has therefore been unable to proceed.




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       VI.      ASSETS AND LIABILITIES

                A.     ASSETS

                       1.     NW Cornell’s Real Property

                As described above, NW Cornell’s principal asset is a fifty-percent tenant-in-common

       interest in the Cornell Property, which is a 37-acre parcel located at 15005 NW Cornell Road,

       Beaverton, Oregon. NW Cornell estimates that the value of its half interest in the Cornell

       Property was approximately $13,500,000 as of the Petition Date. This is supported by a broker’s

       price opinion dated February 26, 2019. It is difficult to assess what impact the pandemic

       currently afflicting the United States will have on the value of the Cornell Property or other

       properties in the greater Portland area. The non-debtor tenant-in-common owners are limited

       liability companies owned by Dinihanian’s sister, Lillian Logan, and her two adult children.

       They assert that NW Cornell lacks the authority to enter into the Plan Loan, and that entering

       into the Plan Loan will, through an unauthorized transfer or otherwise, create a multi-million-

       dollar damages claim in favor of the non-debtor tenant-in-common owners under the tenant-in-

       common agreement. NW Cornell asserts that it has the authority to enter into the Plan Loan

       pursuant to Section 8 of the tenant-in-common agreement without violating any other provision

       of the agreement or creating a damages claim.

                       2.     Dinihanian’s Real Property

                Dinihanian owns real property and improvements at 237 NW Skyline, in Portland

       Oregon. The Skyline Property is Mr. Dinihanian’s residence, as well as the location where Mr.

       Dinihanian conducts the business activities of Eagle Holdings. Dinihanian estimates that the

       total value of the residence was approximately $1,000,000 as of the Petition Date.

                       3.     Personal Property

                As of the Petition Date, NW Cornell owned very few items of personal property. As of

       the Petition Date, Dinihanian’s hard assets consisted of miscellaneous household goods and

       furnishings. Dinihanian also had checking accounts and brokerage accounts. Dinihanian also

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       owns all membership interests in Eagle Holdings, LLC, which in turn owns stock or membership

       interests in various entities that own commercial real estate. Dinihanian owned a half interest

       with his sister, Lillian Logan, in a cabin located in Welches, Oregon. A list of Dinihanian’s

       assets can be found in Dinihanian’s Amended Schedule A/B [ECF No. 60] (Dinihanian Case) 2.

       The combined net values of Dinihanian’s assets, including Eagle Holdings and the various stock

       or membership interests it owns, and the Welches cabin, fall far short of the funds necessary to

       pay the Claims and other amounts required to be paid under the Plan.

                Dinihanian also has potential tort claims (potentially as derivative claims) against Lillian

       Logan, related to allegations of breach of fiduciary duty and oppression in connection with

       Dinihanian Floral Products, Inc., which is jointly owned by Dinihanian and Ms. Logan.

                B.     LIABILITIES

                       1.      Tasha Teherani-Ami

                Pursuant to the Divorce Judgment, Dinihanian owes Tasha Teherani-Ami $2,250,000,

       plus accrued interest at 4.5% per annum from the date of the Divorce Judgment, until paid, as

       well as actual and reasonable costs and attorney fees. As of June 1, 2021, Debtors believe the

       total amount owing to Teherani-Ami was approximately $2,855,000. Since June 1, 2021,

       Debtors have made monthly adequate protection payments of interest to Teherani-Ami. Such

       payments will continue through September 2021, at which time Teherani-Ami will be entitled to

       relief from stay to continue her foreclosure actions.

                The Divorce Judgment is secured by a Residential Trust Deed against the Skyline

       Property and by a deed of trust against NW Cornell’s interest in the Cornell Property. NW

       Cornell has commenced an adversary proceeding to avoid the transfer by which the deed of trust

       against the Cornell Property was delivered to Ms. Teherani-Ami.




       2
           References to the “Dinihanian Case” refer to Bankruptcy Case No. 19-31886-dwh11.
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                       2.     Bateman Seidel and Daniel Lorenz Trust Deed Claims

                Dinihanian executed one or more trust deeds encumbering the Skyline Property in favor

       of NW Cornell’s prepetition counsel, Bateman Seidel, and Dinihanian’s prepetition counsel,

       Daniel Lorenz, in the collective face amount of $250,000 as security for legal fees advanced

       prepetition for the respective Debtors by such counsel.

                       3.     Columbia Bank

                Dinihanian owes Columbia Bank in connection with an equipment loan, and a real estate

       loan for commercial properties owned by two limited liability companies he controls.

       Dinihanian also has executed personal guaranties in connection with other loans made by

       Columbia Bank to entities controlled by Mr. Dinihanian.

                       4.     Unsecured Creditors

                The total amount of Unsecured Claims scheduled by Dinihanian is approximately

       $976,654. This amount includes the Columbia Bank claims described above. This amount does

       not include claims made by Lillian Logan [See Claim No. 4; Case No. 19-31886-dwh11].

                       5.     Trust Claim

                The Sonja Dinihanian GST Trust DTS 1/1/11 (the “Trust”) seeks the immediate transfer

       of a deed to half of NW Cornell’s undivided tenant-in-common interest in the Cornell Property

       in exchange for redemption of the Trust’s half membership interest in NW Cornell, pursuant to

       the Divorce Judgment and as set forth in late-filed Claim No. 6. NW Cornell has commenced an

       adversary proceeding to avoid any obligation to make such a transfer of half of its assets or, to

       the extent such a transfer is deemed to have occurred without an executed deed, to avoid such a

       deemed transfer.

                       6.     Other Asserted Hypothetical Claims

                The co-owners of the Cornell Property have asserted arguments that they may be injured

       and suffer damages if (1) NW Cornell’s TIC interest in the Cornell Property is transferred as a

       result of foreclosure of the proposed Plan Loan; or (2) the entire Cornell Property is ultimately

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       sold as a whole pursuant to Section 363(h) of the Bankruptcy Code. The co-owners argue that

       either type of transfer would result in a breach of the Tenancy in Common Agreement between

       NW Cornell and the co-owners. Further, in the event that a sale of the entire Cornell Property is

       sold pursuant to 11 U.S.C. § 363(h), the co-owners argue they may be damaged because the sale

       would result in taxable gains, which would impose tax liabilities upon them that would not exist

       but for a sale of the entire Cornell Property. Debtors deny the co-owners’ arguments that

       Debtors would be liable under either scenario, for the reasons set forth below.

                               a.       Foreclosure of Plan Loan

                First, in the event that NW Cornell’s TIC interest in the Cornell Property is transferred as

       a result of foreclosure of the Plan Loan, the transfer would be an authorized transfer. The

       Tenancy in Common Agreement is written to preserve each co-owner’s ability to pursue a 1031

       exchange with respect to their prospective interests in the Cornell Property. Specifically, the

       Tenancy in Common Agreement is written in compliance with IRS Rev. Proc. 2002-22 in at least

       the following ways in that it:

                    • Provides that the title to the Cornell Property as a whole may not be held as an

                    entity under state law (TIC Agreement, ¶ 1);

                    • Provides that the co-ownership may not file a partnership or corporate tax return

                    (TIC Agreement);

                    • Indicates that each co-owner may encumber its share of the Cornell Property (TIC

                    Agreement, ¶ 8); and,

                    • Indicates that each co-owner may transfer its respective interest in the Cornell

                    Property, subject only to a right of first refusal in favor of the other co-owners (TIC

                    Agreement, ¶ 10(a)).

                Because these provisions are present in the Tenancy In Common Agreement, Debtors

       believe that the co-owners arguments are misplaced. Because the agreement authorizes NW

       Cornell to encumber its TIC Interest, the agreement implicitly consents to the risk that NW

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       Cornell’s interest may be transferred through foreclosure in the event of a default. Moreover, if

       the Debtors default on the Plan Loan after confirmation and funding of such loan, notice of any

       potential foreclosure sale can be provided to the co-owners in compliance with Section 10(b) of

       the TIC Agreement. Such notice would provide the co-owners the opportunity to purchase NW

       Cornell’s TIC Interest prior to foreclosure. In the event that the co-owners fail to elect to

       purchase NW Cornell’s TIC Interest, the TIC Agreement explicitly authorizes a transfer. In the

       event that Debtors are wrong about this position, and if foreclosure of the Plan Loan would result

       in a breach of the TIC Agreement, there is a risk that the Debtors will be liable to the co-owners,

       which could diminish the amount of Debtors’ equity. Debtors believe the risk to creditors is

       minimal, because claims will have already been paid under the Plan prior to any potential

       foreclosure. Thus, the majority of the risk is borne by Debtors themselves.

                              b.      Sale of Entire Cornell Property

                      In the event of a sale of the entire property, Debtors believe the TIC co-owners

       would not have any claim against the Debtors, for breach of the TIC Agreement or otherwise.

       First, Debtors do not believe there is any controlling authority indicating that they bear any

       liability to the co-owners if Debtors successfully prove the elements of a claim under § 363(h).

       Second, Debtors believe the co-owners would be provided sufficient notice to enable them to

       minimize their respective taxes through a 1031 exchange, completely mitigating any potential

       damages. Finally, as is described above regarding foreclosure, co-owners would be provided

       notice of any potential sale of the entire property, and they would therefore have the ability to

       make an offer to purchase the Cornell Property, or even just NW Cornell’s TIC Interest. There is

       a risk that, if Debtors are incorrect in these arguments, the equity Debtors will receive after a sale

       will be reduced by the amount of damages they are required to pay the co-owners. Debtors

       believe the risk to creditors is minimal, because claims will have already been paid under the

       Plan prior to any potential foreclosure. Thus, the majority of the risk is borne by Debtors

       themselves.

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       VII.     DESCRIPTION OF PLAN

                A.     SOLICITATION AND CLASSIFICATION AND TREATMENT OF
                       CLAIMS AND EQUITY SECURITIES
                       1.     General

                Pursuant to Section 1123(a)(1) of the Bankruptcy Code, a Plan of Reorganization must

       designate classes of Claims and classes of interest. The Plan classifies all Claims and Interests

       into 13 classes. The classification of Claims and Interests is made for the purpose of voting on

       the Plan and making distributions thereunder, and for ease of administration of the Plan. A

       Claim or Interest is classified in a particular Class only to the extent the Claim or Interest

       qualifies within the description of that Class and is classified in a different Class to the extent the

       Claim or Interest qualifies within the description of such different Class. A Claim or Interest is

       entitled to vote in a particular Class and to receive distributions in such Class only to the extent

       such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and has not been

       paid prior to the Effective Date. Under the Plan, a Claim or Interest is an Allowed Claim

       against, or an Allowed Interest in, Debtor to the extent that (a) a proof of the Claim or Interest

       was (1) timely Filed, or (2) deemed Filed under applicable law by reason of an order of the

       Bankruptcy Court; or (b) scheduled by Debtor on its Schedules of Liabilities as neither

       contingent, unliquidated, or disputed; and (c) (i) no party in interest has Filed an objection within

       the time fixed by the Bankruptcy Court, (ii) the Claim or Interest is allowed by Final Order; or

       (iii) with respect to an application for compensation or reimbursement of an Administrative

       Expense Claim, the amount of the Administrative Expense Claim has been approved by the

       Bankruptcy Court.

                       2.     Unclassified Claims

                Administrative Expense Claims and Priority Tax Claims are not classified. An

       Administrative Expense Claim is a Claim against Debtors constituting an expense of

       administration of the Bankruptcy Case allowed under Section 503(b) of the Bankruptcy Code

       including, without limitation, the actual and necessary costs and expenses of preserving the
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       estate and operating Debtors’ business during the Bankruptcy Case; claims for the value of goods

       received by Debtors within 20 days before the Petition Date sold in the ordinary course of

       business; any indebtedness or obligations incurred by Debtors during the pendency of the

       Bankruptcy Case in connection with the provision of goods or services to Debtors; compensation

       for legal and other professional services and reimbursement of expenses; and statutory fees

       payable to the U.S. Trustee.

                A “Priority Tax Claim” is a Claim of a governmental unit of the kind entitled to priority

       under Section 507(a)(8) of the Bankruptcy Code or that would otherwise be entitled to priority

       but for the Secured status of the Claim. Each holder of an Allowed Priority Tax Claim shall be

       paid by Reorganized Debtors, within 30 days following the Effective Date or the date the Claim

       is Allowed, whichever is sooner, the full amount of its Allowed Priority Tax Claim as allowed by

       11 U.S.C. § 1129(a)(9)(C) and (D). The IRS has Filed a Priority Tax Claim against Dinihanian

       in the amount of $6,084.70

                Pursuant to the Plan of Reorganization, Administrative Expense Claims will be paid in

       full on the later of the Effective Date or the date on which any such Administrative Expense

       Claim becomes an Allowed Claim unless such holder shall agree to a different treatment of such

       Claim (including, without limitation, any different treatment that may be provided for in any

       documentation, statute, or regulation governing such Claim). However, the Administrative

       Expense Claims representing liabilities incurred in the ordinary course of business (including

       amounts owed to vendors and suppliers that have sold goods or furnished services to Debtors

       after the Petition Date), if any, will be paid in accordance with the terms and conditions of the

       particular transactions and any other agreements relating thereto. Debtors will include the

       estimated amount of such expenses in the Report of Administrative Expense Claims to be Filed

       prior to the hearing on confirmation.




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                       3.      Classified Claims

                The following summary of distributions under the Plan to Classified Claims does not

       purport to be complete and is subject to, and is qualified in its entirety by reference to, the Plan

       attached hereto as Exhibit 1.

                               (a) Class 1 (Tasha-Teherani-Ami’s Secured Claim Against Dinihanian).

       Class 1 consists of Tasha Teherani-Ami’s Secured Claim against Dinihanian. The Class 1 Claim

       will be paid in full on the Effective Date, together with interest at the rate of 4.5% per annum

       from and after the Petition Date, and reasonable costs and attorney fees in an amount established

       by the Bankruptcy Court following application and hearing. Teherani-Ami will file an

       application her reasonable costs and attorney fees associated with the Class 1 Claim not later

       than 14 days after the entry of order confirming the Plan. Class 1 is unimpaired and will be

       deemed to accept the Plan. The Divorce Judgment shall be modified to extend the deadline for

       payment of the Class 1 Claim to the date on which the Class 1 Claim is to be paid under the

       terms of this Plan.
                The Teherani-Ami Skyline Trust Deed shall be modified as follows:

                •   Section 1.2 shall be modified to read as follows:

                    “Grantor will pay and perform all Obligations when due under the Joint Chapter 11
                    Plan dated July 30, 2020, filed in the Bankruptcy Case of In re 15005 NW Cornell,
                    LLC, Bankruptcy Case No. 19-31883-dwh11 (jointly administered).

                •   The following language shall be added to the end of Article V:

                    “Notwithstanding the foregoing, the Obligations shall not be accelerated as a result of
                    Grantor’s filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                    Case Number 19-31886-dwh11.

                •   Sections 1.8, 1.9, and all provisions referring those sections, shall be deleted.

       All other provisions of the Teherani-Ami Skyline Trust Deed shall remain unmodified.

                               (b) Class 2 (General Unsecured Claims Allowed Against NW Cornell).

       Class 2 consists of all Allowed Unsecured Claims against NW Cornell that are not otherwise
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       classified in the Plan. Each holder of a Class 2 Claim shall be paid in full together with interest

       at the federal judgment rate (fixed at the rate in effect on the Effective Date) within six months

       after the Effective Date.

                              (c) Class 3 (Trust Claim). Class 3 consists of the Disputed Trust Claim to

       ownership in the Cornell Property as a result of the Divorce Judgment. The Class 3 Claim will

       (a) retain its prepetition membership interest in Cornell LLC as the Reorganized Debtor or (b)

       receive such alternative relief as ordered by the Court, including in Adv. Pro. No. 20-03077,

       Adv. Pro. No. 20-03079 and the claim objection found at Docket No. 258, in full satisfaction of

       the Trust Claim. The Class 3 Claim is impaired under the Plan.
                              (d) Class 4 (Multnomah County Property Taxes). Class 4 consists of

       Multnomah County’s secured property tax claim against Dinihanian, secured by the Skyline

       Property. The Class 4 Claim shall be paid in full, together with interest at the rate of 16% per

       annum from and after the Petition Date. The Class 4 Claim shall be paid in the same manner as

       Class 2 Claims.

                              (e) Class 5 (Tasha Teherani-Ami). The Class 5 Claim consists of Tasha

       Teherani-Ami’s disputed secured claim against NW Cornell, pursuant to the Divorce Judgment

       and the Teherani-Ami Cornell Trust Deed. The Class 5 Claim is the same debt as the Class 1

       Claim and payment of the Class 1 Claim, described above, shall constitute full satisfaction of the

       Class 5 Claim. The Class 5 Claim is unimpaired and is deemed to accept the Plan.

                              (f)     Class 6 (Bateman Seidel Claim). Class 6 consists of the Allowed

       secured Claim of Bateman Seidel, PC. The Class 6 Claim shall be paid at the same time and in

       same manner as Class 2 Claims, described above.

                              (g)     Class 7 (Lorenz Claim). Class 7 consists of the Allowed secured

       Claim of Daniel Lorenz against Dinihanian for legal services provided to Dinihanian and

       evidenced by a trust deed. The Class 7 Claim shall be paid in at the same time and in the same

       manner as the Class 2 Claims, described above.

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                                (h) Class 8 (Columbia Bank – Equipment Loans). Class 8 consists of the

       Allowed Secured Claim of Columbia Bank, relating to the Columbia Equipment Note. Any

       default that exists under the Columbia Loan Documents shall be deemed cured or waived as of

       the Effective Date. Columbia’s Class 6 Claim will be paid in full together with interest at the

       non-default rate under the Columbia Equipment Note, on the same terms and payments as set

       forth in the Columbia Equipment Note, commencing with the first payment due 60 days after the

       Effective Date. The Columbia Equipment Note will remain in effect except as stated below:

                       •   The maturity date will be delayed for the amount of time between the Petition
                           Date and the date on which the first payment is due to the Class 6 Claim under
                           the terms of this Plan.

                       •   The Columbia Equipment Note shall be amended to delete any reference to
                           the note being payable on demand.

                       •   The following language shall be added to the end of Section X:

                           “Notwithstanding the foregoing, the Obligations shall not be accelerated as a
                           result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                           commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                           filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                           Case Number 19-31883-dwh11.”

                                (i) Class 9 (Columbia Bank – Real Estate Loan). Class 9 consists of the
       Allowed Secured Claim of Columbia Bank, relating to the Columbia Real Estate Note. Any

       default that exists under the Columbia Loan Documents shall be deemed cured or waived as of

       the Effective Date. The Class 9 Claim will be paid in full together with interest at the non-

       default rate under the Columbia Real Estate Note, on the same terms and payments as set forth in

       the Columbia Real Estate Note. The Columbia Real Estate Note will remain in effect except as

       stated below:
                           •    The Columbia Real Estate Note shall be amended to delete any reference
                                to the note being payable on demand.

                           •    The following language shall be added to the end of Section X:

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                                 “Notwithstanding the foregoing, the Obligations shall not be accelerated
                                 as a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                                 commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                                 filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                                 Case Number 19-31883-dwh11.”

                                 (j) Class 10 (Guaranty Claims against Dinihanian). Class 10 consists of

       all allowed Guaranty Claims, including Columbia’s Allowed Claims related to the Columbia

       Guaranty Documents, and those related to other Guaranty Documents. Any default that exists

       under the Columbia Guaranty Documents or other Guaranty Documents shall be deemed cured

       or waived as of the Effective Date. The Columbia Guaranty Documents and other Guaranty

       Documents shall remain in effect, except as stated:

                            •    The following language in the Columbia Guaranty Documents shall be
                                 added to the end of Section X:

                                 “Notwithstanding the foregoing, the Obligations shall not be accelerated
                                 as a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                                 commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                                 filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                                 Case Number 19-31883-dwh11.”

                                 (k) Class 11 (General Unsecured Claims against Dinihanian). Class 11

       consists of all Allowed unsecured claims against Dinihanian not otherwise classified in this Plan.
       Each holder of a Class 11 Claim shall be paid in full together with interest at the federal

       judgment rate (fixed at the rate in effect on the Petition Date) from and after the Petition Date,

       until paid in full. The Class 11 Claims shall be paid at the same time and in the same manner as

       the Class 2 claim.

                                 (l) Class 12 (Interests in NW Cornell). Class 12 Interests in NW Cornell

       shall retain their interests in NW Cornell except as may be determined by the Bankruptcy Court

       with respect to Class 3 Claims referenced above.




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                               (m) Class 13 (Dinihanian’s Interests). The Class 13 interest holder is

       Dinihanian, who shall retain his interests in property of the bankruptcy estate of the Dinihanian

       Bankruptcy Case.

                B.     ADMINISTRATIVE EXPENSES

                NW Cornell has retained the following professionals: (a) Perkins Coie LLP as its general

       counsel in this case and (b) Delap LLP as its accountants. Currently, the total amount of

       Administrative Expense Claims is $460,000 and could be as high as $600,000 by the Effective

       Date depending on the extent of litigation with various parties in interest. A statement of

       professional fees incurred in this case will be Filed with the Court prior to the confirmation

       hearing.

                Dinihanian has retained the following professionals: (a) Motschenbacher & Blattner LLP

       as his general bankruptcy counsel in this case and (b) Delap LLP as his accountants. Currently,

       the total amount of Administrative Expense Claims is approximately $220,000 and could be as

       high as $300,000 depending on the extent of litigation with various parties in interest. A

       statement of professional fees incurred in this case will be Filed with the Court prior to the

       confirmation hearing.

                C.     EXECUTORY CONTRACTS

                The Bankruptcy Code gives debtors the right, after commencement of their Chapter 11

       Cases, subject to approval of the Bankruptcy Court, to assume or reject executory contracts and

       unexpired leases. Generally, an “executory contract” is a contract under which material

       performance (other than the payment of money) is still due by each party. The Plan provides for

       the assumption by debtors of all executory contracts and unexpired leases that are not expressly

       rejected or subject to a motion for rejection Filed on or before the Confirmation Date.

                If an executory contract or unexpired lease is or has been rejected, the other party to the

       agreement may file a Proof of Claim for damages resulting from such rejection. The Plan

       provides that a Proof of Claim with respect to any such Claim must be Filed within 30 days of

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       approval of the Bankruptcy Court of the rejection of the relevant executory contract or unexpired

       lease. Any such Claim shall constitute a Class 2 Claim to the extent such Claim is finally treated

       as an Allowed Claim. To the extent a debtor rejects an unexpired lease of nonresidential real

       property, the Claim for damages resulting from such rejection will be limited to the amount

       allowed under the Bankruptcy Code.

                Upon assumption of an executory contract or unexpired lease, debtors must cure or

       provide adequate assurance of prompt cure of any monetary defaults. The Plan provides that

       Reorganized Debtors will promptly cure all monetary defaults. Debtors do not believe any of the

       executory contracts being assumed will require significant cure payments.

                The Trust asserts the NW Cornell limited liability operating agreement (the “Operating

       Agreement”) is an executory contract that must be assumed and that, because it includes a

       personal services contract, the Trust contends, the contract cannot be assumed by NW Cornell

       without the Trust’s consent, which will not be provided. The Trust further contends the Plan

       cannot be confirmed, and indeed the bankruptcy case must be dismissed, absent NW Cornell’s

       assumption of the Operating Agreement. Specifically, the Trust argues NW Cornell’s failure to

       execute a deed to the Trust of half of NW Cornell’s tenant-in-common interest in the Cornell

       Property, pursuant to the Stipulated Judgment, is default under the Operating Agreement that

       must be cured as a condition of assumption.

                The Debtors disagree with the Trust’s argument on numerous grounds, including that the

       Operating Agreement is not an executory contract, that NW Cornell was not a party to the

       Stipulated Judgment that purports to require execution of a deed to the Trust, that NW Cornell

       received no consideration for such a transfer, among other arguments. These arguments are set

       forth and will be decided, in whole or in part, through NW Cornell’s objection to the Trust’s

       Claim, the Trust’s Complaint, and the Cornell Avoidance Action.

                If the Trust prevails and the Debtors do not, the Plan Lender may not fund the Plan Loan

       and the Plan may not be confirmable.

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                D.     IMPLEMENTATION OF THE PLAN

                The Debtors will obtain the funds to pay Claims as provided in this Plan through

       borrowing under the Plan Loan. Repayment of the Plan Loan will be secured by an

       encumbrance on the Skyline Property. It will also be secured by an encumbrance on NW

       Cornell’s tenant-in-common interest in the Cornell Property, not the interests of other owners of

       tenant-in-common interests in the Cornell Property . NW Cornell is authorized to such an

       encumbrance pursuant to Paragraph 8 of the Tenant-in-Common Agreement, which states: “Each

       owner shall have the right to encumber its undivided interest in the Property without the approval

       of any person and shall discharge the obligation secured by the encumbrance in accordance with

       its terms.” Other tenant-in-common owners have challenged NW Cornell’s right to agree to such

       an encumbrance. There is a risk that such a challenge will prevail and that the encumbrance will

       not be permitted. Under those conditions, the Plan Lender may not agree to fund the Plan Loan.

                The Trust asserts NW Cornell must deliver to it a deed to a twenty-five percent tenant-in-

       common interest in the Cornell Property in exchange for the redemption of the Trust’s fifty-

       percent membership interest in NW Cornell, an exchange provided for the Stipulated Judgment.

       NW Cornell rejects the Trust’s position that it must deliver a deed on various grounds, including

       that NW Cornell was not a party to the Stipulated Judgment and received no consideration for

       such a deed. The Trust has commenced an adversary proceeding seeking a declaratory judgment

       that would result in the Trust owning half of NW Cornell’s TIC interest in the Cornell Property.

       The Trust also argues that the Debtors must assume three executory contracts before Debtors

       have the authority to confirm the Plan and obtain the Plan Loan. The Trust asserts Debtors must

       obtain the Trust’s consent, which will not be given, to assume a portion of the NW Cornell

       operating agreement. Debtors deny all of the Trust’s claims.

                NW Cornell is defending the adversary proceeding brought by the Trust and has

       commenced an adversary proceeding to avoid any obligation allegedly imposed upon NW

       Cornell to transfer a deed to the Trust. NW Cornell has also filed an objection to the Trust’s

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       proof of claim. Debtors believe that the Trust’s right to equitable relief would be eliminated if

       the objection to the proof of claim is sustained by the Bankruptcy Court. The Trust has argued

       that NW Cornell must succeed in both adversary proceedings and the proof of claim objection

       for the Plan to be successful. Debtors reject the Trust’s arguments and believe the Plan may still

       be successful even if NW Cornell loses the claim objection and both adversary proceedings.

       Ultimately, however, the following risks exist: (i) the Debtors may lose the adversary

       proceedings and the proof of claim objection, (ii) losing one or more of the adversary

       proceedings and the proof of claim objection could require NW Cornell to grant a deed to the

       Trust; and (iii) the Plan Lender may not agree to fund the Plan Loan if the Trust is granted a

       deed, which would result in failure of the Plan.

                The Trust also asserts, in light of its claims under the Stipulated Judgment, NW Cornell

       should not be permitted to grant an encumbrance on NW Cornell’s half tenant-in-common

       interest in the Cornell Property. If the Trust’s objection is sustained, the encumbrance on NW

       Cornell’s fifty-percent tenant-in-common interest in the Cornell Property envisioned by Plan

       Lender will be diminished by half, and the Plan Lender may not agree to fund the Plan Loan.

                As a condition of the Plan Loan, the Plan Lender will require the Debtors to agree to (i)

       use their best efforts to complete or otherwise resolve the partition litigation pending in

       Washington County or (ii), in consultation with the Plan Lender, make a determination that

       completion of the partition litigation is not practicable within a reasonable time and the Debtors

       should pursue, through a reservation of jurisdiction by this Court, the sale of the entire Cornell

       Property pursuant to Section 363(h) of the Bankruptcy Code. No documents exist that define or

       expand upon the precise meaning of “in consultation with,” as referenced in this paragraph. The

       criteria used by Debtors would include the length of time required to complete the proposed

       partition, the difficulty and expense involved in pursuing the partition if the co-owners of the

       Cornell Property, potentially including the Trust, oppose partition, appeal any judgment in the

       partition litigation, or if the co-owners otherwise try to block or thwart Debtors’ efforts to

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       finalize the partition of the Cornell Property. For the avoidance of doubt, the Debtors’

       agreement referenced above will be sufficient to permit the funding of the Plan Loan and the

       payment of Claims as set forth in the Plan.

                The Debtors anticipate the $5.6 million in proceeds under the Plan Loan to be dedicated

       as set forth in Exhibit 3, Projected Use of Funds. One component of the Use of Funds is the

       reservation of $1.5 million (a) for completion of the partition litigation, (b) to complete the land

       use and entitlement process in Washington County, (c) if necessary, to prosecute an adversary

       proceeding under Section 363(h) of the Bankruptcy Code to obtain an order requiring the sale of

       the entire Cornell Property on the grounds that completion of the partition process will involve

       impracticable delays and obstruction, and (d) for initial design and development costs. In

       addition, counsel for the Reorganized Debtor in the partition action, whose employment

       application has been blocked by objections in these cases, will be permitted to proceed post-

       confirmation and be paid with proceeds of the Plan Loan. The actual timing and content of any

       future development of the Cornell Property or any partitioned portion thereof will depend on

       how the above elements evolve. The payment of creditors’ Claims under the Plan will be funded

       by the Plan Loan and will not await or be dependent upon the resolution of any of the elements

       of uncertainty described in this paragraph.

                The Debtors anticipate that the Plan Loan will be repaid at maturity by refinancing. If the

       Debtors are forced to seek relief under Section 363(h) of the Bankruptcy Code, the NW Cornell-

       owned as well as non-debtor interests in the Cornell Property will be sold. In this instance, the

       Plan Loan would be repaid with the proceeds of such sale.

                E.     EFFECT OF CONFIRMATION

                       1.      Binding Effect

                The treatment of, and consideration received by, holders of Allowed Claims and Interests

       pursuant to the Plan will be in full satisfaction of their respective Claims against or Interests in

       Debtors. The Confirmation Order shall bind Debtors and any Creditor, and discharge Debtors

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       from any liability that arose before the Effective Date, as provided in Sections 524 and 1141 of

       the Bankruptcy Code, and any debt and liability of a kind specified in Sections 502(g), 502(h) or

       502(i) of the Bankruptcy Code, whether or not (1) a proof of claim based on such Creditor’s debt

       or liability is Filed or deemed Filed under Section 501 of the Bankruptcy Code, (2) a Claim

       based on such debt or liability is Allowed, or (3) the holder of the Claim based on such debt or

       liability has accepted the Plan.

                       2.      Revesting, Operation of Business

                Except for the Cornell Property, which will remain property of the estate of the NW

       Cornell bankruptcy until the Cornell Property Revesting Date, all property of the bankruptcy

       estates shall revest in each respective Reorganized Debtor on the Effective Date free and clear of

       all rights, claims, liens, charges, encumbrances, and interests, except as otherwise specifically

       provided in the Plan. Except as otherwise set forth in the Plan, there are no limitations or

       restrictions on the post-confirmation activities or operations of Debtors.

                       3.      Injunction

                The effect of confirmation shall be as set forth in Section 1141 of the Bankruptcy Code.

       Except as otherwise provided in the Plan, prior order of the Bankruptcy Court, or in the

       Confirmation Order, confirmation of the Plan shall act as a permanent injunction applicable to

       entities against (1) the commencement or continuation, including the issuance or employment of

       process, of a judicial, administrative, or other action or proceeding of any kind against Debtors or

       Reorganized Debtors that was or could have been commenced before the entry of the

       Confirmation Order; (2) the enforcement, attachment, collection, or recovery against

       Reorganized Debtors or its assets of any judgment, award, decree, or order obtained before the

       Petition Date; (3) any act to obtain possession of or to exercise control over, or to create, perfect,

       or enforce a lien upon all or any part of the assets of Reorganized Debtors; (4) asserting any

       setoff, or right of subrogation or recoupment of any kind against any obligation due to Debtors,

       Reorganized Debtors, or their property; and (5) proceeding in any manner in any place

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       whatsoever that does not conform to, does not comply with, or is inconsistent with the provisions

       of the Plan or the Confirmation Order. For the avoidance of doubt, the injunction referenced

       above shall be applicable to the matters set forth in Section IV. Neither the injunction nor any

       provision of the Plan prohibits the Washington County Case to proceed to completion in state

       court including all appeals.

                       4.      Event of Default

                Any material failure by Reorganized Debtors to perform any term of the Plan, which

       failure continues for a period of fifteen Business Days following receipt by Reorganized Debtors

       of written notice of such default from the holder of an Allowed Claim to whom performance is

       due, shall constitute an Event of Default. Upon the occurrence of an Event of Default, the holder

       of an Allowed Claim to whom performance is due shall have all rights and remedies granted by

       law, the Plan or any agreement between the holder of such Claim and Debtors or Reorganized

       Debtors. An Event of Default with respect to one Claim shall not be an Event of Default with

       respect to any other Claim.

                       5.      Modification of the Plan; Revocation or Withdrawal of the Plan

                Subject to Section 1127 of the Bankruptcy Code, Debtors reserves the right to alter,

       amend, modify, or withdraw the Plan before its substantial consummation so long as the

       treatment of holders of Claims and Interests under the Plan are not adversely affected.

                       6.      Retention of Jurisdiction

                Notwithstanding the entry of the Confirmation Order, the Court shall retain jurisdiction

       of this Chapter 11 Case pursuant to and for the purposes set forth in Section 1127(b) of the

       Bankruptcy Code and:

                               (a) to classify the Claim or interest of any Creditor or stockholder,

       reexamine Claims or Interests which have been owed for voting purposes and determine any

       objections that may be Filed to Claims or Interests,



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                              (b) to determine requests for payment of Claims entitled to priority under

       Section 507(a)(1) of the Bankruptcy Code, including compensation and reimbursement of

       expenses in favor of professionals employed at the expense of the Estate,

                              (c) to avoid liens, transfers, or obligations or to subordinate Claims under

       Chapter 5 of the Bankruptcy Code,

                              (d) to approve the assumption, assignment or rejection of an executory

       contract or an unexpired lease pursuant to this Plan,

                              (e) to resolve controversies and disputes regarding the interpretation of

       this Plan,

                              (f) to implement the provisions of this Plan and enter orders in aid of

       confirmation, including an action by the Reorganized Debtors pursuant to Section 363(h) of the

       Bankruptcy Code brought prior to the Cornell Property Revesting Date,

                              (g) to adjudicate adversary proceedings and contested matters pending or

       hereafter commenced in this Chapter 11 Case, and

                              (h) to enter a final decree closing this Chapter 11 proceeding.

                       7.     United States Trustee Fees

                Reorganized Debtors shall be responsible for timely payment of fees incurred pursuant to

       28 U.S.C. § 1930(a)(6) until the case is closed, converted, or dismissed. After confirmation,

       Reorganized Debtors shall serve on the United States Trustee a financial report for each quarter,

       or portion thereof, that the case remains open. The quarterly financial report shall include a

       statement of all disbursements made during the course of the quarter, whether or not pursuant to

       the Plan.

       VIII. LIQUIDATION ANALYSIS

                A Plan of Reorganization cannot be confirmed unless the Bankruptcy Court finds that the

       Plan is in the “best interest of creditors” or holders of Claims against, and Equity Security in,

       Debtors subject to such plan. The best interest test is satisfied if a plan provides each dissenting

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       or non-voting member of each impaired Class with a recovery not less than the recovery such

       member would receive if each Debtor was liquidated in a hypothetical case under Chapter 7 of

       the Bankruptcy Code by a Chapter 7 Trustee. The Debtors are proposing to pay all creditors in

       full, and thus the best interest of creditors test is automatically satisfied.

                Despite the fact that the Debtors’ Plan of Reorganization proposes to pay all creditors in

       full and therefore satisfies best interest of creditors test, certain parties in interest have demanded

       that a liquidation analysis be provided. Attached as Exhibit 4 is a liquidation analysis provided

       by the Debtors for each Debtor separately. All asset values included in the liquidation analysis

       were based on the Debtors’ opinions of value, based on Debtors’ familiarity with their properties,

       and Debtors’ experience in the area of commercial real estate. Parties in interest have asserted

       that the Debtors’ statements of value have been inconsistent, but Debtors assert that any differing

       valuation numbers were due, in part, to the difference in the time periods when valuation

       estimates were prepared. Additionally, Debtors assert that inconsistency in valuation may also

       be due to differences in the type of valuation (i.e., liquidation vs. going concern value). The

       valuation estimates provided in the attached liquidation analysis are intended to be current fair

       market values as of the date of this disclosure statement.

       IX.      POSSIBLE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

                CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE PLAN

       MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR OWN

       ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS.

                The following discussion summarizes in general terms certain federal income tax

       consequences of the implementation of the Plan based upon existing provisions of the Internal

       Revenue Code of 1986, as amended (the “Internal Revenue Code”), court decisions, and current

       administrative rulings and practice. This summary does not address the federal income tax

       consequences of the Plan to holders of priority or secured claims, nor does it address any state,

       local or foreign tax matters or the federal income tax consequences to certain types of creditors

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       (including financial institutions, life insurance companies, tax exempt organizations and foreign

       taxpayers) to which special rules may apply. No rulings or opinions have been or will be

       requested from the Internal Revenue Service with respect to any of the tax aspects of the Plan.

                THIS ANALYSIS DOES NOT ADDRESS THE TAX IMPLICATIONS OF THE PLAN

       TO ANY SPECIFIC CREDITOR. Substantial differences in the tax implications are likely to be

       encountered by the creditors because of the difference in the nature of their Claims, their

       taxpayer status, their method of accounting, and the impact of prior actions they may have taken

       with respect to their Claims.

                The following are the anticipated tax consequences of the Plan:

                A.     TAX CONSEQUENCES TO THE DEBTORS.

                The Debtors do not anticipate any extraordinary or unusual tax consequences because all

       claims are expected to be paid in full. Debtors will experience ordinary income from continued

       operations and earnings and will be entitled to deduct business expenses for any business-related

       expenses and interest expense. Debtors do not anticipate any cancellation of debt income. In the

       event NW Cornell sells its real property, NW Cornell shall pay any applicable capital gains taxes

       that result from the sale.

                B.     GENERAL TAX CONSEQUENCES ON CREDITORS.

                       Creditors will likely not experience any unusual or extraordinary tax consequence

       following Confirmation of the Plan. Payments will be treated in the same manner as they were

       treated before Confirmation of the Plan. As discussed above, the effect of the Plan on specific

       creditors will depend on specific financial information relative to such creditor that is unknown

       to the Debtors. As a result, the tax implications to specific creditors cannot be completely

       described herein

                EACH INTEREST HOLDER IS URGED TO CONSULT SUCH INTEREST

       HOLDER’S OWN TAX ADVISOR AS TO THE CONSEQUENCES OF THE PLAN TO

       SUCH HOLDER UNDER FEDERAL AND APPLICABLE STATE, LOCAL, AND FOREIGN

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       TAX LAWS. DEBTORS AND DEBTORS’ COUNSEL EXPRESS NO OPINION AS TO THE

       TAX CONSEQUENCES OF THE PLAN OR THE EFFECT THEREOF ON ANY

       CLAIMANT.

       X.       ACCEPTANCE AND CONFIRMATION OF THE PLAN

                A.     CONFIRMATION HEARING

                The Bankruptcy Court has scheduled a hearing on confirmation of the Plan on the date

       and at the time and place set forth in the accompanying Order and will be held before the

       Honorable David W. Hercher, United States Bankruptcy Judge. At that hearing, the Bankruptcy

       Court will consider whether the Plan satisfies the various requirements of the Bankruptcy Code,

       including whether it is feasible and whether it is in the best interest of Creditors and Interest

       holders of Debtors. Debtors will submit a report to the Bankruptcy Court prior to the hearing

       concerning the votes for acceptance or rejection of the Plan by the parties entitled to vote

       thereon. To be considered by the Court, any objection to confirmation of the Plan must be

       timely filed on or before the deadline set in the Order.

                B.     REQUIREMENTS OF CONFIRMATION

                       At the hearing on confirmation, the Bankruptcy Court will determine whether the

       provisions of Section 1129 of the Bankruptcy Code have been satisfied. If all of the provisions

       of Section 1129 are met, the Bankruptcy Court may enter an order confirming the Plan. Debtors

       believe the Plan satisfies all of the requirements of Chapter 11 of the Bankruptcy Code, that it

       has complied or will have complied with all of the requirements of Chapter 11, and that the Plan

       has been proposed and is made in good faith.

                C.     CRAMDOWN

                A Court may confirm a Plan, even if it is not accepted by all impaired classes, if the Plan

       has been accepted by at least one impaired class of claims and the Plan meets the cramdown

       requirements set forth in Section 1129(b) of the Bankruptcy Code. In the event any impaired

       Class of Claims does not accept the Plan, Debtor hereby requests the Bankruptcy Court to

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       confirm the Plan in accordance with Section 1129(b) of the Bankruptcy Code or otherwise

       permit Debtors to modify the Plan.

                D.     FEASIBILITY

                Debtors believe that confirmation of the Plan is not likely to be followed by the

       liquidation of either of the Reorganized Debtors or a need for a further financial reorganization

       of Reorganized Debtors. Debtors believe they can obtain financing through the Plan Loan in an

       amount sufficient to pay all creditors in full. The timing of the payments to Creditors will

       depend on the timing of the closing and the availability of funds under the Plan Loan.

                E.     ALTERNATIVES TO CONFIRMATION OF THE PLAN

                If a Plan is not confirmed, Debtors or another party in interest may attempt to formulate

       or propose a different Plan or Plans of Reorganization. Such Plans might involve the sale of

       Dinihanian’s other assets, an orderly liquidation of NW Cornell’s assets, or any combination

       thereof. If no Plan of Reorganization is determined by the Bankruptcy Court to be confirmable,

       the Chapter 11 case may be converted to a liquidation proceeding under Chapter 7 of the

       Bankruptcy Code.

                In a liquidation, a Chapter 7 trustee would be appointed with the purpose of liquidating

       the assets of Debtors. Typically, in liquidation, assets are sold for less than their going concern

       value and, accordingly, the return to Creditors and Interest holders is less than the return in a

       reorganization, which derives the value to be distributed in a Plan from the business as a going

       concern. Proceeds from liquidation would be distributed to Creditors and Interest holders of

       Debtors in accordance with the priorities set forth in the Bankruptcy Code.

                Debtors believe there is no currently available alternative that would offer holders of

       Claims and Interests in Debtors greater than the Plan and urges all parties entitled to vote on the

       Plan to vote to accept the Plan.




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       XI.      CONCLUSION

                Please read this Disclosure Statement and the Plan carefully. After reviewing all the

       information and making an informed decision, please vote by using the enclosed ballot.

                DATED this 22 day of July 2021.

                                                Respectfully submitted,

                                                PERKINS COIE LLP

                                                By /s/ Douglas Pahl
                                                   Douglas Pahl, OR Bar No. 950476
                                                   Of Attorneys for Debtor 15005 NW Cornell LLC


                                                MOTSCHENBACHER & BLATTNER LLP
                                                By /s/ Nicholas J. Henderson
                                                   Nicholas J. Henderson, OSB No. 074027
                                                       Of Attorneys for Debtor Vahan M. Dinihanian, Jr




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       EXHIBITS ATTACHED:

       Exhibit 1: Joint Plan of Reorganization


       Exhibit 2: Term Sheet


       Exhibit 3: Projected Use of Funds


       Exhibit 4: Liquidation Analysis




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   Exhibit 1
 Joint Plan of
Reorganization




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      Of Attorneys for 15005 NW Cornell LLC



                       UNITED STATES BANKRUPTCY COURT

                                 DISTRICT OF OREGON

 In re:                                           Bankruptcy Case Nos.:

    15005 NW Cornell LLC; and                     19-31883-dwh11 (Lead Case)
    Vahan M. Dinihanian, Jr.,                     19-31886-dwh11

                      Debtors.                    Jointly Administered Under
                                                  Case No. 19-31883-dwh11

                                                  DEBTORS’ SECOND AMENDED JOINT
                                                  PLAN OF REORGANIZATION
                                                  DATED JULY 22, 2021




          DEBTORS’ SECOND AMENDED JOINT PLAN OF                                MOTSCHENBACHER & BLATTNER LLP
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               15005 NW Cornell LLC, as debtor and debtor-in-possession (“NW Cornell”) and Vahan

      M. Dinihanian, Jr., as debtor-in-possession (“Dinihanian”) (collectively, the “Debtors”), propose

      this Joint Plan of Reorganization dated July 31, 2020 (the “Plan”) pursuant to Section 1121(a) of

      Title 11 of the United States Code.

               This Plan provides for the repayment in full of all obligations Debtors owe to their

      Creditors. A Disclosure Statement is enclosed herewith to assist you in understanding this Plan

      and making an informed judgment concerning its terms. All creditors are encouraged to read the

      Plan and the Disclosure Statement and their respective exhibits in their entirety before voting to

      accept or reject the Plan. No materials other than the Disclosure Statement and the exhibits

      attached thereto have been authorized by the Bankruptcy Court for use in soliciting acceptances

      or rejections of the Plan. The Debtors reserve the right to alter, amend, modify, revoke or

      withdraw this Plan prior to its substantial consummation.

                                                  ARTICLE 1

                                                DEFINITIONS

               Definitions of certain terms used in this Plan are set forth below. Other terms are defined

      in the text of this Plan or the text of the Disclosure Statement. In either case, when a defined

      term is used, the first letter of each word in the defined term is capitalized. Terms used and not

      defined in this Plan or the Disclosure Statement shall have the meanings given in the Bankruptcy

      Code or Bankruptcy Rules, or otherwise as the context requires. The meanings of all terms shall

      be equally applicable to both the singular and plural, and masculine and feminine, forms of the

      terms defined. The words “herein,” “hereof,” “hereto,” “hereunder,” and others of similar

      import, refer to the Plan as a whole and not to any particular section, subsection or clause

      contained in the Plan. Captions and headings to articles, sections and exhibits are inserted for

      convenience of reference only and are not intended to be part of or to affect the interpretation of

      the Plan. The rules of construction set forth in Section 102 of the Bankruptcy Code shall apply.

      In computing any period of time prescribed or allowed by the Plan, the provisions of Bankruptcy


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      Rule 9006(a) shall apply. Any capitalized term that is not defined herein but is defined in the

      Bankruptcy Code shall have the meaning ascribed to such term in the Bankruptcy Code.

              1.1     “Administrative Expense Claim” means any Claim entitled to the priority

      afforded by Sections 503(b) and 507(a)(1) of the Bankruptcy Code.

              1.2     “Allowed” means, with respect to any Claim, proof of which has been properly

      Filed or, if no Proof of Claim was so Filed, which was or hereafter is listed on the Schedules as

      liquidated in amount and not disputed or contingent, and, in either case, a Claim as to which no

      objection to the allowance thereof, or motion to estimate for purposes of allowance, shall have

      been Filed on or before any applicable period of limitation that may be fixed by the Bankruptcy

      Code, the Bankruptcy Rules and/or the Bankruptcy Court, or as to which any objection, or any

      motion to estimate for purposes of allowance, shall have been so Filed, to the extent allowed by a

      Final Order.

              1.3     “Allowed Secured Claim” means an Allowed Claim that is secured by a lien,

      security interest or other charge against or interest in property in which one of the Debtors has an

      interest or that is subject to setoff under Section 553 of the Bankruptcy Code, to the extent of the

      value (as set forth in the Plan, or if no value is specified, as determined in accordance with

      Section 506(a) of the Bankruptcy Code or, if applicable, Section 1111(b) of the Bankruptcy

      Code) of the interest of the holder of such Claim in Debtor’s interest in such property or to the

      extent of the amount subject to setoff, as the case may be.

              1.4     “Allowed Unsecured Claim” means an Allowed Claim that is not an Allowed

      Secured Claim.

              1.5     “Bankruptcy Cases” means, collectively, the NW Cornell Bankruptcy Case and

      the Dinihanian Bankruptcy Case.

              1.6     “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as amended from

      time to time, set forth in Sections 101 et seq. of Title 11 of the United States Code.

              1.7     “Bankruptcy Court” means the United States Bankruptcy Court for the District of

      Oregon, or such other court that exercises jurisdiction over the Bankruptcy Cases or any
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      proceeding therein, including the United States District Court for the District of Oregon, to the

      extent that the reference to the Bankruptcy Cases or any proceeding therein is withdrawn.

               1.8     “Bankruptcy Rules” means, collectively, the Federal Rules of Bankruptcy

      Procedure, as amended and promulgated under Section 2075, Title 28, of the United States Code,

      and the local rules and standing orders of the Bankruptcy Court.

               1.9     “Bateman Seidel Trust Deed” means the Trust Deed recorded as instrument

      number 2019-007750 in the real property records of Multnomah County, Oregon.

               1.10    “Bateman Seidel Claim” means the Claim associated with the Bateman Seidel

      Trust Deed.

               1.11    “Business Day” means a day other than a Saturday, Sunday or other day on which

      banks in Portland, Oregon are authorized or required by law to be closed.

               1.12    “Cash” means lawful currency of the United States of America.

               1.13    “Claim” means (a) any right to payment from Debtors arising before the Effective

      Date, whether or not such right is reduced to judgment, liquidated, unliquidated, fixed,

      contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured or unsecured; or

      (b) any right to an equitable remedy against Debtors arising before the Effective Date for breach

      of performance if such breach gives rise to a right of payment from Debtors, whether or not such

      right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,

      disputed, undisputed, secured or unsecured.

               1.14    “Class” means one of the classes of Claims defined in Article 3 hereof.

               1.15    “Collateral” means any property in which Debtors has an interest that is subject to

      an unavoidable lien or security interest securing the payment of an Allowed Secured Claim.

               1.16     “Columbia” means Columbia State Bank.

               1.17    “Columbia Loan Documents” means all loan documents entered into by and

      between Columbia and Dinihanian, including:




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                       (a)    Commercial Promissory Note dated October 6, 2015, between Vahan M.
                              Dinihanian, Jr. (borrower) and Columbia State Bank (lender) (the
                              “Columbia Equipment Note”);

                       (b)    Commercial Promissory Note dated November 4, 2016, between Vahan
                              Dinihanian, Jr. (borrower) and Columbia State Bank (lender) (the
                              “Columbia Real Estate Note”);

                       (c)    Commercial Deed of Trust dated November 4, 2016, among Vahan 8340
                              NW Cornell LLC and Vahan 8344 NW Cornell LLC (as grantors),
                              Fidelity National Title Company of Oregon (as trustee), and Columbia
                              State Bank (as lender) (the “83rd Street Deed of Trust”);

                       (d)    Hypothecation Agreement Security Agreement-Pledge dated November 4,
                              2016, among Vahan Dinihanian, Jr. (as borrower), Vahan 8344 NW
                              Cornell LLC (as pledger) and Columbia State Bank (as lender) (the “83rd
                              Street Security Agreement”);

                       (e)    Commercial Guaranty dated August 12, 2015, among Columbia State
                              Bank (lender), Vahan IV NW Tenth LLC (borrower), and Vahan
                              Dinihanian, Jr. (guarantor) related to Loan No. XXXX1263 (“Columbia
                              Guaranty One”);

                       (f)    Commercial Guaranty dated September 4, 2015, among Columbia State
                              Bank (lender), Vahan IV NW Tenth LLC (borrower), and Vahan
                              Dinihanian, Jr. (guarantor) related to Loan No. XXXX1472 (“Columbia
                              Guaranty Two”); and

                       (g)    Commercial Security Agreement dated October 6, 2015, between Vahan
                              M. Dinihanian, Jr. (borrower) and Columbia State Bank (lender) (the
                              “Equipment Security Agreement”).
                1.18   The “Columbia Guaranty Documents” means, collectively, Columbia Guaranty

      One and Columbia Guaranty Two.

                1.19   “Confirmation Date” means the date on which the Confirmation Order is entered

      on the docket by the Clerk of the Bankruptcy Court.

                1.20   “Confirmation Order” means the order of the Bankruptcy Court confirming the

      Plan in accordance with the provisions of Chapter 11 of the Bankruptcy Code.

                1.21   “Cornell Property” means the real estate and improvements located at 15005 NW

      Cornell Rd., City of Beaverton, State or Oregon, more particularly described in Exhibit A

      hereto.
Page 4 of 23      DEBTORS’ SECOND AMENDED JOINT PLAN OF                              MOTSCHENBACHER & BLATTNER LLP
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           1.22    “Cornell Property Revesting Date” means that date upon which (a) all Claims

    have been paid as provided under this Plan, and (b) NW Cornell has notified the Court it will not

    utilize the authority provided in Section 363(h) of the Bankruptcy Code.

           1.23    “Creditor” means any entity holding a Claim against Debtor.

           1.24    “Debtors” means, collectively, 15005 NW Cornell LLC., as Debtor and Debtor-

    in-Possession in the NW Cornell Bankruptcy Case and Vahan M. Dinihanian, Jr., as Debtor-in-

    Possession in the Dinihanian Bankruptcy Case.

           1.25    “Dinihanian Bankruptcy Case” means the Chapter 11 case filed by Vahan M.

    Dinihanian, Jr., Case No. 19-31886-dwh11, pending in the United States Bankruptcy Court for

    the District of Oregon.

           1.26    “Dinihanian Petition Date” means May 21, 2019, the date on which the petition

    commencing the Dinihanian Bankruptcy Case was filed.

           1.27    “Disclosure Statement” means Debtors’ First Amended Disclosure Statement as

    amended, modified, restated or supplemented from time to time, pertaining to the Plan.

           1.28    “Disputed Claim” means a claim with respect to which a Proof of Claim has been

    timely Filed or deemed timely Filed under applicable law, and as to which an objection, timely

    Filed, has not been withdrawn on or before the Effective Date or any date fixed for filing such

    objections by order of the Bankruptcy Court, and has not been denied by a Final Order and

    which Claim has not been estimated or temporarily allowed by the Bankruptcy Court on timely

    motion by the holder of such Claim. If an objection related to the allowance of only a part of a

    Claim has been timely Filed or deemed timely Filed, such claim shall be a Disputed Claim only

    to the extent of the objection.

           1.29    “Divorce Judgment” means the General Judgment of Dissolution of Marriage

    entered on or about March 22, 2016, in the matter of Tasha L Dinihanian vs. Vahan M

    Dinihanian, Circuit Court for the State of Oregon, Multnomah County Case Number 120868730.

           1.30    “Effective Date” means the eleventh day following the date the Confirmation

      Order is entered.
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              1.31    “Filed” means filed with the Bankruptcy Court in the Bankruptcy Case.

              1.32    “Final Order” means an order or judgment entered on the docket by the Clerk of

      the Bankruptcy Court or any other court exercising jurisdiction over the subject matter and the

      parties that has not been reversed, stayed, modified, appealed or amended and as to which the

      time for filing a notice of appeal, or petition for certiorari or request for certiorari, or request for

      rehearing shall have expired.

              1.33    “Guaranty Documents” means any documents evidencing contingent unsecured

      guaranty liabilities of Dinihanian.

              1.34    “Insider” shall have the meaning ascribed to it by Section 101(31) of the

      Bankruptcy Code.

              1.35    “Interests” means all rights of the owners of the membership interests of NW

      Cornell.

              1.36    “Lorenz Trust Deed” means the Trust Deed recorded as instrument number 2019-

      007750 in the real property records of Multnomah County, Oregon.

              1.37    “Lorenz Claim” means the claim associated with the Lorenz Trust Deed.

              1.38    “Net Proceeds” means the funds available to distribute to Allowed Claims after

      payment of all costs of sale, and liquidation of any item of Debtors’ property after reduction for

      any and all fees and liquidation expenses at the closing of such sale, payments of any and all

      prior, valid encumbrances, taxes, fees and expenses, including legal and accounting, related to

      the sale.

              1.39    “NW Cornell” means 15005 NW Cornell LLC.

              1.40    “NW Cornell Bankruptcy Case” means the Chapter 11 case filed by 15005 NW

      Cornell LLC, Case No. 19-31883-dwh11 pending in the United States Bankruptcy Court for the

      District of Oregon.

              1.41    “NW Cornell Petition Date” means May 21, 2019, the date on which the petition

      commencing the NW Cornell Bankruptcy Case was filed.

             1.42 “Organizational Documents” means the governing documents for NW Cornell or
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      any other applicable entity.

              1.43   “Other Priority Claim” means any Claim for an amount entitled to priority in right

      of payment under Section 507(a)(3), (4), (5), (6), or (7) of the Bankruptcy Code.

              1.44   “Plan” means this First Amended Joint Plan of Reorganization, as amended,

      modified, restated or supplemented from time to time.

              1.45   “Plan Loan” means a secured credit facility obtained by NW Cornell as borrower,

      in an amount of not less than $5,500,000 secured by first-priority deeds of trust on NW Cornell’s

      interest in the Cornell Property and the Mr. Dinihanian’s interest in the Skyline Property and on

      terms otherwise provided in the applicable Plan Loan documents.

              1.46   “Priority Tax Claim” means a Claim of a governmental unit of the kind entitled to

      priority under Section 507(a)(8) of the Bankruptcy Code or that would otherwise be entitled to

      priority but for the secured status of the Claim.

              1.47   “Reorganized NW Cornell” means NW Cornell from and after the Effective Date.

              1.48   “Reorganized Dinihanian” means Dinihanian from and after the Effective Date.

              1.49   “Reorganized Debtors” means both Debtors from and after the Effective Date.

              1.50   “Restated Articles of Organization” means the restated articles of organization

      and restated operating agreement (“Organizational Document”) of NW Cornell which shall

      modify and amend Debtor’s Organizational Documents to prohibit the issuance of non-voting

      equity securities to the extent required by Section 1123(a)(6) of the Bankruptcy Code and make

      such other changes, as Reorganized NW Cornell may deem necessary or appropriate to carry out

      the purpose and intent of the Plan.

              1.51   “Scheduled Amounts” means the amounts of any Claim appearing in Debtors’

      Schedules.

              1.52   “Schedules” means the Schedules of Assets and Liabilities and the Statement of

      Financial Affairs Filed by Debtors pursuant to Section 521 of the Bankruptcy Code, as amended,

      modified, restated or supplemented from time to time.

             1.53 “Secured Claim” means any Claim against either of the Debtors held by any
Page 7 of 23    DEBTORS’ SECOND AMENDED JOINT PLAN OF                           MOTSCHENBACHER & BLATTNER LLP
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      entity, including, without limitation, an Affiliate or judgment creditor of Debtors, to the extent

      such Claim constitutes an unavoidable secured Claim under Sections 506(a) or 1111(b) of the

      Bankruptcy Code.

              1.54     “Skyline Property” means the real property located at 237 NW Skyline Blvd.,

      Portland, Oregon 97210, including any and all improvements located thereon, all easements, all

      water rights and all other rights of every nature appurtenant to such real property.

              1.55     “Teherani-Ami Cornell Deed of Trust” means the Trust Deed, Security

      Agreement, Assignment of Leases, and Rents, and Fixture Filing recorded as instrument number

      2016-008669 in the real property records of Washington County, Oregon.

              1.56     “Teherani-Ami Skyline Deed of Trust” means the Residential Trust Deed

      recorded as instrument number 2016-014522 in the real property records of Multnomah County,

      Oregon.

              1.57     “Trust” means the Sonja Dinihanian GST Trust DTS 1/1/11, which is an owner of

      50 percent of the membership interest in Cornell LLC.

              1.58     “Trust Claim” means the specific performance Claim by the Trust for the

      immediate transfer of a deed to half of NW Cornell’s undivided tenant-in-common interest in the

      Cornell Property in exchange for redemption of the Trust’s half membership interest in NW

      Cornell, pursuant to the Divorce Judgment and as set forth in late-filed Claim No. 6.

              1.59     “Unsecured Claim” means an unsecured Claim that is not an Administrative

      Claim, a Secured Claim, an Other Priority Claim, or a Priority Tax Claim.

              1.60     “Unsecured Creditor” means a holder of an Allowable Unsecured Claim.

                                                    ARTICLE 2

                                           UNCLASSIFIED CLAIMS

              2.1      Administrative Expense Claims. Each holder of an Allowed Administrative

      Expense Claim shall be paid by Debtors in full in Cash on the later of (a) the Effective Date or

      (b) the date on which such Claim becomes Allowed, unless such holder shall agree in writing to

      a different treatment of such Claim (including, without limitation, any different treatment that
Page 8 of 23      DEBTORS’ SECOND AMENDED JOINT PLAN OF                                MOTSCHENBACHER & BLATTNER LLP
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       may be provided for in any documentation, statute or regulation governing such Claim);

       provided, however, that Administrative Expense Claims representing obligations incurred in the

       ordinary course of business by Debtors during the Bankruptcy Case shall be paid by Debtors or

       Reorganized Debtors in the ordinary course of business and in accordance with any terms and

       conditions of the particular transaction, and any agreements relating thereto.

               2.2     Priority Tax Claims. Each holder of an Allowed Priority Tax Claim shall be paid

       by Debtors the full amount of its Allowed Priority Tax Claim as allowed by 11 U.S.C.

       § 1129(a)(9)(C) and (D) within 30 days following the Effective Date or the date the claim is

       Allowed, whichever first occurs.
               2.3     Other Priority Claims. Each holder of an Other Priority Claim shall be paid in full

       in cash the amount of its Allowed Claim on the latest to occur of (1) the Effective Date, (2) the

       date such claim becomes an Allowed Claim or (3) the date that such claim becomes due and

       owing, unless such holder shall agree in writing or has agreed to a different treatment of such

       Claim (including, without limitation, any different treatment that may be provided for in any

       documentation, agreement, contract, statute, law or regulation creating and governing such

       Claim).

               2.4     Bankruptcy Fees. Fees payable by Debtors under 28 U.S.C. § 1930, or to the

       Clerk of the Bankruptcy Court, will be paid in full in Cash on the Effective Date. After

       confirmation, Reorganized Debtors shall continue to pay quarterly fees of the Office of the

       United States Trustee and file quarterly reports with the Office of the United States Trustee until

       this case is closed by the Court, dismissed or converted. This requirement is subject to any

       amendments to 28 U.S.C. § 1930(a)(6) that Congress makes retroactively applicable to

       confirmed Chapter 11 cases.

                                                     ARTICLE 3

                                                CLASSIFICATION

               For purposes of this Plan, Claims and Interests are classified as provided below. A Claim

      is classified in a particular Class only to the extent that such Claim qualifies within the
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      description of such Class and is classified in a different Class to the extent that such Claim

      qualifies within the description of such different Class.

                3.1     Class 1 – Tasha Teherani-Ami’s Secured Claim against Dinihanian. Class 1

      consists of the disputed Secured Claim of Tasha Teherani-Ami pursuant to the Teherani-Ami

      Skyline Trust Deed.

                3.2     Class 2 – General Unsecured Claims against NW Cornell. Class 2 consists of

      all Allowed Unsecured Claims against NW Cornell, other than Administrative Expense Claims,

      and Priority Tax Claims.
                3.3     Class 3 – Trust Claim against NW Cornell. Class 3 consists of the Disputed

      Trust Claim to ownership in the Cornell Property as a result of the Divorce Judgment.

                3.4     Class 4 – Multnomah County Div. of Assessment, Recording and Taxation.

      Class 4 is the Allowed Secured Claim of Multnomah County for property taxes assessed against

      the Skyline Property.

                3.5     Class 5 – Tasha Teherani-Ami’s Secured Claim against NW Cornell. Class 5

      consists of the Allowed Secured Claim of Tasha Teherani-Ami against Dinihanian pursuant to

      the Divorce Judgment and Teherani-Ami Cornell Trust Deed.

                3.6     Class 6 – Bateman Seidel Claim against Dinihanian. Class 6 consists of the

      Allowed Claim of Bateman Seidel, PC against Dinihanian associated with the Bateman Seidel

      Trust Deed.

                3.7     Class 7 – Lorenz Claim against Dinihanian. Class 7 consists of the Allowed

      Claim of Daniel Lorenz against Dinihanian associated by the Lorenz Trust Deed.

                3.8     Class 8 – Columbia Bank’s Secured Claim against Dinihanian (Equipment).

      Class 8 consists of the Allowed Secured Claim of Columbia State Bank against Dinihanian

      pursuant to the Columbia Equipment Note and the Equipment Security Agreement.

                3.9     Class 9 – Columbia Bank’s Secured Claim against Dinihanian (Real Estate).

      Class 9 consists of the Allowed Secured Claim of Columbia State Bank against Dinihanian


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    pursuant to Columbia Real Estate Note, the 83rd Street Deed of Trust and the 83rd Street Security

    Agreement.

            3.10   Class 10 – Guaranty Claims against Dinihanian. Class 10 consists of the

    Allowed unsecured Guaranty Claims Dinihanian pursuant to the Columbia Guaranty Documents

    and other Guaranty Documents.

            3.11   Class 11 – General Unsecured Claims against Dinihanian. Class 11 consists

    of all Allowed Unsecured Claims against Dinihanian, other than Administrative Expense Claims,

    and Priority Tax Claims.
            3.12   Class 12 – Interests of NW Cornell. Class 12 consists of the Interests of the

    holders of NW Cornell’s membership interests.

            3.13   Class 13 – Dinihanian’s Interests in the Dinihanian Bankruptcy Case Estate.

    Class 13 consists of Dinihanian’s interest in property of the estate of the Dinihanian Bankruptcy

    Case.

                                              ARTICLE 4

                            TREATMENT OF UNIMPAIRED CLASSES

            4.1    Class 1 (Tasha Teherani-Ami’s Secured Claim Against Dinihanian). Class 1

    consists of Tasha Teherani-Ami’s Secured Claim against Dinihanian. The Class 1 Claim will be

    paid in full on the Effective Date, together with interest at the rate of 4.5% per annum from and

    after the Petition Date, reasonable costs and attorney fees. Class 1 is unimpaired under the Plan.

            4.2    Class 5 (Tasha Teherani-Ami’s Secured Claim Against NW Cornell). The

    Class 5 Claim consists of Tasha Teherani-Ami’s allowed secured claim against NW Cornell

    pursuant to the Divorce Judgment and the Teherani-Ami Cornell Trust Deed. The Class 5 Claim

    represents the same debt as the Class 1 Claim. The Class 5 Claim shall be paid at the same time

    and in the same manner as the Class 1 Claim, described above. The Class 5 Claim is unimpaired

    under the Plan.

            4.3    All other Classes of Claims against NW Cornell and Dinihanian are impaired

      under the Plan.
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                                                ARTICLE 5

                               TREATMENT OF IMPAIRED CLASSES

           5.1     Class 2 (General Unsecured Claims Allowed Against NW Cornell).

           Class 2 consists of all Allowed Unsecured Claims against NW Cornell that are not

    otherwise classified in the Plan. Each holder of a Class 2 Claim shall be paid in full together

    with interest at the federal judgment rate (fixed at the rate in effect on the Effective Date) from

    and after the Effective Date, until paid in full, from the proceeds of the Plan Loan, not later than

    six months after the Effective Date. Class 2 Claims are impaired under the Plan.
           5.2     Class 3 (Trust Claim Against NW Cornell).

           Class 3 consists of the disputed Trust Claim of the Sonja Dinihanian GST Trust DTS

    1/1/11. The Class 3 Claim will (a) retain its prepetition membership interest in Cornell LLC as

    the Reorganized Debtor or (b) receive such alternative relief as ordered by the Court, including

    in Adv. Pro. No. 20-03077, Adv. Pro. No. 20-03079 and the claim objection found at Docket No.

    258, in full satisfaction of the Trust Claim. The Class 3 Claim is impaired under the Plan.

           5.3     Class 4 (Multnomah County Property Taxes).

           Class 4 consists of Multnomah County’s secured property tax claim against Dinihanian,

    secured by the Skyline Property. The Class 4 Claim shall be paid in full, together with interest at

    the rate of 16% per annum from and after the Petition Date. The Class 4 Claim shall be paid as

    in the same manner as Class 2 claims.

           5.4     Class 6 (Bateman Seidel Claim Against Dinihanian). Class 6 consists of the

    claim of Bateman Seidel, PC, against Dinihanian for legal services provided to Dinihanian and

    evidenced by a trust deed. The Class 6 Claim shall be paid in at the same time and in the same

    manner as Class 2 Claims, described above.

           5.5     Class 7 (Lorenz Claim Against Dinihanian). Class 7 consists of the claim of

    Daniel Lorenz against Dinihanian for legal services provided to Dinihanian and evidenced by a

    trust deed. The Class 7 Claim shall be paid in at the same time and in the same manner as Class

      2 Claims, described above.
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                REORGANIZATION DATED JULY 22, 2021                                           Portland, Oregon 97204
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                                                                                               Fax: 503-417-0501
                                                                                               www.portlaw.com
                         Case 19-31883-dwh11           Doc 401     Filed 07/22/21
                5.6       Class 8 (Columbia Bank – Equipment Loan). Class 8 consists of the Allowed

      Secured Claim of Columbia Bank, relating to the Columbia Equipment Note. Any default that

      exists under the Columbia Loan Documents shall be deemed cured or waived as of the Effective

      Date. Columbia’s Class 8 Claim will be paid in full together with interest at the non-default rate

      under the Columbia Equipment Note, on the same terms and payments as set forth in the

      Columbia Equipment Note, commencing with the first payment due 60 days after the Effective

      Date. The Columbia Equipment Note will remain in effect except as stated below:

                •     The maturity date will be delayed for the amount of time between the Petition Date
                      and the date on which the first payment is due to the Class 7 Claim under the terms of
                      this Plan.

                •     The Columbia Equipment Note shall be amended to delete any reference to the note
                      being payable on demand.

                •     The following language shall be added to the end of Section X:

                      “Notwithstanding the foregoing, the Obligations shall not be accelerated
                      as a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                      commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                      filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                      Case Number 19-31883-dwh11.”
                5.7       Class 9 (Columbia Bank – Real Estate Loan). Class 9 consists of the Allowed

      Secured Claim of Columbia Bank, relating to the Columbia Real Estate Note. Any default that

      exists under the Columbia Loan Documents shall be deemed cured or waived as of the Effective

      Date. The Class 9 Claim will be paid in full together with interest at the non-default rate under

      the Columbia Real Estate Note, on the same terms and payments as set forth in the Columbia

      Real Estate Note. The Columbia Real Estate Note will remain in effect except as stated below:

                •     The Columbia Real Estate Note shall be amended to delete any reference to the note
                      being payable on demand.

                •     The following language shall be added to the end of Section X:

                      “Notwithstanding the foregoing, the Obligations shall not be accelerated
                      as a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                      commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
Page 13 of 23         DEBTORS’ SECOND AMENDED JOINT PLAN OF                                 MOTSCHENBACHER & BLATTNER LLP
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                      filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                      Case Number 19-31883-dwh11.”
                5.8      Class 10 (Guaranty Claims against Dinihanian). Class 10 consists of all

      allowed Guaranty Claims, including Columbia’s Allowed Claims related to the Columbia

      Guaranty Documents, and those related to other Guaranty Documents. Any default that exists

      under the Columbia Guaranty Documents or other Guaranty Documents shall be deemed cured

      or waived as of the Effective Date. The Columbia Guaranty Documents and other Guaranty

      Documents shall remain in effect, except as stated below:

                •     The following language shall be added to the end of Section X of the Columbia
                      Guaranty Documents:

                      “Notwithstanding the foregoing, the Obligations shall not be accelerated
                      as a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                      commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                      filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                      Case Number 19-31883-dwh11.”
                5.9      Class 11 (General Unsecured Claims against Dinihanian). Class 11 consists of

      all Allowed unsecured claims against Dinihanian not otherwise classified in this Plan. Each

      holder of a Class 11 Claim shall be paid in full together with interest at the federal judgment rate

      (fixed at the rate in effect on the Petition Date) from and after the Petition Date, until paid in full.

      The Class 11 Claims shall be paid at the same time and in the same manner as the Class 2 claim.

                5.10     Class 12 (Interests in NW Cornell). Class 12 Interests in NW Cornell will
      retain their interest in Reorganized NW Cornell in which case the Trust’s Class 12 Interests shall

      be redeemed.

                5.11     Class 13 (Dinihanian’s Interests). The Class 13 interest holder is Dinihanian,

      who shall retain his interests in property of the bankruptcy estate of the Dinihanian Bankruptcy

      Case.




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                                                   ARTICLE 6

                            DISPUTED CLAIMS; OBJECTIONS TO CLAIMS

              6.1     Disputed Claims; Objections to Claims. Only Claims that are allowed shall be

      entitled to distributions under the Plan. Debtors reserve the right to contest and object to any

      claims and previously Scheduled Amounts, including, without limitation, those Claims and

      Scheduled Amounts that are specifically referenced herein, are not listed in the Schedules, are

      listed therein as disputed, contingent and/or unliquidated in amount, or are listed therein at a

      different amount than the Debtors currently believe is validly due and owing. Unless otherwise

      ordered by the Bankruptcy Court, all objections to Claims and Scheduled Amounts (other than

      Administrative Expense Claims) shall be Filed and served upon counsel for Debtors and the

      holder of the Claim objected to on or before the later of (a) thirty (30) days after the Effective

      Date or (b) sixty (60) days after the date (if any) on which a Proof of Claim is Filed in respect of

      a Rejection Claim. The last day for filing objections to Administrative Expense Claims shall be

      set pursuant to an order of the Bankruptcy Court. All Disputed Claims shall be resolved by the

      Bankruptcy Court, except to the extent that (a) Debtors may otherwise elect consistent with the

      Plan and the Bankruptcy Code or (b) the Bankruptcy Court may otherwise order.
                                                   ARTICLE 7

                                    IMPLEMENTATION OF THE PLAN

              7.1     Path of Implementation. The Debtors will obtain the funds to pay Claims as

      provided in this Plan by borrowing sufficient funds through a Plan Loan to pay all Claims in full

      at the times and on the terms set forth herein. The Plan Loan is conditioned on the Plan

      providing that the Bankruptcy Court will retain jurisdiction to permit the Reorganized Debtor,

      until the Cornell Property Revesting Date, to pursue the authority under Section 363(h) of the

      Bankruptcy Code to sell the entirety of the Cornell Property, including the nondebtor portions, to

      permit the full implementation of the Plan and satisfaction of the terms of the Plan Loan.

              7.2     Setoffs. Debtors may, but shall not be required to, set off against any Claim and

      the distributions to be made pursuant to the Plan in respect of such Claim, any Claims of any
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      nature whatsoever which Debtors may have against the holder of such Claim, but neither the

      failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or release of

      any such Claim Debtors may have against such holder.

                7.3     Corporate Action. Upon entry of the Confirmation Order by the Clerk of the

      Bankruptcy Court, all actions contemplated by the Plan shall be authorized and approved in all

      respects (subject to the provisions of the Plan), including, without limitation, the following:

      (a) the adoption and filing with the Secretary of State of the State of Oregon the Restated

      Articles of Organization, and (b) the execution, delivery and performance of all documents and

      agreements relating to the Plan and any of the foregoing. On the Effective Date, Reorganized

      Debtors, and the appropriate officers of Reorganized NW Cornell, are authorized and directed to

      execute and deliver the agreements, documents and instruments contemplated by the Plan and

      the Disclosure Statement in the name of and on behalf of the respective Reorganized Debtors.

      Both Reorganized Debtors may continue to act and make further amendments and elections as

      they may deem necessary or desirable.
                7.4     Saturday, Sunday, or Legal Holiday. If any payment or act under the Plan is

      required to be made or performed on a date that is not a Business Day, then the making of such

      payment or the performance of such act may be completed on the next succeeding Business Day

      but shall be deemed to have been completed as of the required date.

                7.5     Event of Default; Remedy. Any material failure by Reorganized Debtors to

      perform any term of this Plan, which failure continues for a period of fifteen Business Days

      following receipt by Reorganized Debtors of written notice of such default from the holder of an

      Allowed Claim to whom performance is due, shall constitute an Event of Default. Upon the

      occurrence of an Event of Default, the holder of an Allowed Claim to whom performance is due

      shall have all rights and remedies granted by law, this Plan or any agreement between the holder

      of such Claim and Debtors or Reorganized Debtors. An Event of Default with respect to one

      Claim shall not be an Event of Default with respect to any other Claim.


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                                                   ARTICLE 8

                          EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                8.1     Assumption. Except as may otherwise be provided, all executory contracts and

      unexpired leases of Debtors, which are not otherwise subject to a prior Bankruptcy Court order

      or pending motion before the Bankruptcy Court are assumed by and assigned to Reorganized

      Debtors on the Effective Date. The Confirmation Order shall constitute an order authorizing

      assumption and assignment of all executory contracts and unexpired leases except those

      otherwise specifically rejected or otherwise provided for or subject to other Court Order or

      pending motion. Reorganized Debtors shall promptly pay all amounts required under

      Section 365 of the Bankruptcy Code to cure any defaults and assume the executory contracts.
                8.2     Rejection Claims. Rejection Claims must be Filed no later than 30 days after the

      entry of the order rejecting the executory contract or unexpired lease or 30 days after the

      Effective Date, whichever is sooner. Any such Rejection Claim not Filed within such time shall

      be forever barred from assertion against Debtor, Reorganized Debtor, and its property and

      estates. Each Rejection Claim resulting from such rejection shall constitute a Class 2 Claim.

                                                   ARTICLE 9

                                        EFFECT OF CONFIRMATION

                9.1     Injunction. The effect of confirmation shall be as set forth in Section 1141 of the

      Bankruptcy Code. Except as otherwise provided in the Plan or in the Confirmation Order,

      confirmation of the Plan shall act as a permanent injunction applicable to entities against (a) the

      commencement or continuation, including the issuance or employment of process, of a judicial,

      administrative, or other action or proceeding against Reorganized Debtors that was or could have

      been commenced before the entry of the Confirmation Order, (b) the enforcement against either

      of the Reorganized Debtors or their assets of a judgment obtained before the Reorganized

      Debtors’ respective petition dates, and (c) any act to obtain possession of or to exercise control

      over, or to create, perfect or enforce a lien upon all or any part of the assets.


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                9.2       Discharge. Except as otherwise expressly provided herein, the confirmation of

      the Plan shall, as of the Effective Date, discharge all Claims, to the fullest extent authorized or

      provided for by the Bankruptcy Code, including, without limitation, to the extent authorized or

      provided for by Sections 524 and 1141 thereof.

                                                     ARTICLE 10

                                         RETENTION OF JURISDICTION

                10.1      Jurisdiction of the Bankruptcy Court. Notwithstanding the entry of the

      Confirmation Order, the Court shall retain jurisdiction of this Chapter 11 Case pursuant to and

      for the purposes set forth in Section 1127(b) of the Bankruptcy Code and
                          (a)     to classify the Claim or interest of any Creditor or stockholder, reexamine

      Claims or Interests which have been owed for voting purposes and determine any objections that

      may be Filed to Claims or Interests,

                          (b)     to determine requests for payment of Claims entitled to priority under

      Section 507(a)(1) of the Bankruptcy Code, including compensation and reimbursement of

      expenses in favor of professionals employed at the expense of the Estate,

                          (c)     to avoid liens, transfers, or obligations or to subordinate Claims under

      Chapter 5 of the Bankruptcy Code,

                          (d)     to approve the assumption, assignment or rejection of an executory

      contract or an unexpired lease pursuant to this Plan,

                          (e)     to resolve controversies and disputes regarding the interpretation of this

      Plan,

                          (f)     to implement the provisions of this Plan, the Plan Loan and enter orders in

      aid of confirmation, including an action by the Reorganized Debtor Section 363(h) of the

      Bankruptcy Code brought prior to the Cornell Property Revesting Date,

                          (g)     to adjudicate adversary proceedings and contested matters pending or

      hereafter commenced in this Chapter 11 Case, and

                         (h)  to enter a final decree closing this Chapter 11 proceeding.
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                10.2   Failure of Bankruptcy Court to Exercise Jurisdiction. If the Bankruptcy Court

      abstains from exercising or declines to exercise jurisdiction over any matter arising under, arising

      in or related to the Chapter 11 Case, this Article shall not prohibit or limit the exercise of

      jurisdiction by any other court having competent jurisdiction with respect to such subject matter.

                                                 ARTICLE 11

                                     ADMINISTRATIVE PROVISIONS

                11.1   Modification or Withdrawal of the Plan. Debtors may alter, amend or modify the

      Plan pursuant to Section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 at any time

      prior to the time that the Bankruptcy Court has signed the Confirmation Order. After such time,

      and prior to the substantial consummation of the Plan, Debtors may, so long as the treatment of

      holders of Claims and Interests under the Plan is not adversely affected, institute proceedings in

      Bankruptcy Court to remedy any defect or omission or to reconcile any inconsistencies in the

      Plan, the Disclosure Statement or the Confirmation Order, and any other matters as may be

      necessary to carry out the purposes and effects of the Plan; provided, however, that prior notice

      of such proceedings shall be served in accordance with Bankruptcy Rule 2002.
                11.2   Revocation or Withdrawal of Plan. Debtors reserve the right to revoke or

      withdraw the Plan at any time prior to the Effective Date.

                11.3   Effect of Withdrawal or Revocation. If Debtors revoke or withdraw the Plan prior

      to the Effective Date, then the Plan shall be deemed null and void. In such event, nothing

      contained herein shall be deemed to constitute a waiver or release of any claims by or against

      Debtors or any other Entity or to prejudice in any manner the rights of Debtors or any Entity in

      any further proceeding involving Debtors.

                11.4   Nonconsensual Confirmation. Debtors shall request that the Bankruptcy Court

      confirm the Plan pursuant to Section 1129(b) of the Bankruptcy Code if the requirements of all

      provisions of Section 1129(a) of the Bankruptcy Code, except subsection 1129(a)(8), are met.




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                                                 ARTICLE 12

                                     MISCELLANEOUS PROVISIONS

                12.1   Revesting. Except for NW Cornell’s 50 percent tenant-in-common interest in the

      37-acre Cornell Property, which interest shall remain property of the estate of the NW Cornell

      bankruptcy until the Cornell Property Revesting Date, on the Effective Date, all property and

      assets of the estate of each of the Debtors shall revest in each of the respective Reorganized

      Debtors, free and clear of all claims, liens encumbrances, charges and other Interests of Creditors

      arising on or before the Effective Date, and Reorganized Debtors may operate, from and after the

      Effective Date, free of any restrictions imposed by the Bankruptcy Code or the Bankruptcy

      Court.
                12.2   Rights of Action. Except as otherwise expressly provided herein, any rights or

      causes of action (including, without limitation, any and all avoidance actions) accruing to

      Debtors shall remain assets of Reorganized Debtors. Reorganized Debtors may pursue such

      rights of action, as appropriate, in accordance with what is in its best interests and for their

      benefit.

                12.3   Governing Law. Except to the extent the Bankruptcy Code, the Bankruptcy Rules

      or other federal laws are applicable, the laws of the State of Oregon shall govern the construction

      and implementation of the Plan, and all rights and obligations arising under the Plan.

                12.4   Withholding and Reporting Requirements. In connection with the Plan and all

      instruments issued in connection therewith and distributions thereon, Debtors and Reorganized

      Debtors shall comply with all withholding, reporting, certification and information requirements

      imposed by any federal, state, local or foreign taxing authorities and all distributions hereunder

      shall, to the extent applicable, be subject to any such withholding, reporting, certification and

      information requirements. Entities entitled to receive distributions hereunder shall, as a

      condition to receiving such distributions, provide such information and take such steps as

      Reorganized Debtors may reasonably require to ensure compliance with such withholding and


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      reporting requirements, and to enable Reorganized Debtors to obtain the certifications and

      information as may be necessary or appropriate to satisfy the provisions of any tax law.

                12.5   Time. Unless otherwise specified herein, in computing any period of time

      prescribed or allowed by the Plan, the day of the act or event from which the designated period

      begins to run shall not be included. The last day of the period so computed shall be included,

      unless it is not a Business Day, in which event the period runs until the end of the next

      succeeding day which is a Business Day.

                12.6   Addresses and Notices. If an Event of Default occurs, written notice of such
      Default shall be provided at the addresses for notices set forth below:


                                     To NW Cornell:

                                     15005 NW Cornell
                                     c/o Vahan M. Dinihanian, Jr.
                                     237 NW Skyline Blvd.
                                     Portland, OR 97210

                                     With a copy to:

                                     Douglas Pahl
                                     Perkins Coie LLP
                                     1120 N.W. Couch Street, 10th Floor
                                     Portland, OR 97209

                                     To Dinihanian:

                                     Vahan M. Dinihanian, Jr.
                                     237 NW Skyline Blvd.
                                     Portland, OR 97210

                                     With a copy to:

                                     Nicholas J. Henderson
                                     Motschenbacher & Blattner LLP
                                     117 SW Taylor Street, Suite 300
                                     Portland, OR 97204

                12.7   Section 1146(c) Exemption. Pursuant to Section 1146(c) of the Bankruptcy Code,

      the issuance, transfer or exchange of any security under the Plan, or the execution, delivery or

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      recording of an instrument of transfer pursuant to, in implementation of or as contemplated by

      the Plan, or the revesting, transfer or sale of any real property of Debtors or Reorganized Debtors

      pursuant to, in implementation of or as contemplated by the Plan, shall not be taxed under any

      state or local law imposing a stamp tax, transfer tax, or similar tax or fee. Consistent with the

      foregoing, each recorder of deeds or similar official for any city, county or governmental unit in

      which any instrument hereunder is to be recorded shall, pursuant to the Confirmation Order, be

      ordered and directed to accept such instrument without requiring the payment of any

      documentary stamp tax, deed stamps, transfer tax, intangible tax or similar tax.
              12.8    Severability. In the event that any provision of the Plan is determined to be

      unenforceable, such determination shall not limit or affect the enforceability and operative effect

      of any other provisions of the Plan. To the extent that any provision of the Plan would, by its

      inclusion in the Plan, prevent or preclude the Bankruptcy Court from entering the Confirmation

      Order, the Bankruptcy Court, on the request of Debtors, may modify or amend such provision, in

      whole or in part, as necessary to cure any defect or remove any impediment to the confirmation

      of the Plan existing by reason of such provision.

              12.9    Binding Effect. The provisions of the Plan shall bind Debtors, Reorganized

      Debtors and all holders of Claims and Interests, and their respective successors, heirs and

      assigns.

              12.10 Recordable Order. The Confirmation Order shall be deemed to be in recordable

      form and shall be accepted by any recording officer for filing and recording purposes without

      further or additional orders, certifications or other supporting documents.

              12.11 Plan Controls. In the event and to the extent that any provision of the Plan is

      inconsistent with the provisions of the Disclosure Statement, or any other instrument or

      agreement contemplated to be executed pursuant to the Plan, the provisions of the Plan shall

      control and take precedence.

              12.12 Effectuating Documents and Further Transactions. Debtors and Reorganized

      Debtors shall execute, deliver, file or record such contracts, instruments, assignments, and other
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      agreements or documents, and take or direct such actions, as may be necessary or appropriate to

      effectuate and further evidence the terms and conditions of this Plan.

                DATED this 22 day of July 2021.

                                        Respectfully submitted,

                                        PERKINS COIE LLP

                                        By /s/ Douglas R. Pahl
                                           Douglas R. Pahl, OR Bar No. 950476
                                               Of Attorneys for Debtor 15005 NW Cornell LLC


                                        MOTSCHENBACHER & BLATTNER LLP
                                        By /s/ Nicholas J. Henderson
                                           Nicholas J. Henderson, OSB No. 074027
                                               Of Attorneys for Debtor Vahan M. Dinihanian, Jr




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                            Case 19-31883-dwh11        Doc 401     Filed 07/22/21
    Exhibit 2
   Term Sheet




Case 19-31883-dwh11   Doc 401   Filed 07/22/21
Term Sheet Date:                     October 23, 2020

15005 NW Cornell, LLC
c/o Vahan M. Dinihanian, Jr.
237 NW Skyline Boulevard
Portland, Oregon 97210

                                   Secured Exit Financing
                               Summary of Terms and Conditions


 Lender:                         SORFI, LLC, its successors and/or assigns.

 Borrower:                       15005 NW Cornell, LLC, an Oregon limited liability company, a
                                 Debtor-in-Possession under Chapter 11 of the Bankruptcy Code as
                                 Case Number 19-31833-dwh11.

 Loan Amount:                    $5,600,000

 Collateral:                     All of the Borrower’s rights, title and interest in the real property and
                                 improvements located at 15005 NW Cornell Road, Beaverton,
                                 Washington County, Oregon (“Cornell Property”) and all of the
                                 Limited Guarantor’s rights, title and interest in the real property
                                 located at 237 NW Skyline Road, Portland, Multnomah County,
                                 Oregon (“Skyline Property”)(collectively, the “Collateral”). For the
                                 avoidance of doubt, following any partition order entered in relation
                                 to the Cornell Property, the Lender will accept the final, non-
                                 appealable order of the court with respect to partitioning such that
                                 the Collateral interest in the Cornell Property shall be limited to that
                                 portion of the Cornell Property in which 15005 NW Cornell, LLC
                                 retains a continuing post-partition interest.

 Loan Term/Maturity:             Seven hundred and thirty days (730) days commencing on the date
                                 of funding of the Loan, at which date the Loan shall mature and
                                 become payable in full.

 Extensions:                     Borrower shall have the right to extend the Loan Term for two (2)
                                 additional six (6) month periods (“Extended Loan Term”), subject to
                                 the following:

                                     a) Borrower shall not have been in default, including
                                        applicable cure periods, at any time during the Loan Term
                                        and any Extended Loan Term;
                                     b) There have been no material negative changes in the
                                        Collateral, the Borrower, and the Limited Guarantor;
                                     c) Borrower shall notify Lender in writing not less than thirty
                                        (30) days prior to expiration of the then current Loan Term
                                        of its intent to extend the Loan (the “Extension Notice”);


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                                 d) Borrower shall pay an “Extension Fee” equal to 1.00% of
                                    the Loan’s outstanding principal balance concurrent with the
                                    Extension Notice; and
                                 e) Borrower shall replenish any necessary reserves required by
                                    Lender in Lenders sole discretion for the Extended Loan
                                    Term concurrent with the Extension Notice.

Amortization:                Interest Only.

Payments:                    Interest will be payable monthly, in arrears, on the 1st day of each
                             month until the Maturity Date, shall be prorated for any partial
                             months and interest shall be drawn from the Development and
                             Expense Reserve.

                             The Loan Documents shall provide for (a) a late charge of 5.00% of
                             any payment not received by the due date, (b) default interest of
                             24.00% upon and during an Event of Default, (c) the right of Lender
                             to accelerate the Loan without notice or grace periods in the event of
                             a payment default and (d) for additional remedies typical of a
                             transaction of this nature.

Interest Rate:               12.00%

Origination Fee:             Borrower shall pay Lender an Origination Fee equal to 2.00% of the
                             Loan Amount. which shall be due and payable at Closing
                             (“Origination Fee”).

Underwriting Fee:            Borrower shall pay Lender an Underwriting Fee equal to $15,000,
                             which shall be due and payable at Closing (“Underwriting Fee”).

Prepayment:                  During the Loan Term, Borrower will be allowed to prepay the Loan
                             Amount, in full, at any time, provided Lender is repaid all
                             outstanding principal, accrued interest through the date of such
                             repayment, and any and all fees and expenses then due and owing.

Assumption:                  The Loan may not be assumed.

Transfer Provisions:         The Borrower may not transfer, pledge, assign, hypothecate or
                             encumber, in part or whole, any direct or indirect equity interests in
                             the Borrower.

Limited Guarantor:           Vahan M. Dinihanian, Jr., (“Dinihanian”) an individual and Debtor
                             under Chapter 11 of the Bankruptcy Code as Case Number 19-
                             31886-dwh11. The Loan will be non-recourse as to Dinihanian,
                             subject to certain so called “Carve-outs” and his liability is limited
                             to the extent of his interest in the Skyline Property. The loan
                             documents will provide that Dinihanian and the Borrower will be
                             personally liable for losses incurred by Lender as a result of fraud
                             or intentional misrepresentation by Borrower or any guarantor in
                             connection with the Loan; the gross negligence or willful misconduct


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                    Case 19-31883-dwh11        Doc 401      Filed 07/22/21
                              of Borrower; the breach of any representation, warranty, covenant or
                              indemnification concerning hazardous substances; the removal or
                              disposal of any portion of the Property after the occurrence of a
                              default; the misapplication or conversion by Borrower of any
                              insurance proceeds or any awards in connection with the
                              condemnation of the Properties; and failure by Borrower to pay
                              charges for labor or materials or other charges that can create Liens
                              on any portion of the Properties.

                              The Loan shall be fully recourse to Dinihanian and Borrower in the
                              event that the first full monthly payment of principal and interest is
                              not paid when due; Borrower fails to permit on-site inspections of
                              the Property, fails to provide financial information or fails to
                              maintain its status as a single purpose entity; Borrower fails to obtain
                              Lender’s prior consent to any subordinate financing or other
                              voluntary Lien encumbering the Property; Borrower fails to obtain
                              Lender’s prior consent to any assignment, transfer, or conveyance of
                              the Property; Borrower files a voluntary petition under the
                              Bankruptcy Code or any other Federal or state bankruptcy or
                              insolvency law or Borrower files an answer consenting to or
                              otherwise acquiescing in or joining in any involuntary petition filed
                              against it under the Bankruptcy Code or any other Federal or state
                              bankruptcy or insolvency law.

Security for Loan:            The Loan shall be secured by a first deed of trust or first mortgage
                              and a perfected first security interest in the Collateral, all leases,
                              rents, income and profits therefrom, and all personal property, both
                              tangible and intangible (including replacements, substitutions and
                              after-acquired property) located thereon or used or intended to be
                              used in connection therewith.

Subordinate Financing:        No secondary financing or encumbrance, either secured or
                              unsecured, of any kind shall be permitted during the Loan Term other
                              than trade payables incurred in the Borrower’s normal course of
                              business.

Closing Date:                 Five business days after the Effective Date of Borrower’s Joint Plan
                              of Reorganization.

Development and Expense       Lender shall reserve $1,538,000 of the Loan Amount for funding the
Reserve:                      payment of development costs, including but not limited to insurance
                              premiums, real estate taxes and interest due under the Loan,
                              according to a cost breakdown and schedule approved by Lender at
                              Closing. The Development and Expense Reserve may be broken in
                              to one or more reserves for payment of interest, property taxes,
                              insurance premiums and development and construction costs, and
                              each such reserve shall be used solely for the designated purpose.
                              The Development and Expense Reserve shall not be deemed an
                              advance at Closing and shall be disbursed monthly upon request
                              according to the draw provisions of the Loan Documents.


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                     Case 19-31883-dwh11       Doc 401       Filed 07/22/21
                             Conditions for disbursement of funds for costs incurred in
                             connection with development and/or construction will include: The
                             Lender receives a draw request no more often than once per month
                             in a form and substance satisfactory to Lender; the Lender receives
                             lien waivers acceptable to the Lender from all persons who supplied
                             labor and/or materials to the Properties; the Lender receives date-
                             down endorsements to its policy of title insurance showing no liens
                             have been recorded against the Properties and no transfers or other
                             instruments have been recorded in violation of the Loan Documents;
                             no stop notice or lien claim or encumbrance has been filed with
                             respect to the Properties; no event of default has occurred and is
                             continuing; all representations and warranties of Borrower set forth
                             in the Loan Documents are true and correct as of the date of
                             Borrower’s request; Borrower provides evidence that all hard and
                             soft construction costs will be paid in full from the then current
                             disbursement; and Lender determines that the Loan is “in balance”
                             as will be more particularly defined in the Loan Documents.

Material Adverse Change:     Lender shall have no obligation to close and fund the Loan if, at any
                             time prior to funding, Lender determines, in its sole judgment, that
                             there shall exist any material adverse circumstances or conditions
                             regarding, or shall have occurred any material adverse change with
                             respect to, the Collateral or its tenants, or the operations, business,
                             assets, liabilities or condition (financial or otherwise) of Borrower,
                             Limited Guarantor or any of their affiliates.

Interest Calculation:        Interest will be calculated on the basis of a 360-day year but charged
                             for the actual days elapsed.

Closing Costs/Legal Fees:    From the loan proceeds, Borrower shall pay at Closing, the out-of-
                             pocket expenses incurred by Lender in connection with the proposed
                             Loan. Expenses shall include, but not be limited to, the fees and
                             expenses that Lender may incur for outside legal counsel, fees of all
                             third parties relating to the due diligence review to be undertaken by
                             Lender and its third party consultants, title insurance, insurance
                             review costs, the costs of reviewing operating statements, the cost of
                             an appraisal, environmental reports, engineering and structural
                             reports, zoning reports, survey updating and certificate, construction
                             review costs and travel costs of Lender’s personnel and recordation
                             costs.

Brokers:                     Borrower represents and warrants to Lender that neither it, nor any
                             affiliate has engaged any broker, agent or finder to procure the
                             proposed Loan contemplated by this Term Sheet or to otherwise
                             finance the Collateral. Borrower hereby agrees to indemnify and
                             hold harmless Lender and its affiliates against any and all loss, cost,
                             damage, liability or expense incurred by Lender or its affiliates
                             arising out of, or in connection with, a breach of the representations
                             and warranties set forth in this paragraph.


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Loan Documents:               Not later than four weeks prior to the hearing on confirmation of the
                              Borrower’s Joint Plan of Reorganization., all loan documents,
                              including without limitation, the promissory note, loan agreement,
                              mortgage, deed of trust or security deed, fixture filing, assignment of
                              leases and rents, pledge and security agreement, UCC financing
                              statements, environmental and building laws indemnity and any
                              other documents required by Lender (collectively, “Loan
                              Documents”), shall be prepared by counsel for Lender and shall be
                              in all respects in form and substance satisfactory to Lender in its sole
                              discretion. The Loan Documents shall be filed with the Bankruptcy
                              Court and served on parties requesting special notice. The Loan
                              Documents will contain representations, warranties and covenants of
                              Borrower appropriate or customary for similar transactions. The
                              parties to this Term Sheet have included the primary terms of the
                              anticipated loan facility and anticipate such terms will be included in
                              the Loan Documents. No further agreements or documents
                              pertaining to the secured credit facility described in this Term Sheet
                              have been reached or exist.

Events of Default:            The Loan Documents will provide that certain acts, omissions or
                              events constitute “Events of Default” including, but not limited to:
                              the failure to pay the Loan in full by the Maturity Date; failure to
                              make any required monthly payment of principal or interest or any
                              other payment required under the Loan Documents when due;
                              failure to perform any other covenant, agreement or obligation to be
                              performed by Borrower under the Loan Documents if such failure is
                              not cured within thirty (30) days after written notice thereof; the
                              occurrence of any default by Borrower with respect to hazardous
                              substances; the occurrence of any transfer of the Properties or
                              interests in the Borrower without Lender’s consent; any
                              representation or warranty made by Borrower or Guarantor proves
                              to be false or misleading in any material respect; The filing of a
                              complaint for receivership or the filing of a voluntary or involuntary
                              petition for bankruptcy or for reorganization with respect to
                              Borrower or any Guarantor (other than the pending Bankruptcy
                              Cases); a final judgment, order, or decree for the payment of money
                              is rendered against Borrower or any Guarantor, and Borrower or
                              such Guarantor does not satisfy and pay the same or cause it to be
                              discharged within thirty (30) days from the entry thereof; Borrower
                              fails to maintain any of the insurance coverage required under the
                              Loan Documents; the occurrence of an uninsured casualty with
                              respect to any material portion of the Properties; or the Properties or
                              any part thereof is condemned or taken in any eminent domain or
                              other like proceeding. Lender will have all rights and remedies under
                              applicable law and agree, in the event of a foreclosure of the Cornell
                              Property, to provide notice required by law, as well as to parties to
                              the TIC agreement.




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                     Case 19-31883-dwh11       Doc 401       Filed 07/22/21
Assignability:              This Term Sheet may not be assigned, in whole or in part, by
                            Borrower, by operation of law or otherwise, and is intended for the
                            benefit of the parties hereto and not for the benefit of any third
                            parties.

Governing Law:              This Term Sheet and the Loan Documents shall be governed by, and
                            construed in accordance with, the laws of the State of Oregon,
                            without regard to principles of conflicts of laws.

Conditions Precedent to     Borrower shall grant to Sortis Real Estate, LLC, a right of first
Closing:                    refusal to serve as the listing broker to market and sell the Cornell
                            Property. The details of this right of first refusal have not been
                            established. No further agreements or documents pertaining to the
                            right of first refusal described in this Term Sheet have been reached
                            or exist.

                            Borrower shall agree to (i) use its best efforts to complete or
                            otherwise resolve the partition litigation pending in Washington
                            County or (ii), in consultation with the Lender, make a determination
                            that completion of the partition litigation is not practicable within a
                            reasonable time and Borrower should pursue, through a reservation
                            of jurisdiction by the Bankruptcy Court, the sale of the entire Cornell
                            Property pursuant to Section 363(h) of the Bankruptcy Code. The
                            criteria used by Borrowers and Lender will include the length of time
                            required to complete the proposed partition, the difficulty and
                            expense involved in pursuing the partition if the co-owners of the
                            Cornell Property oppose partition, appeal any judgment in the
                            partition litigation, or if the co-owners otherwise try to block or
                            thwart Borrower’s efforts to finalize the partition of the Cornell
                            Property. Beyond the preceding, the details of how such
                            consultation shall occur have not been established. No further
                            agreements or documents pertaining to the consultation described in
                            this Term Sheet have been reached or exist.




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                   Case 19-31883-dwh11      Doc 401       Filed 07/22/21
       Exhibit 3
Projected Use of Funds




    Case 19-31883-dwh11   Doc 401   Filed 07/22/21
Exhibit 3 -- Projected Use of Funds


Teherani-Ami Claim                              $2,900,000
Creditors, unsecured                             $300,000
Creditors, admin                                 $800,000
Loan Transaction Costs                          $35,000
Origination Fee                                   $112,000
Underwriting Fee                                   $15,000
Reserves / Future Development Costs / lender legal           $1,438,000

Total Use of Funds                             $5,600,000

** Projections, subject to modification.




                      Case 19-31883-dwh11         Doc 401     Filed 07/22/21
     Exhibit 4
Liquidation Analysis




   Case 19-31883-dwh11   Doc 401   Filed 07/22/21
In re: 15005 NW Cornell, LLC                                                                          Exhibit 1
Case No. 19‐31883‐dwh11; and                                                                    Liquidation Analysis
In re: Vahan M. Dinihanian Jr.
Case No. 19‐31886‐dwh11
(Jointly Administered)



                                                                                                    Exhibit 1: Dinihanian Liquidation Analysis                         dkt. ___
                                                                                                                                                          1
Itemized below are any changes to the most recent bankruptcy Schedules A&B, attached/at docket # →→→                                                101
1. Total Value Real Property
                                                                $ 1,260,000.00 A/B.28. Tax Refunds                                            $               -
(Skyline and Welches Cabin):
Less: Anticipated Cost of Sale                                  $      (75,600.00) A/B.29. Family Support                                     $               -
Less: Property Taxes                                            $      (28,093.70) A/B.30. Amounts Owed to You                                $               -
Less: Bateman Seidel Lien (Skyline only)                        $     (182,238.71) A/B.31. Insurance Policies (Cash Value)                    $               -
Less: Teherani-Ami Lien (Skyline only)                          $ (2,600,000.00) A/B.32. Inheritance Interests                                $               -
2. Net Value, Sch. A property (not less than zero):             $      244,400.00 A/B.33. Claims Against Third-Parties                        $               -
                                                                                   A/B.34. Other Claims                                       $               -
3. Schedule B Property (Listed Below):                                             A/B.35. Other Financial Assets (specify):                  $               - Notes on valuation:
A/B.3. Vehicles                                                 $       76,500.00 A/B.53. Other Property of Any Kind (specify):                                 (1) Real estate valuation assumes 6% costs of
A/B.4. Watercraft                                               $             -          Claims related to DFPI 6                             $      250,000.00 sale.
A/B.6. Household goods and furnishings 2                        $       10,150.00        Claims against Kaine Group                           $        8,000.00 (2) All valuations estimates are from Debtor's
A/B.7. Electronics                                              $          500.00        Tax attributes (non-transferrable)                   $             - personal opinion of value, unless specifically
A/B.8. Collectibles 3                                           $        2,500.00 4. Adjusted total, Sch. B property                          $    7,943,159.90 stated otherwise.
A/B.9. Equipment for Sports/Hobbies                             $          500.00 5. Other (e.g., avoidance actions-itemize)                  $             -
A/B.10. Firearms                                                $          500.00 6. Total Assets (ln.2+4+5)                                  $    8,187,559.90
A/B.11. Clothes                                                 $          500.00 7. Claims Senior to General Unsecured Claims                                        Hypothetical chapter 7 trustee fees
A/B.12. Jewelry                                                 $             - 7a. Secured claims not already accounted for:                 $             -    $ 8,187,559.90 Total disbursements
A/B.13. Non-farm Animals                                        $           50.00 7b. Chapter 7: trustee fees (from sidebar)                  $      268,876.80 $               - Minus exemptions
A/B.14. Other Personal and Household Items                      $             - 7c. Chapter 7: other costs of administration                  $             -    $              - Minus adjustments*
A/B.16. Cash                                                    $          100.00 7d. Chapter 11: unpaid professionals' fees                  $      225,000.00 $ 8,187,559.90 = Net disbursements
A/B.17. Checking Account                                        $        6,866.94 7e. Chapter 11: other administrative costs                  $             -                    § 326 calculations
A/B.18. Stocks (Publicly Traded), Bonds, Etc.                          $       37,608.89 7f. Priority claims (bankruptcy Schedule E)          $               -   $         5,000.00 X 25%= $             1,250.00
A/B.19. Closely Held Business Interests 4                              $   7,549,384.07   7g. Debtor's exemptions (bankr. Sch.C)                                $         45,000.00 X 10%=    $        4,500.00
A/B.20. Gov. and Corp. Bonds                                           $            -     7h. Other/adjustments (See Notes on valuation)      $             -   $        950,000.00 X 5%=     $       47,500.00
A/B.21. Retirement Accounts                                            $            -     8. Total Senior Claims (ln. 7a to 7h)               $      493,876.80 $      7,187,559.90 X 3%=     $      215,626.80
A/B.22. Security Deposits                                              $            -     9. Net available for unsecured (ln.6-ln.8)          $    7,693,683.10 $      8,187,559.90 Totals    $      268,876.80
A/B.23. Annuities                                                      $            -     10a.Gen. unsecured claims                           $      351,881.25            Adjustment (if any)$             -
A/B.24. Tuition Programs, Education IRAs                               $            -     10b.Other claims (if any)                                                              Trustee Fee  $      268,876.80
A/B.25. Trusts                                                         $            -     11.Total gen. unsecured (ln.10a+10b)                $      351,881.25 *Adjustments would include, e.g., estimated
A/B.26. Patents, copyrights, other IP 5                                $            -     12. Ch. 7 Estimated Dividend (ln.9/ln.11)                       100% refunds, and non-estate funds/ assets returned
A/B.27. Licenses, Franchises, Other Intang.                            $            -     13. Plan Dividend                                               100% to third parties.

NOTES:
1
 Amended Schedules filed as Docket No. 101 in the case of In re Vahan M. Dinihanian Jr., Case No. 19-31886-dwh11


2
 Debtor is unsure about value of household goods and furnishings, and listed "Unknown" for value of such property in his Amended Schedules. For purposes of this liquidation analysis, Debtor has estimated
a value of $10,000 for such property, although he believes that number is higher than the amount he could obtain if he were required to liquidate such property. Debtor included this estimated number to avoid
continued accusations of undervaluation from certain parties in interest.


3
  Debtor is unsure of the value of his beer stein collection, and therefore listed "unknown" for the value of such property in his Amended Schedules. For purposes of this liqudation analysis, Debtor estiamted
a value of $2,000, although he believes that number is undoubtedly higher than the amount he could obtain if he were required to liquidate the property. Debtor included his estimate to avoid continued
accusations of undervaluation from certain parties in interest.


4
    See Attached Exhibit 1-a.


5
    Debtor has no basis to value his intellectual property. Debtor has never tried to sell his intellectual property, and no standard market exists from which the Debtor can determine an estimated market value.


6
 "Claims related to DFPI" include contract and tort claims against other officers and shareholders of Dinihanian Floral Products, Inc., and banking institutions holding the corporation's funds in depository
accounts. The amount owed to Debtor has not been determined, and is listed as "Unknown" in the schedules. For purposes of this liquidation analysis, Debtor has listed a value of $250,000




                                                                                          Exhibit 1 ‐ Liquidation Analysis
                                                                                                     Page 1 of 5



                                               Case 19-31883-dwh11                                          Doc 401                    Filed 07/22/21
In re: 15005 NW Cornell, LLC                                                            Exhibit 1
Case No. 19‐31883‐dwh11; and                                                      Liquidation Analysis
In re: Vahan M. Dinihanian Jr.
Case No. 19‐31886‐dwh11
(Jointly Administered)


                                                                        Exhibit 1-b: Liquidation Analysis - 15005 NW Cornell LLC                dkt. ___

Itemized below are any changes to the most recent bankruptcy Schedules A&B, attached/at docket # →→→                           35 1
1. Total Value Real Property
                                                    $ 13,500,000.00 A/B.28. Tax Refunds                                 $             -
(Skyline and Welches Cabin):
Less: Anticipated Cost of Sale                      $    (810,000.00) A/B.29. Family Support                            $             -
Less: Propety Taxes                                 $      (28,093.70) A/B.30. Amounts Owed to You                      $             -
Less: Teherani-Ami Lien                             $ (2,600,000.00) A/B.31. Insurance Policies (Cash Value)            $             -
                                                                       A/B.32. Inheritance Interests                    $             -
2. Net Value, Sch. A property (not less than zero): $ 10,061,906.30 A/B.33. Claims Against Third-Parties                $             -
                                                                       A/B.34. Other Claims                             $             -
3. Schedule B Property (Listed Below):                                 A/B.35. Other Financial Assets (specify):        $             -   Notes on valuation:
A/B.3. Vehicles                                     $             -    A/B.53. Other Property of Any Kind (specify):                      (1) Real estate valuation assumes 6% costs of
A/B.4. Watercraft                                   $             -          Equipment, Inventory and Supplies          $       35,500.00 sale.
A/B.6. Household goods and furnishings              $             -                                                     $             -   (2) All valuations estimates are from Debtor's
A/B.7. Electronics                                  $             -                                                     $             -   personal opinion of value, unless specifically
A/B.8. Collectibles                                 $             -    4. Adjusted total, Sch. B property               $       35,500.00 stated otherwise.
A/B.9. Equipment for Sports/Hobbies                 $             -    5. Other (e.g., avoidance actions-itemize)       $             -
A/B.10. Firearms                                    $             -    6. Total Assets (ln.2+4+5)                       $   10,097,406.30
A/B.11. Clothes                                     $             -    7. Claims Senior to General Unsecured Claims                             Hypothetical chapter 7 trustee fees
A/B.12. Jewelry                                     $             -    7a. Secured claims not already accounted for:    $             -    $ 10,097,406.30 Total disbursements
A/B.13. Non-farm Animals                            $             -    7b. Chapter 7: trustee fees (from sidebar)       $      326,172.19 $               -    Minus exemptions
A/B.14. Other Personal and Household Items          $             -    7c. Chapter 7: other costs of administration     $             -    $              -    Minus adjustments*
A/B.16. Cash                                        $             -    7d. Chapter 11: unpaid professionals' fees       $      400,000.00 $ 10,097,406.30 = Net disbursements
A/B.17. Checking Account                            $             -    7e. Chapter 11: other administrative costs       $             -                   § 326 calculations
A/B.18. Stocks (Publicly Traded), Bonds, Etc.       $             -    7f. Priority claims (bankruptcy Schedule E)      $             -     $       5,000.00 X 25%= $            1,250.00
A/B.19. Closely Held Business Interests             $             -    7g. Debtor's exemptions (bankr. Sch.C)                              $        45,000.00 X 10%= $           4,500.00
A/B.20. Gov. and Corp. Bonds                        $             -    7h. Other/adjustments (See Notes on valuation)   $             -    $       950,000.00 X 5%= $           47,500.00
A/B.21. Retirement Accounts                         $             -    8. Total Senior Claims (ln. 7a to 7h)            $      726,172.19 $ 9,097,406.30 X 3%= $              272,922.19
A/B.22. Security Deposits                           $             -    9. Net available for unsecured (ln.6-ln.8)       $    9,371,234.11 $ 10,097,406.30 Totals $            326,172.19
A/B.23. Annuities                                   $             -    10a.Gen. unsecured claims 2                      $      307,268.78            Adjustment (if any) $             -
A/B.24. Tuition Programs, Education IRAs            $             -    10b.Other claims (if any)                                                            Trustee Fee $     326,172.19
A/B.25. Trusts                                      $             -    11.Total gen. unsecured (ln.10a+10b)             $      307,268.78 *Adjustments would include, e.g., estimated
A/B.26. Patents, copyrights, other IP               $             -    12. Ch. 7 Estimated Dividend (ln.9/ln.11)                     100% refunds, and non-estate funds/ assets returned
A/B.27. Licenses, Franchises, Other Intang.         $             -    13. Plan Dividend                                             100% to third parties.

NOTES:
1
  Amended Schedules filed as Docket No. 101 in the case of In re Vahan M. Dinihanian Jr., Case No. 19-31886-dwh11
2
  Amount listed includes disputed claim filed by Alexander LLC, Christiana LLC, and Cornell Road LLC (POC No. 05).




                                                                            Exhibit 1 ‐ Liquidation Analysis
                                                                                       Page 2 of 5


                                        Case 19-31883-dwh11                                   Doc 401                Filed 07/22/21
In re: 15005 NW Cornell LLC                    EXHIBIT 1‐a: Closely Held Business Entity Detail
Case No. 19‐31883‐dwh11, and
In re: Vahan M. Dinihanian Jr.
Case No. 19‐31886‐dwh11 (Jointly Administered)


15005 NW Cornell LLC
       Real Property Assets:       $                            13,500,000.00               Assumptions/Notes:
               Other Assets:       $                                      ‐                 * Value listed is 50% of Broker Opinion of Value from
                   Liabilities:    $                            (2,600,000.00)              Norris & Stevens [ECF No. 250‐2; Exhibit 21];
   Cost of Sale (Assume 6%)        $                              (810,000.00)              * Value does not account for Trust's interest, if any, in
               Net Proceeds:       $                            10,090,000.00               the property.
              Adj. Cost Basis:     $                               771,572.00               * "Liabilities" includes asserted lien of Tasha Teherani‐
         Est. Cap. Gains Tax:      $                            (3,169,378.57)              Ami
   Net Value at Liquidation:       $                             6,920,621.43

2275 W Burnside LLC
      Real Property Assets:        $                             2,460,000.00               Real Property Assets consist of:
               Other Assets:       $                                      ‐                 * 2001 Main Street, Forest Grove, OR
                  Liabilities: 5   $                            (1,831,635.77)                 * Value: $1,460,000 (Adj. Basis: $651,664)
   Cost of Sale (Assume 6%)        $                              (147,600.00)                 * Liens: $2,650,000 (see Note 5)
               Net Proceeds:       $                               480,764.23               * 14007 NE 3rd Ct., Vancouver, WA
              Adj. Cost Basis:     $                             1,468,831.00                  * Value: $2,000,000 (Adj. Basis: $831,296)
         Est. Cap. Gains Tax:      $                              (246,028.63)                 * Liens: $1,100,000
   Net Value at Liquidation:       $                               234,735.60

933 Harrison Avenue Centralia LLC
       Real Property Assets: $                                   2,520,000.00               Real Property Assets consist of:
                Other Assets: $                                           ‐                 * 933 Harrison Avenue, Centralia, WA
                    Liabilities: $                              (2,650,000.00)                 * Value: $2,520,000 (Adj. Basis: $711,021)
    Cost of Sale (Assume 6%) $                                    (151,200.00)                 * Liens: $2,650,000 (cross‐collateralized with 2001
                Net Proceeds: $                                   (281,200.00)                  Main Street, Forst Grove, OR ‐ owned
               Adj. Cost Basis: $                                  711,021.00                   by 2275 W Burnside)
          Est. Cap. Gains Tax: $                                  (450,435.77)
    Net Value at Liquidation: $                                   (731,635.77)

Aurora Meridian LLC
       Real Property Assets:       $                                      ‐                 Assets consist of helicopter. Value unknown, but
                Other Assets:      $                               200,000.00               assumed to be $250,000 for purposes of this analysis.
                   Liabilities:    $                                      ‐                 Debtor has previously attempted to sell the helicopter
  Cost of Sale (Assume 15%)        $                               (30,000.00)              for a higher amount, but was unsuccessful. Helicopter
               Net Proceeds:       $                               170,000.00               is not airworthy due to deferred maintenance and
              Adj. Cost Basis:     $                                      ‐                 inspections. Debtor estimates $75,000 in inspection
         Est. Cap. Gains Tax:      $                                      ‐                 fees must be incurred to be eligible for certification.
   Net Value at Liquidation:       $                               170,000.00

Eagle Holdings LLC
       Real Property Assets:       $                                      ‐                 For purposes of this analysis, assets consist of tools and
                Other Assets:      $                                35,000.00               injection molding machine. Other assets belonging to
                   Liabilities:    $                                      ‐                 Eagle Holdings, LLC, including other entities, are not
  Cost of Sale (Assume 15%)        $                                (5,250.00)              included in this section, as they are already separately
               Net Proceeds:       $                                29,750.00               accounted for.
              Adj. Cost Basis:     $                                      ‐
         Est. Cap. Gains Tax:      $                                (8,715.00)
    Net Value at Liquidation:      $                                21,035.00

Vahan 8340 NW Cornell LLC
       Real Property Assets:       $                               400,000.00               Real Property Assets consist of:
               Other Assets:       $                                      ‐                 * 8340 NW Cornell Ave., Beaverton, OR
                   Liabilities:    $                              (350,000.00)                 * Value: $400,000 (Adj. Basis: $73,156)
   Cost of Sale (Assume 6%)        $                               (24,000.00)                 * Liens: $350,000
               Net Proceeds:       $                                26,000.00
              Adj. Cost Basis:     $                                73,156.00
         Est. Cap. Gains Tax:      $                               (81,384.16)
   Net Value at Liquidation:       $                               (55,384.16)




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In re: 15005 NW Cornell LLC                    EXHIBIT 1‐a: Closely Held Business Entity Detail
Case No. 19‐31883‐dwh11, and
In re: Vahan M. Dinihanian Jr.
Case No. 19‐31886‐dwh11 (Jointly Administered)
 Vahan 8344 NW Cornell LLC
         Real Property Assets: $                                400,000.00              Real Property Assets consist of:
                 Other Assets: $                                        ‐               * 8344 NW Cornell Ave., Beaverton, OR
                     Liabilities: $                            (350,000.00)                * Value: $400,000 (Adj. Basis: $31,341)
     Cost of Sale (Assume 6%) $                                  (24,000.00)               * Liens: $350,000
                 Net Proceeds: $                                  26,000.00
                Adj. Cost Basis: $                                31,341.00
           Est. Cap. Gains Tax: $                                (91,796.09)
     Net Value at Liquidation: $                                 (65,796.09)

Vahan IV NW Tenth LLC
       Real Property Assets:       $                               2,430,000.00               Real Property Assets consist of:
               Other Assets:       $                                        ‐                 * 2031 Hawthorne Street, Portland, OR
                   Liabilities:    $                                (998,000.00)                 * Value: $1,530,000 (Adj. Basis: $658,826)
   Cost of Sale (Assume 6%)        $                                (145,800.00)                 * Liens: $525,000
               Net Proceeds:       $                               1,286,200.00               * 2150 NE 82nd Ave., Portland, OR
              Adj. Cost Basis:     $                               1,158,948.00                  * Value: $900,000 (Adj. Basis: $500,122)
         Est. Cap. Gains Tax:      $                                (316,491.95)                 * Liens: $473,000
   Net Value at Liquidation:       $                                 969,708.05

3Dauthority.net LLC
      Real Property Assets:        $                                        ‐                 Assets consist of a 3D Printer and related equipment
               Other Assets:       $                                  20,000.00
                   Liabilities:    $                                        ‐
   Cost of Sale (Assume 6%)        $                                  (3,000.00)
               Net Proceeds:       $                                  17,000.00
              Adj. Cost Basis:     $                                        ‐
         Est. Cap. Gains Tax:      $                                        ‐
   Net Value at Liquidation:       $                                  17,000.00

Dinihanian Family Limited Partnership (50% interest)
       Real Property Assets: $                                               ‐                Value unknown.
                Other Assets: $                                              ‐
                    Liabilities: $                                           ‐
    Cost of Sale (Assume 6%) $                                               ‐
                Net Proceeds: $                                              ‐
               Adj. Cost Basis: $                                            ‐
          Est. Cap. Gains Tax: $                                             ‐
    Net Value at Liquidation: $                                              ‐

Dinihanian Floral Products, Inc. (50% interest)
       Real Property Assets: $                                               ‐                Value unknown. Potential tort claims related to this
                Other Assets: $                                              ‐                entity are not listed in this section, as they are listed
                    Liabilities: $                                           ‐                elsewhere in the liquidation analysis.
    Cost of Sale (Assume 6%) $                                               ‐
                Net Proceeds: $                                              ‐
               Adj. Cost Basis: $                                            ‐
          Est. Cap. Gains Tax: $                                             ‐
    Net Value at Liquidation: $                                              ‐

Vahan III SE Stark LLC
       Real Property Assets:       $                                        ‐                 Assets consist of a 1/6th membership interest in Meger
                Other Assets:      $                                 100,000.00               SE Stark LLC, which owns the real property located at
                    Liabilities:   $                                        ‐                 8028 SE Stark St., Portland, OR.
   Cost of Sale (Assume 6%)        $                                  (6,000.00)
                Net Proceeds:      $                                  94,000.00
               Adj. Cost Basis:    $                                        ‐
          Est. Cap. Gains Tax:     $                                 (24,900.00)
   Net Value at Liquidation:       $                                  69,100.00


Total Net Value (Including 15005 NW Cornell LLC):               $ 7,549,384.07
Total Net Value (Excluding 15005 NW Cornell LLC):               $ 628,762.64



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In re: 15005 NW Cornell LLC                    EXHIBIT 1‐a: Closely Held Business Entity Detail
Case No. 19‐31883‐dwh11, and
In re: Vahan M. Dinihanian Jr.
Case No. 19‐31886‐dwh11 (Jointly Administered)
 Notes / Assumptions:
1: All real property values are based upon Debtor's estimates.

2: All real property values are estimated as of October 1, 2020. Debtor has included estimated decreases in value related to COVID‐19 and eviction
moratoriums, which the Debtor believes impacts the marketability of the properties.
3: Costs of sale were estimated at 6% of gross sale prices for real property, and 15% of gross sale prices for personal property.

4: Capital gains are all assumed to be long‐term, paid at 15% for federal tax purposes, and 9.9% for state tax purposes.
5: Value of "Liabilities" for 2275 W Burnside LLC were reduced to $1,831,635.77, which consists of $1,100,000 for the lien against the property
located at 14007 NE 3rd Ct., Vancouver, WA, and $731,635.77, which is the estimated deficiency balance that would remain on the $2,650,000 lien
if the property belonging to the property belonging to 933 Harrison Avenue Centralia LLC was liquidated first. This calculation was done to ensure
that the $2,650,000 lien was not double‐counted.




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